Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 1 of 67




              EXHIBIT 4
      Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 2 of 67
                                 CONFIDENTIAL


                                                                   Page 391
 1           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2                  FOR THE COUNTY OF SAN FRANCISCO
 3   __________________________________________________________
 4   DEWAYNE JOHNSON,
 5                Plaintiff,
 6

          -vs-                                  Case No. CGC-16-550128
 7

 8   MONSANTO COMPANY,
 9                Defendant.
     __________________________________________________________
10

11

12               CONFIDENTIAL VIDEOTAPED DEPOSITION OF
13                      DR. CHARLES M. BENBROOK
14                       9:13 a.m. to 3:28 p.m.
15                           February 9, 2018
16                           Orange, Virginia
17

18

19

20

21

22

23

24   Job No. 137479
25               REPORTED BY:    Rhonda D. Tuck, RPR, CRR


                  TSG Reporting - Worldwide     877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 3 of 67
                                               CONFIDENTIAL

                                          Page 392                                                         Page 393
 1         Confidential Videotaped Deposition of           1   APPEARANCES OF COUNSEL CONT'D:
 2   DR. CHARLES M. BENBROOK, taken and transcribed on     2
 3   behalf of the Defendant, by and before Rhonda D.      3       ANDRUS WAGSTAFF
 4   Tuck, RPR, CRR, Notary Public in and for the          4       19 Belmont Street
 5   Commonwealth of Virginia at large, pursuant to the    5       South Easton, Massachusetts 02375
 6   Rules of Civil Procedures for the State of            6     BY: KATHRYN FORGIE, ESQUIRE
 7   California, and by Notice to Take Depositions;        7       Counsel for the Plaintiff
 8   commencing at 9:13 a.m., February 9, 2018, at The     8
 9   Round Hill Inn, 750 Round Hill Drive, Orange,         9
10   Virginia.                                            10
11                                                        11
12    APPEARANCES OF COUNSEL:                             12       HOLLINGSWORTH
13                                                        13       1350 I Street, N.W.
14         THE MILLER FIRM                                14       Washington, DC 20005
15         The Sherman Building                           15     BY: WILLIAM COPLE, III, ESQUIRE
16         108 Railroad Avenue                            16       GRANT HOLLINGSWORTH, ESQUIRE
17         Orange, Virginia 22960                         17       Counsel for the Defendant
18       BY: TIMOTHY LITZENBURG, ESQUIRE                  18
19         JEFFREY TRAVERS, ESQUIRE                       19
20         Counsel for the Plaintiff                      20
21                                                        21
22                                                        22
23                                                        23
24                                                        24
25                                                        25



                                          Page 394                                                         Page 395
 1     APPEARANCES OF COUNSEL CONT'D:                      1                   INDEX
 2                                                         2
 3          WINSTON & STRAWN                                   WITNESS: DR. CHARLES M. BENBROOK
                                                           3
 4          35 W. Wacker Drive
 5                                                             Examination by Mr. Cople..............................10
            Chicago, Illinois 60601                        4
 6        BY: SARAH KRAJEWSKI, ESQUIRE                         Examination by Mr. Litzenburg........................573
 7          Counsel for the Defendant                      5
 8                                                         6
 9                                                         7
10                                                         8
11                                                         9
12                                                        10
                                                          11
13     ALSO PRESENT:                                      12
14     Matthew Henry - Videographer                       13
15                                                        14
16                                                        15
17                                                        16
18                                                        17
19                                                        18
20                                                        19
21                                                        20
                                                          21
22
                                                          22
23
                                                          23
24                                                        24
25                                                        25




                                                                                                                          2
                          TSG Reporting - Worldwide              877-702-9580
          Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 4 of 67
                                                           CONFIDENTIAL

                                                    Page 396                                                              Page 397
 1                                                                 1   Benbrook Exhibit Number 24.............................485
 2                 EXHIBITS                                        2    TNO Report: "In vitro percutaneous absorption study
 3                                                                 3    with [14C] glyphosate in viable rat skin membranes"
 4                                                                 4
 5   Benbrook Exhibit Number 18.............................411    5   Benbrook Exhibit Number 25.............................491
 6    EPA Final Rule on Glyphosate; Pesticide Tolerances           6    Part of the EPA regulations providing details in the
 7    Federal Register, 9/27/02                                    7    implementation of FIFRA
 8                                                                 8
 9   Benbrook Exhibit Number 19.............................456    9   Benbrook Exhibit Number 26.............................491
10    Letter to          from Dr. Parry, 2/11/99                  10    EPA Federal Register Final Rule Publication, 9/19/97
11   Benbrook Exhibit Number 20.............................467   11   Benbrook Exhibit Number 27.............................495
12    40 CFR 152.44 - Application for amended registration        12    EPA 1996 Food Quality Protection Act Implementation Plan
13                                                                13
14   Benbrook Exhibit Number 21.............................467   14   Benbrook Exhibit Number 28.............................502
15    40 CFR 152.46 - Application for amended registration        15    EPA Final Rule on Glyphosate; Pesticide Tolerances
16                                                                16    Federal Register, 4/11/97
17   Benbrook Exhibit Number 22.............................479   17
18    Emails, beginning from Daniel Jenkins,                      18   Benbrook Exhibit Number 29.............................516
19    Subject: RE: glyphosate: bibliography follow                19    "A Case-Control Study of Non-Hodgkin Lymphoma and
20    up--second list of studies                                  20    Exposure to Pesticides," Hardell and Eriksson
21                                                                21   Benbrook Exhibit Number 30.............................530
22   Benbrook Exhibit Number 23.............................481   22    "Non-Hodgkin's Lymphoma and Specific Pesticide
23    U.S. EPA Memorandum, 4/3/09, Subject: Alkyl Amine           23    Exposures in Men: Cross-Canada Study of Pesticides
24    Polyalkoxylates (JITF CST 4 Inert Ingredients)              24    and Health," McDuffie, Pahwa, McLaughlin, Spinelli,
25                                                                25    Fincham, Dosman, Robson, Skinnider, Choi


                                                    Page 398                                                              Page 399
 1   Benbrook Exhibit Number 31.............................540    1      (9:13 a.m., February 9, 2018)
 2    "Glyphosate Use and Cancer Incidence in the                  2
 3    Agricultural Health Study," Andreotti, Koutros, Hofmann,     3            THE VIDEOGRAPHER: This is the start of
 4    Sandler, Lubin, Lynch, Lerro, De Roos, Parks, Alavanja,      4        Media Label Number 2 of the video-recorded
 5    Silverman, Beane Freeman                                     5        deposition of Dr. Charles Benbrook, in the
 6                                                                 6        matter of Dewayne Johnson versus Monsanto
 7   Benbrook Exhibit Number 32.............................553    7        Company, in the Superior Court for the State of
 8    U.S. EPA Memorandum, 12/12/17, Subject: Summary Review       8        California, for the County of San Francisco,
 9    of Recent Analysis of Glyphosate Use and Cancer              9        Case Number CGC-16-550128.
10    Incidence in the Agricultural Health Study                  10            This deposition is being held at
11                                                                11        750 Round Hill Road, Orange, Virginia,
12   Benbrook Exhibit Number 33.............................570   12        February 9, 2018, at approximately 9:13 a.m.
13    "Claims of Organic Food's Nutritional Superiority:          13            My name is Matthew Henry. I'm the legal
14    A Critical Review By Dr. Joseph D. Rosen"                   14        video specialist with TSG Reporting. The court
15   Benbrook Exhibit Number 34.............................573   15        reporter is Rhonda Tuck, in association with TSG
16    "Exposure to Pesticides as Risk Factor for Non-Hodgkin's    16        Reporting.
17    Lymphoma and Hairy Cell Leukemia: Pooled Analysis of        17            Counsel, please introduce yourselves.
18    Two Swedish Case-control Studies," Hardell, Eriksson,       18            MR. LITZENBURG: Timothy Litzenburg, for
19    Nordstrom                                                   19        Dewayne Johnson.
20   Benbrook Exhibit Number 35.............................578   20            MS. FORGIE: Kathryn Forgie, Andrus
21    Surfactant Issue Analysis                                   21        Wagstaff.
22                                                                22            MR. COPLE: William Cople and Grant
23   Benbrook Exhibit Number 36.............................578   23        Hollingsworth, both of Hollingsworth LLP, for
24    Operator exposure assessment for MON 2139 - UK - Case       24        Monsanto Company.
25                 *****                                          25            MS. KRAJEWSKI: Sarah Krajewski, for



                                                                                                                                    3
                                TSG Reporting - Worldwide                    877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 5 of 67
                                                     CONFIDENTIAL

                                               Page 400                                                    Page 401
 1     Monsanto Company.                                     1      and what they strive to achieve based on the extent
 2         MR. COPLE: Good morning, sir.                     2      to which the EPA accurately understands the way the
 3         THE WITNESS: Good morning.                        3      products are going to be used and the factors that
 4         MR. COPLE: We were talking yesterday --           4      go into their risk assessments.
 5     excuse me.                                            5         Q. So you would agree that the label
 6         THE COURT REPORTER: Did you want me to            6      directions approved by EPA and the cautions that are
 7     re-administer the oath, sir?                          7      in those labels reflect or incorporate the human
 8         MR. COPLE: Yes.                                   8      risk assessments done by EPA, correct?
 9                                                           9         A. Well, I think EPA would say that they're
10               DR. CHARLES M. BENBROOK                    10      supported by the risk assessments, but the label
11       was first duly sworn and testified as follows:     11      directions are no better or worse than the accuracy
12               EXAMINATION                                12      of the underlying data and the risk assessment. So
13   BY MR. COPLE:                                          13      there's -- you know, the EPA does its best to
14      Q. Now that we got that part out of the way.        14      calculate risk accurately, but it is reliant largely
15      A. Good. And we have a federal budget and a         15      on data submitted by the companies.
16   federal government, which is also a relief.            16              So to the extent that the data submitted
17      Q. Always good to hear.                             17      by companies does not support or allow an accurate
18          You were talking yesterday about labeling       18      estimation of risk, the EPA has no independent
19   and labeling claims. The EPA has said in various       19      source of information to calculate more accurate
20   contexts that label directions and precautions         20      estimates. So if there's flaws in the data or the
21   translate the OPP risk assessments into the who, the   21      methodology, either on the company side or in what
22   how, the where, and the when that a product can be     22      EPA does with the numbers and the data provided by
23   used safely and effectively.                           23      the company, those inaccuracies or failure to
24          Do you agree with that statement?               24      understand all the risk will be reflected in the
25      A. That's certainly EPA's hope and intention        25      labels.

                                               Page 402                                                    Page 403
 1      Q. EPA in making its risk assessments for            1         A. They cite that study in their more recent
 2   chemicals' carcinogenicity relies on both the data      2      assessments, yes.
 3   submissions by the registrant applicants as well as     3         Q. Both of those are open literature
 4   the open literature on science carcinogenicity and      4      sources, correct?
 5   anything that's related to that, right?                 5         A. Correct.
 6      A. They place by far greater weight, and             6         Q. All right. The labeling directions that
 7   certainly in this case, on the long-term chronic        7      we're talking about now that reflect the risk
 8   feeding studies done under their data requirements      8      assessment, they're based upon the acute toxicity
 9   and in accord with GOPs, and they placed -- I'm         9      studies that are done on formulated products for the
10   not -- I don't think they placed any weight on any     10      registrant?
11   of the open literature two-year cancer studies that    11         A. Certainly, those acute toxicity studies
12   have been published, and they certainly didn't place   12      play an important role in the mixer, loader, and
13   much weight on the genotoxicity studies.               13      applicator exposure assessments and labeling
14      Q. You're aware that they considered '95 or         14      directions and precautions, yes.
15   '94 genotoxicity studies in reaching their             15         Q. And the toxicity assessments of a
16   conclusion at EPA in 2017, that glyphosate is not a    16      formulated product, correct, by EPA?
17   human carcinogen, right?                               17         A. Yes.
18           MR. LITZENBURG: I object to form.              18         Q. Let's go to -- let's go to Page 44 of
19           THE WITNESS: That is what one of their         19      your expert report, which is I believe Exhibit 4, if
20      reports says, yes.                                  20      I recall.
21   BY MR. COPLE:                                          21         A. Okay.
22      Q. And you're aware -- I think you said you         22         Q. All right. In Paragraph Number 225, your
23   are aware that considerable weight was placed by EPA   23      report says that EPA was formed in 1972, and it goes
24   on the updated valuation and the Agricultural Health   24      on to say by you that according to a '94 EPA
25                                                          25      document, cancer risk has been -- had been at that
     Study by Andreotti, et al.?



                                                                                                                       4
                             TSG Reporting - Worldwide                 877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 6 of 67
                                                  CONFIDENTIAL

                                            Page 404                                                    Page 405
 1   point in the agency's history the most commonly         1   page --
 2   cited reason for OPP pesticide cancellation and         2      A. Let me just get acclimated to where the
 3   suspension actions.                                     3   heck we are. 661?
 4           Now, my question is, you agree that             4      Q. Yes.
 5   glyphosate, glyphosate-based formulations like          5      A. Okay.
 6   Roundup and Ranger Pro have never been the subject      6      Q. In 661, you say that "Monsanto knew there
 7   of a cancellation -- suspension or cancellation         7   would be major increases in glyphosate plus AMPA
 8   proceedings by EPA?                                     8   residues in several major food crops, and that these
 9           MR. LITZENBURG: Form.                           9   residues would require much higher tolerances, which
10           THE WITNESS: That's correct.                   10   in turn would force regulators to update dietary
11   BY MR. COPLE:                                          11   exposure and risk assessments, and revisit past
12      Q. And that's correct throughout the entire         12   judgments that overall exposures to glyphosate and
13   40-plus years that a registration has been proved by   13   its major metabolite, AMPA, did not propose
14   EPA for glyphosate since 1974?                         14   unacceptable levels of risk to humans."
15      A. Correct.                                         15           Now, glyphosate has been approved by EPA
16      Q. And during the timeframe, at least up to         16   for use in 130 crops; is that correct?
17   your point that you made in Paragraph 224, 225 of      17      A. Approximately. And as you know, EPA has
18   1994, there were other chemicals or active             18   changed the way it establishes tolerances in
19   ingredients in pesticides that may have been subject   19   general, moving away from establishing tolerances
20   of cancellation or suspension proceedings for their    20   for an individual crop like bib lettuce and instead
21   registration for EPA, right?                           21   establishing tolerance for a group of closely
22      A. Correct.                                         22   related crops.
23      Q. Let's go to Page 127.                            23           So over time, the number of tolerances
24      A. Okay.                                            24   has gone down, but actually, the number of distinct
25      Q. And in Paragraph 661, at the top of that         25   fruits and vegetables covered by published

                                            Page 406                                                    Page 407
 1   tolerances has increased.                               1      A. Let's move on.
 2      Q. All right. So that would translate, at            2      Q. That there have been 130 tolerance
 3   least generally, into 130 different tolerance           3   approvals for glyphosate by EPA, but that may
 4   approvals by glyphosate, but it might cover more        4   encompass more than 130 crops?
 5   than 130 different crops, right?                        5      A. Correct.
 6      A. No. No.                                           6      Q. Then we are in agreement.
 7      Q. What are you saying?                              7           Have you reviewed all of those tolerance
 8      A. Most of the tolerance petitions that --           8   approvals?
 9   if I understand your question correctly, there          9      A. Every one that I could find, and I didn't
10   weren't 130 separate tolerance petitions. There --     10   spend a lot of time reviewing some of the so-called
11   most tolerance petitions submitted by Monsanto         11   IR4 tolerance petitions. Do you want me to explain
12   request the agency to establish tolerances for         12   what that is?
13   multiple crops, and some of them requested             13      Q. No. I just want to know if you reviewed
14   tolerances for even a few dozen. So there isn't a      14   them or not.
15   specific tolerance petition and action for each        15      A. Yes. I've reviewed the vast majority of
16   individual crop.                                       16   them.
17      Q. I don't -- the clarification is fine,            17      Q. And you've reviewed them for purposes of
18   sir.                                                   18   preparing your expert report?
19      A. Okay.                                            19      A. No. No. I have -- I had -- I had
20      Q. But I don't think that's what I was              20   reviewed all of them prior to being asked to take on
21   asking.                                                21   this assignment for other analytical work that I've
22      A. Well, that's how I heard your question.          22   been doing on the history of glyphosate, the
23      Q. I think I'm agreeing with you.                   23   glyphosate-based herbicide regulation, and I've
24      A. Okay.                                            24   published an assessment of changes in glyphosate
25      Q. I just want to be sure.                          25   tolerances over time in several major crops from the



                                                                                                                    5
                           TSG Reporting - Worldwide                877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 7 of 67
                                                  CONFIDENTIAL

                                            Page 408                                                    Page 409
 1   late '70s until the current day.                        1           THE WITNESS: The EPA carried out its
 2           I have followed very closely the                2      standard assessment in response to the receipt
 3   tolerance petitions submitted by Monsanto to support    3      of these tolerance petitions, and at each point
 4   the new preharvest so-called crop burn-down or          4      in time when new or higher tolerances were
 5   desiccation uses of glyphosate-based herbicides on a    5      requested, the residue chemistry branch would do
 6   wide range of crops, in particular wheat, barley,       6      an assessment of whether the proposed tolerance
 7   oats, edible beans, which is one of the new ways        7      is adequate to cover the residues that the
 8   that glyphosate-based herbicides are now used in the    8      agency felt might result in a harvested crop.
 9   United States that have -- that has substantially       9           And then the toxicology branch would do
10   increased dietary exposure and is no doubt             10      an assessment of the increase in dietary
11   responsible for the rising levels of glyphosate and    11      exposure associated with the approval of the
12   AMPA residues in human fluids.                         12      additional tolerance and sort of add that
13      Q. Have you reviewed any of those 130               13      additional portion of exposure into what's
14   tolerances for purposes of preparing your report?      14      called the "risk cup" or compare the updated
15      A. Well, I didn't need to, because I know           15      estimate of a dietary exposure to the chronic
16   them, and that's part of the knowledge that I          16      reference dose. And if the total estimated
17   brought to this case from 35 years in this field.      17      exposure from all routes did not exceed the
18      Q. All right. These higher residue                  18      chronic reference dose, it would be standard EPA
19   tolerances that you speak to in Paragraph              19      policy to approve the tolerance.
20   Number 661, that would require, then, EPA in doing     20   BY MR. COPLE:
21   the tolerance review and approval for the crops        21      Q. So each tolerance approval -- it takes
22   regarding glyphosate residue to take into account      22   into account all of these different routes of
23   the overall risk exposure to glyphosate from all       23   exposure -- would represent a finding by EPA of that
24   sources, right?                                        24   glyphosate is not a human carcinogen, correct?
25           MR. LITZENBURG: Form.                          25      A. That would -- that statement would be in

                                            Page 410                                                    Page 411
 1   general true, probably from 1998 on. The statutory      1   exposure to the chronic reference dose or the
 2   authority and mandate for EPA to conduct cumulative     2   chronic path.
 3   total dietary, cumulative risk assessments involving    3          MR. COPLE: Let's mark Exhibit 18.
 4   all routes of exposure was put into federal law in      4          (Benbrook Exhibit Number 18 is marked for
 5   1996, Food Quality Protection Act.                      5      identification.)
 6           So all of the tolerance petitions from          6   BY MR. COPLE:
 7   about 1998, it took EPA a couple of years to fully      7      Q. We've marked as Exhibit 18 the EPA final
 8   -- to get these new provisions of the science           8   rule on glyphosate pesticide tolerances that was in
 9   policies needed to implement the FQPA -- to get them    9   the Federal Register for September 27, 2002.
10   in place. But, you know, I would say by the late       10          Are you familiar with this document?
11   1990s, all of the final rules establishing new         11      A. Yes.
12   tolerances for glyphosate-based herbicides or any      12      Q. You've reviewed this document in
13   pesticide would include a section talking about the    13   preparing your opinions and your expert report in
14   aggregate exposure from food, water, inhalation, and   14   this case?
15   would compare that aggregate exposure level to the     15      A. No, not in the specific work for this
16   chronic reference dose or the chronic path, if one     16   case. I had worked with this document earlier in
17   had been established. That would be the basis for      17   2017, though, before I was retained to work on this
18   approval of the tolerances.                            18   case.
19      Q. Which could include evaluation of any            19      Q. You said you -- as I recall, you said
20   human carcinogen, right?                               20   yesterday, Dr. Benbrook, that before you got to the
21      A. Right. If a pesticide was classified as          21   point of doing your writing up of your report, that
22   a carcinogen, it would be standard EPA policy to do    22   you had done a great deal of research pertaining to
23   an oncogenic risk assessment which would tolerate      23   glyphosate. Was that research specifically in
24   the number of excess cancer cases in the human         24   connection with your getting ready to write your
25   population, as opposed to comparing the aggregate      25   report?



                                                                                                                    6
                           TSG Reporting - Worldwide                877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 8 of 67
                                                  CONFIDENTIAL

                                            Page 412                                                   Page 413
 1      A. No.                                               1      Q. Was that review done specifically for the
 2      Q. So that was for other purposes unrelated          2   expert report?
 3   to -- to this report that we're looking at now,         3      A. No. Is there something -- am I not
 4   right?                                                  4   making myself clear?
 5      A. When I did my most recent intensive dive          5           I was called in September, late September
 6   into all tolerance actions involving glyphosate and     6   of 2016, about this case. I didn't know anything
 7   glyphosate-based herbicides, I had no -- I had not      7   about it before. So any work that I did on any
 8   talked to any lawyer about these cases. I had no        8   aspect of glyphosate, glyphosate-based herbicides,
 9   involvement, no expectation of involvement, and I       9   was not associated with my preparation for this
10   did it for an entirely different purpose, which is     10   case.
11   the ongoing research and writing in peer-reviewed      11      Q. All right. On Page 60935, the top of
12   publications about glyphosate use, risks, regulatory   12   Exhibit 18, the second page.
13   actions including setting tolerance levels, making a   13      A. Yes.
14   determination on the oncogenicity of glyphosate and    14      Q. There's a Subsection B, the Toxicological
15   the setting of the chronic reference dose for          15   Profile. And just to clarify, you're not a food
16   glyphosate and glyphosate-based herbicides.            16   toxicologist, correct?
17           As you know, I have published papers that      17      A. No, I'm not.
18   address these topics, and it's an area of work that    18      Q. You don't have training or education in
19   I am quite certain I will continue pursuing as -- as   19   that field, right?
20   new actions and developments and new science           20      A. No.
21   emerges.                                               21      Q. Under this Toxicology Profile, there is a
22      Q. Did you review either Exhibit 18 or any          22   comment, and you're familiar with the public
23   glyphosate pesticide tolerance in 2016, before you     23   comments and agency response procedure for issuing
24   issued your expert report?                             24   agency rules, correct?
25      A. Yes.                                             25      A. Yes, I am.

                                            Page 414                                                   Page 415
 1      Q. Under the Comment, there is one that says         1   contains glyphosate and the surfactant POEA, is
 2   that -- the comment is "This is correct."               2   three times" -- and according to this comment -- "is
 3           And it's responding to what the notice          3   three times as acutely toxic to rats as glyphosate
 4   states: "Acute toxicity. Several acute toxicology       4   alone," and concludes the comment by saying, "This
 5   studies place technical-grade glyphosate in Toxicity    5   deficiency in the regulation needs to be corrected."
 6   Category III and Toxicity Category IV."                 6           You see all that, right?
 7           Do you know what those toxicity                 7      A. Yes.
 8   categories are?                                         8      Q. The agency, EPA, says in response to it,
 9      A. Yes.                                              9   as part of their final rule being issued for
10      Q. What are they?                                   10   glyphosate residue tolerance, that "This action
11      A. They're -- they're based on ranges of            11   establishes," meaning the agency's action,
12   the -- typically, the LD50 study in mice or rats.      12   "establishes the tolerance for glyphosate, not the
13   They range from low toxicity, which I believe the      13   inert POEA. POEA is regulated separately under the
14   agency doesn't require any study to go above 1,000     14   Federal Food, Drug, and Cosmetic Act and has been
15   parts per million in such a study, so that's often a   15   approved by EPA," and it goes on to talk about more
16   cutoff. And then the ranges -- the rating of acute     16   aspects of POEA.
17   toxicity goes up as the LD50 range goes down.          17           So EPA has separately approved POEA as a
18      Q. All right. Now, the comment says, "That          18   surfactant to be used by a herbicide manufacturer,
19   is correct," that the agency's notice about acute      19   correct?
20   toxicity and technical-grade glyphosate.               20      A. That's correct.
21           It and goes on to say, "Toxicity Category      21      Q. Now, if you read further down in this
22   III means caution. But most toxicology studies are     22   continued response, two sentences from the bottom of
23   conducted using glyphosate alone, not the              23   this column, this is right after it says, "EPA
24   formulations that are in commercial products, which    24   evaluates the potential risks posed by inert
25   contain so-called inert ingredients. Roundup, which    25   ingredients such as POEA," then the agency goes on



                                                                                                                   7
                           TSG Reporting - Worldwide                877-702-9580
        Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 9 of 67
                                                  CONFIDENTIAL

                                            Page 416                                                  Page 417
 1   to say that the EPA "requires a full disclosure of      1   formulated products.
 2   inert ingredients for each Roundup formulation to       2         And as the clear language states here,
 3   determine acute toxicity such as acute oral, eye,       3   the EPA takes into account those six acute
 4   skin, inhalation, and dermal sensitization. The         4   studies in assessing of what sort of eye
 5   combined effects of active and inert ingredients on     5   irritation, skin irritation, or other acute
 6   a product's acute toxicity properties are reviewed      6   caution or warning statements need to appear on
 7   by the agency and used to define the appropriate        7   the label. And that's also what they rely on in
 8   personal protective equipment and precautionary         8   determining what sort of PPE are -- need to be
 9   statements for each pesticide end-use product label     9   required to protect the mixer/loader or
10   that will provide adequate protection to users."       10   applicator of a pesticide from these acute
11           You see all that, correct?                     11   risks.
12      A. Yes, sir.                                        12         Obviously, in the case of
13      Q. All right. The agency is telling the             13   glyphosate-based herbicides, there's been
14   commenter and the entire world that it has reviewed    14   ongoing concern about eye and skin irritation
15   all of these issues in order to determine acute        15   from the early '80s, when the Blondell report
16   toxicity, and specifically with regard to developing   16   from California came in. But what this also
17   any required PPE and precautionary statements, and     17   makes very clear is that EPA does not and did
18   all of that goes into the product label for the        18   not take into account the heightened
19   formulation. That's correct, right?                    19   genotoxicity of formulated glyphosate-based
20           MR. LITZENBURG: Form.                          20   herbicides in considering the establishment of
21           THE WITNESS: I -- I think that this            21   these tolerances, and they also do not and have
22      question gets at the heart of one of the most       22   not considered the heightened level of human
23      important issues in the case, and we talked         23   risk because of the genotoxicity of formulated
24      yesterday about the six-pack, the six acute         24   glyphosate-based herbicides.
25      toxicity studies that the agency does require on    25         And this is exactly why

                                            Page 418                                                  Page 419
 1   in an email to his colleagues, said, in effect,         1      certainly changed its risk assessments.
 2   why don't we just phase out POEA surfactants,           2   BY MR. COPLE:
 3   because we know that the products that contain          3      Q. Did you talk to                about the
 4   them are hazardous and that we have the                 4   statement you just referenced in the company
 5   capability to produce a less toxic product?             5   document?
 6        Now, the person that made this comment I           6      A. No.
 7   suspect has not had the opportunity I have had          7      Q. Did you talk to anyone at Monsanto about
 8   to carefully review the scientific information          8                  understanding or anyone else's
 9   in the possession of Monsanto.                          9   understanding at the company about the statements
10        The understanding that Monsanto had of            10   made in the document?
11   the additional risk, the added risk that they          11      A. No. I just read his email.
12   knew was associated with the use of their              12      Q. And formed your own personal opinion
13   products, that the EPA did not know about and          13   about what it means?
14   did not include in its assessments.                    14      A. There's no opinion involved. It's a
15        And so I understand exactly what they're          15   declarative sentence.
16   saying here, but I feel that this is a good            16      Q. Now, with respect --
17   example of where Monsanto's failure to provide         17      A. There's no opinion whatsoever in
18   essential information in its possession to the         18   interpretation of that email.
19   EPA in a timely way undermined the accuracy of         19      Q. Now, with respect --
20   EPA worker, mixer/loader and applicator exposure       20      A. I'd be glad to pull it up and talk about
21   assessments, and also led to some of these             21   it with you.
22   tolerances being approved that perhaps might not       22      Q. With respect to what EPA information,
23   have been approved if EPA fully had understood         23   agency information EPA had from the registration
24   how the information in Monsanto's possession           24   submission or from its own review, did you discuss
25   from the late '90s on would have almost                25   with anyone at EPA what information the agency had



                                                                                                                  8
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 10 of 67
                                                  CONFIDENTIAL

                                            Page 420                                                    Page 421
 1   at the time of this 2002 pesticide residue tolerance    1   clastogenic."
 2   approval for glyphosate?                                2           You knew that, right?
 3      A. No. I just read all of the EPA documents          3      A. Yes, sir.
 4   from that era and earlier era and, subsequent to        4      Q. It goes on in its response by the agency
 5   that, certainly all of the tolerance petitions, and     5   to say that "Several studies have tested herbicide
 6   that's how -- that's how people learn about and gain    6   formulations, including Roundup, for
 7   insight on the agency's position, risk assessments,     7   mutagenic/genotoxic potential. Although positive
 8   and the basis for the regulatory decisions.             8   responses have been reported, the testing systems
 9      Q. Now, if you go further down, there is a           9   used in the cited studies may not be adequate for
10   comment in response to genotoxicity mutagenicity.      10   regulatory purposes for one or more of the following
11   Do you see that?                                       11   reasons."
12      A. Yes.                                             12           And it lists a series of reasons,
13      Q. And if you go about almost halfway down          13   including unvalidated test systems, that have not
14   in the agency's response, starting with the words --   14   established predictability based on broad
15   we're in the right-hand column of this page, starts    15   experience, first; second, undocumented,
16   with the words "Based on the negative responses."      16   uncharacterized test materials; third, administered
17           Do you see that?                               17   doses that cannot be correlated to expected
18      A. Yes.                                             18   exposures; fourth, routes of exposure that vary from
19      Q. It says, "Based on the negative responses        19   required test protocols; and then, fifth, results
20   observed in well validated assays conducted            20   that address endpoints which do not have a clear
21   according to the required test guidelines and in       21   accepted relationship to human disease; and then,
22   compliance with Good Laboratory Practice" -- I think   22   sixth, deficient methodologies.
23   that's EPA's good laboratory practice -- "Standards,   23           So EPA is telling the commenter and the
24   the agency concluded that the active ingredient        24   world that it was aware of these various genotoxic
25   pesticide, glyphosate, is neither mutagenic or         25   studies and has concluded that it is not relevant to

                                            Page 422                                                    Page 423
 1   human disease because it has no accepted                1   glyphosate and glyphosate-based herbicides were
 2   relationship.                                           2   not genotoxic, because that was a critical
 3           MR. LITZENBURG: Form.                           3   scientific determination that played a
 4           THE WITNESS: Are you done?                      4   significant role in the judgment of the same
 5           MR. LITZENBURG: Is that a question?             5   regulatory agencies relative to the potential of
 6           THE WITNESS: Well, yes, I take it as a          6   glyphosate and glyphosate-based herbicides to
 7      question, because I'm going to respond to it.        7   cause cancer.
 8           These six reasons cited in this tolerance       8        So there were many activities undertaken
 9      petition -- and let's note for the record this       9   by Monsanto in the 1990s, in the years just
10      is September 27th, 2002. So given the time it       10   before this particular tolerance action, to try
11      takes for any new science to be incorporated in     11   to develop a more in-depth understanding within
12      EPA risk assessments, this probably might           12   the company of how, quote/unquote, exposed they
13      include science that came into the agency in        13   were, how serious a threat to the glyphosate
14      2001, but certainly it reflects scientific          14   freedom to operate, which is a code word inside
15      knowledge, say, in early 2002.                      15   Monsanto for ability to sell its branded
16           These six reasons are the standard             16   products in whatever markets it wants under any
17      critiques of the more modern and sensitive          17   circumstances that it can get a regulatory
18      genotoxicity studies that appear in various         18   agency to approve.
19      peer-reviewed journal articles, many written by     19        They were so deeply concerned about the
20      either Monsanto scientists or consultants to        20   threat to the glyphosate freedom to operate
21      Monsanto or ghostwritten by Monsanto scientists     21   posed by the new evidence coming into the
22      and published under the names of other people.      22   peer-reviewed scientific literature that it
23           The company was engaged in, certainly by       23   reached out and hired as a consultant one of the
24      this time, almost a decade-long campaign to         24   unarguably world-renowned genotoxicity experts,
25      defend the judgment of regulatory agencies that     25   Dr. Parry, who was affiliated with a university



                                                                                                                    9
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 11 of 67
                                                 CONFIDENTIAL

                                           Page 424                                                   Page 425
 1   in the U.K.                                            1      knew about the risks, particularly of its
 2        We've talked a little bit about the Parry         2      Roundup-formulated products containing POEA,
 3   report yesterday. But let me emphasize that the        3      that this passage in this 2002 tolerance action
 4   Parry report done by contract for Monsanto and         4      by EPA would have been different.
 5   submitted to Monsanto clearly is in disagreement       5            And I can certainly say that within
 6   with these conclusions that the EPA is stating         6      another -- by 2004, there were another six or
 7   about the genotoxicity studies that the agency         7      seven positive genotoxicity studies that had
 8   had reviewed at that time.                             8      been published in the open, peer-reviewed
 9        Had the -- had Monsanto submitted to EPA          9      literature, and I would guess if you stick
10   under FIFRA Section 6(a)(2) the Parry contract        10      another final rule on a tolerance action dated
11   report including his conclusion that there were       11      2008, it's going to say essentially the same
12   at least six, maybe seven studies in the              12      thing, because, you know, based on my review of
13   literature that showed clear evidence of              13      these contemporary risk assessments, EPA is
14   genotoxicity from exposures to glyphosate-based       14      still stating its position that it sees no
15   herbicides and/or glyphosate, as I believe the        15      evidence of genotoxicity from exposure to
16   agency was obligated -- as I believe Monsanto         16      glyphosate-based herbicides, despite the fact
17   was obligated to do, I think that would have had      17      that Dr. Parry thought there was already
18   impact on the agency's read of this published         18      evidence in 1999, and since then, there's been
19   literature.                                           19      literally dozens of additional studies that
20        So I -- I understand what the agency is          20      support that view.
21   saying. I also feel that the agency was --            21   BY MR. COPLE:
22   reached this decision based on an inadequate          22      Q. None of that's responsive to what I
23   understanding of what Monsanto itself understood      23   asked, Doctor. I simply asked, according to the
24   about its products, and had Monsanto been more        24   statement here in the 2002 final rule issued by the
25   forthcoming and, frankly, honest about what it        25   agency, the agency was aware of the genotoxicity

                                           Page 426                                                   Page 427
 1   studies and concluded that it was not relevant to      1   Monsanto that had communications with Dr. Parry
 2   human disease. That's what it says, right?             2   about his review?
 3          MR. LITZENBURG: Form. Asked and                 3      A. No, I have not.
 4      answered.                                           4      Q. All right. And you're not an expert in
 5   BY MR. COPLE:                                          5   genotoxicity. I think you agreed to that yesterday?
 6      Q. That's what it says, right?                      6      A. I did.
 7      A. Yes. You are a good reader.                      7      Q. And you're not an expert in reporting
 8      Q. All right. Now, you just claimed, or I           8   under 682 of FIFRA to EPA, right?
 9   think I heard you claim, that EPA, in doing its        9      A. I -- well, you know, I guess I'm not
10   glyphosate pesticide tolerance review, did not take   10   trained as a lawyer, but I have worked on the
11   into account genotoxicity studies.                    11   statute. I contributed to amendments during my tour
12          Is that what you said?                         12   of duty as the staff director of the subcommittee
13      A. No, it's not what I said.                       13   with jurisdiction over that federal law. I have
14      Q. So it does. You agree EPA took it into          14   been involved in assessing dozens of 6(a)(2)(B)
15   account and said that it took it into account?        15   submissions to the EPA. I have reviewed some of the
16      A. Yes.                                            16   submissions that Monsanto has made over the years,
17      Q. All right.                                      17   including one associated with this case.
18      A. They claim that they did, but they didn't       18           So yes, I am an expert in the
19   take into account Dr. Parry's report, which they      19   requirements of 6(a)(2)(B) and the important role
20   should have had.                                      20   that 6(a)(2)(B) plays in the ongoing assessment of
21      Q. Again, you never spoke to Dr. Parry at          21   pesticide risks, so that when the EPA makes a
22   any time about his report, and he's now deceased,     22   decision in response to either a tolerance petition,
23   right?                                                23   an application for a new use of a pesticide or a
24      A. Correct.                                        24   change use pattern, like, for example, the changes
25      Q. And you never spoke to anybody at               25   in the Roundup label to allow preharvest desiccate



                                                                                                                 10
                          TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 12 of 67
                                                  CONFIDENTIAL

                                            Page 428                                                    Page 429
 1   uses, that the agency has the most current and          1      Q. You're not agreeing? We'll take that as
 2   complete and best information available to reach its    2   a yes, you have no training or education in 6(a)(2),
 3   judgments.                                              3   because you said it doesn't exist. Correct?
 4           And as I state in my expert report, in          4      A. Yeah.
 5   the case of -- in several instances, in the case of     5      Q. All right.
 6   dealing with glyphosate and glyphosate-based            6      A. And you knew it didn't exist.
 7   herbicides, the agency did not have the most            7      Q. All right.
 8   up-to-date and best information to make those           8      A. I don't understand why you keep asking me
 9   judgments.                                              9   these questions. I'd like to go home.
10      Q. You have no training or education in             10      Q. Did you ever work at EPA on 6(a)(2)
11   6(a)(2) reporting under FIFRA, right?                  11   evaluations by the agency?
12           MR. LITZENBURG: Asked and answered.            12      A. You've already established in earlier
13           THE WITNESS: There is no such training         13   questioning that I have not worked with the EPA on
14      offered in 6(a)(2)(B), sir. It's a small            14   anything.
15      provision and a very large federal statute, and     15          So, yes, I have not worked on 6(a)(2)(B)
16      I don't believe you can point to any college        16   as an employee of EPA.
17      class on 6(a)(2)(B).                                17      Q. You've mentioned ghostwriting a number of
18   BY MR. COPLE:                                          18   times, both in your testimony yesterday and now
19      Q. You agree you don't have any training,           19   again today in various places in your report.
20   right?                                                 20   You're not an expert in ghostwriting, are you?
21           MR. LITZENBURG: Asked and answered.            21          MR. LITZENBURG: Form.
22           If you don't have any further answer, you      22          THE WITNESS: Yes, I am. I am an expert.
23      don't have to give one.                             23   BY MR. COPLE:
24           THE WITNESS: Let's move on.                    24      Q. You've been trained and educated in what
25   BY MR. COPLE:                                          25   constitutes ghostwriting and what significance it

                                            Page 430                                                    Page 431
 1   might have?                                             1   both in your report and now again today at least
 2      A. There is no such training available, and          2   once, about whether a particular individual or
 3   given my 40-year career in assessing the quality and    3   company, whether it be Monsanto or anybody else of
 4   integrity of scientific research, first for the U.S.    4   the agency, is honesty.
 5   Congress, then for the National Academy of Sciences,    5          Are you claiming you're an expert in
 6   for a number of national and international              6   honesty?
 7   institutions, for a number of clients including         7     A. Yes. Yes. I'm an expert in honesty.
 8   major corporations and consumer and environmental       8     Q. You were trained and educated in what
 9   groups, the assessment of the quality and integrity     9   constitutes honesty under different circumstances
10   of science through the peer-reviewed process and the   10   and what the significance is if it's not honest?
11   publication process is something that I consider       11          MR. LITZENBURG: Form.
12   myself an expert in. Yes, sir.                         12          THE WITNESS: I have over a long
13      Q. So all that's self-taught, your expertise        13     professional career been responsible for
14   in what constitutes ghostwriting and what the          14     assessing the completeness, credibility,
15   significance of it might be?                           15     accuracy, honesty of the actions of pesticide
16           MR. LITZENBURG: Form. Asked and                16     companies, pesticide regulators, consultants
17      answered, a hundred times.                          17     that work for the pesticide industry,
18           MR. COPLE: Not about ghostwriting.             18     organizations that are regarded as stakeholders
19   BY MR. COPLE:                                          19     that develop and submit information to try to
20      Q. Is it all self-taught?                           20     support a given outcome; and I have in multiple
21      A. It is experience that I gained through my        21     circumstances been asked to evaluate the
22   research and experience in work, and if that's what    22     quality, integrity, and honesty and accuracy of
23   you consider self-taught knowledge, then, yes, I       23     information presented in the context of the
24   will agree to that.                                    24     pesticide regulatory process.
25      Q. You've also commented a number of times,         25          So yes, based on my long personal



                                                                                                                  11
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 13 of 67
                                                 CONFIDENTIAL

                                           Page 432                                                     Page 433
 1      experience, I think I know as much and have as       1   Exhibit 18. Go to 60936. The numbers are up at the
 2      solid a foundation to judge the honesty of           2   top, Federal Register page numbers.
 3      actions of a pesticide company, a regulator, or      3      A. 936, you said?
 4      a non-governmental organization as anyone            4      Q. Yes, sir. And in the far right-hand
 5      currently active in the field.                       5   column, the public comments and EPA responses
 6   BY MR. COPLE:                                           6   continue, and this time it's under Subheading 6 on
 7      Q. Are you saying that a court has qualified         7   cancer.
 8   you as an expert in the field of honesty or what's      8          It starts out with "Cancer. Unit C.3.ii.
 9   honest and what's not?                                  9   of the notice states: There is no evidence of
10           MR. LITZENBURG: Asked and answered.            10   carcinogenic potential."
11           THE WITNESS: I have -- I'm not aware           11          Now, this is a reference to the original
12      that any court has rendered such a judgment on      12   notice of rule making by EPA on the glyphosate as
13      me.                                                 13   pesticide residue tolerance, correct?
14   BY MR. COPLE:                                          14      A. Yes, sir.
15      Q. Has any organization recognized you by           15      Q. All right. The comment in response to
16   certification or other means --                        16   that notice statement that there is no evidence of
17           MR. LITZENBURG: Form. Argumentative.           17   carcinogenic potential says, "This is false. A
18   BY MR. COPLE:                                          18   recent Swedish study of hairy cell leukemia, a form
19      Q. -- as an expert in honesty?                      19   of non-Hodgkin's lymphoma cancer, found that people
20      A. I am not aware of any organizations that         20   who were occupationally exposed to glyphosate
21   provide such certification or acknowledgment on the    21   herbicides had a threefold higher risk of hairy cell
22   question of honesty. So no, I'm not aware of anyone    22   leukemia. A similar study of people with
23   that has received such certification or specific       23   non-Hodgkin's lymphoma found exposure to glyphosate
24   training.                                              24   was associated with an increase risk of about the
25      Q. Let's go to -- we're still with this             25   same size."


                                           Page 434                                                     Page 435
 1           Now, is this one of the studies that you        1   was referring to.
 2   reference in your report?                               2           But certainly my reading of this is that
 3      A. Both of the studies are referenced in my          3   this commenter is -- is alerting the agency that
 4   report.                                                 4   there's two separate studies in completely different
 5      Q. So you --                                         5   cohorts, one in Canada and one in Sweden, that
 6      A. There's two different, separate studies           6   report fairly similar increased odds ratios, which
 7   that are behind this commenter's comment. And I         7   is a true statement.
 8   know which ones they are, and they are referenced in    8      Q. Now, you talked to EPA about what you
 9   my report.                                              9   believe is their misinterpretation of this public
10      Q. Those would be the Hardell studies out of        10   comment?
11   Sweden?                                                11      A. I have not talked to anyone in the EPA
12      A. Yeah, it's the second Hardell study and          12   since -- or anyone in Monsanto since I began work on
13   the McDuffie study or studies from Canada.             13   this, so you don't have to ask me that again.
14      Q. All right. Now, EPA responds to that             14      Q. Well, this is --
15   comment. "The commenters are referring to two          15      A. Unless you just want to be annoying.
16   epidemiology studies published by Sweden."             16      Q. This is from 2002, sir.
17           As you said, there's two, and you --           17      A. Let's say --
18      A. I don't -- I think the agency has                18      Q. Well before the time --
19   misinterpreted the commenter. A similar study of       19      A. I have not talked to anyone in EPA or
20   people with non-Hodgkin's lymphoma, I would guess      20   Monsanto since 2000 about the oncogenicity of
21   that's the McDuffie study, because it's from a         21   glyphosate, so say that.
22   different cohort. If the commenter was speaking        22      Q. The agency goes on to say, "This type of
23   about the two Hardell-Eriksson studies, I think he     23   epidemiologic evaluation does not establish a
24   would have said another study by the same group, and   24   definitive link to cancer."
25   then it would have been clear that that's what he      25           So that's the agency's view of these two



                                                                                                                  12
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 14 of 67
                                                  CONFIDENTIAL

                                            Page 436                                                    Page 437
 1   studies, right?                                         1      A. That's what the EPA says in those
 2      A. That's what they just wrote, yes.                 2   reports. And the different interpretation of the
 3      Q. All right. It goes on to say that "This           3   epidemiological -- published epidemiological
 4   information has limitations because it is based         4   database by EPA in the United States and IARC in its
 5   solely on unverified recollection of exposure to        5   review is one of the primary reasons why IARC
 6   glyphosate-based herbicides," correct?                  6   reached the diametrically opposed conclusion from
 7      A. That's what it says, yes.                         7   the EPA.
 8      Q. And the reference to glyphosate-based             8           And I think that those people that have
 9   herbicides is an indication that epidemiology           9   noted the reluctance of the EPA to rely on
10   studies, whether they're case-controlled,              10   epidemiological data are correct in observing that
11   retrospective, looking backwards, or whether they're   11   several positive epidemiological studies were given
12   looking prospectively in a cohort study, are studies   12   very light weight in the overall weight of the
13   of human exposure to the formulated products that      13   evidence assessment of glyphosate-based herbicide
14   have glyphosate as the active ingredient, correct?     14   risk by the U.S. EPA; but in the IARC system,
15      A. That's the only way the studies could be         15   quality and positive epidemiological evidence is
16   conducted, because no one applies 100 percent pure     16   given substantial weight and, you know, probably you
17   glyphosate for weed control.                           17   could say equal weight to the animal oncogenicity
18      Q. When the EPA in December of last year,           18   data and the genotoxicity data, since the IARC
19   2017, had 14 animal carcinogenicity studies on the     19   evaluations are really kind of a three -- based on a
20   active ingredient, 94 genotoxicity studies involving   20   three-legged stool.
21   glyphosate, glyphosate formulations, EPA also had      21           So this reluctance or reticence to rely
22   from the published literature epidemiology studies     22   on epidemiology data is one of the critical issues
23   of human exposure in different populations to          23   in -- both in the ongoing evaluation of potentially
24   formulations such as Roundup and Ranger Pro,           24   oncogenic pesticides including glyphosate, and it's
25   correct?                                               25   an important issue in this case.

                                            Page 438                                                    Page 439
 1      Q. IARC, in its conclusion announced in              1   EPA concluded, following a thorough review of all
 2   March 2015 about glyphosate in cancer hazard            2   available toxicity data, that glyphosate should be
 3   assessment, concluded that there was limited            3   classified in Category E, evidence of
 4   evidence of epidemiology concerning glyphosate-based    4   noncarcinogenicity in humans."
 5   formulations and carcinogenicity; is that right?        5           All of that's correct, right?
 6      A. Correct.                                          6      A. That's what they're reporting in this
 7      Q. And that conclusion that was reached by           7   final rule, yes.
 8   IARC in March 2015 was not based on a consideration     8      Q. And EPA has not changed its position on
 9   of the Andreotti health study that was released in      9   that appropriate category, evidence of
10   December of 2017, correct?                             10   noncarcinogenicity in humans, since June 1991,
11          MR. LITZENBURG: Form.                           11   right?
12          THE WITNESS: Correct.                           12      A. Right.
13   BY MR. COPLE:                                          13           And this is about the fifth time you've
14      Q. And EPA has specifically taken into              14   asked that question.
15   account, in December 2017, the data and results and    15      Q. And then it goes on to say that "This
16   interpretation of the Andreotti update in the AHS      16   cancer classification was based upon the observation
17   study, right?                                          17   of no treatment-related tumors at any dose level
18      A. That's what they report.                         18   with glyphosate tested up to the limit in rats and
19      Q. Now, on these studies here in 2002,              19   up to the dose levels higher than the limit dose in
20   epidemiology studies in 2002 that EPA is commenting,   20   mice, and the lack of evidence of
21   responding to a commenter about, the agency            21   mutagenicity/genotoxicity for glyphosate."
22   continues to say in the next paragraph that "The       22           That was the position of EPA in 2002 in
23   carcinogenic of glyphosate has been evaluated in       23   approving the tolerances, pesticide tolerances for
24   acceptable studies conducted in rats and mice."        24   glyphosate, right?
25          It goes on to say that "In June of 1991,        25      A. Correct.



                                                                                                                  13
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 15 of 67
                                                 CONFIDENTIAL

                                           Page 440                                                    Page 441
 1      Q. And that has not changed, correct?               1      opinion, sir.
 2      A. The same answer.                                 2   BY MR. COPLE:
 3      Q. Before we get to the next document, sir,         3      Q. So you don't think that EPA has concluded
 4   the conclusion the EPA reached in 2002 was based on    4   that it has all of the necessary comprehensive
 5   its complete evaluation of the carcinogenicity in      5   database to make the judgment that it has on
 6   humans in the context of a pesticide residue           6   Category E?
 7   approval for glyphosate, right?                        7           MR. LITZENBURG: Asked and answered.
 8      A. Correct.                                         8           THE WITNESS: No. I don't think that EPA
 9      Q. And that included the formulations               9      has all the information, nor have they evaluated
10   themselves, not just the active ingredient?           10      all the information that they need to make a
11      A. No, not in any thorough way.                    11      contemporary, science-based, rigorous assessment
12      Q. Well, EPA said that it did, right?              12      of the genotoxicity of glyphosate and
13      A. Yes.                                            13      glyphosate-based herbicides, because if they
14          MR. LITZENBURG: Form.                          14      had, they almost certainly would have agreed
15          THE WITNESS: The EPA did not have the          15      with the IARC working group that found strong
16      necessary information in its possession to do an   16      evidence of the genotoxicity of glyphosate and
17      up-to-date and thorough assessment of that.        17      glyphosate-based herbicides through at least two
18   BY MR. COPLE:                                         18      different mechanisms, based on the science
19      Q. It does now, because it has 94                  19      published as of -- I think the cutoff for the
20   genotoxicity studies, 14 animal carcinogenicity       20      IARC review was in February 2015; and since
21   studies and all the open literature on                21      early 2015, as I said, there have been at least
22   epidemiological formulated products including         22      two dozen additional positive genotoxicity
23   updated AHS study, right?                             23      studies published, including one I just read
24          MR. LITZENBURG: Form.                          24      this morning that came through my email.
25          THE WITNESS: That's -- that's your             25           So I do not believe that the EPA has

                                           Page 442                                                    Page 443
 1      assessed the current genotoxicity database with     1   said, I had very little time to check my email this
 2      the benefit of all of the relevant information,     2   morning, but I -- there is another newly published
 3      including Dr. Parry's report, that would            3   study that came into my email this morning.
 4      undoubtedly inform its opinion; and I think that    4      Q. All right. So no individual that you
 5      if it had had better and more complete              5   know sent you the study, just part of the
 6      information from registrants including Monsanto     6   distribution to a list?
 7      and had looked more deeply at the published         7      A. Yeah. I get scientific studies sent to
 8      literature, I think their position would            8   me by at least 12 different sources.
 9      certainly have aligned with IARC's.                 9      Q. Have you compared the 94 genotoxicity
10   BY MR. COPLE:                                         10   studies that EPA relied upon and reviewed in
11      Q. What genotoxicity study did you receive         11   December of 2017 with any of the studies that you
12   this morning?                                         12   think the agency should consider and you believe has
13      A. I didn't have time to read it. It's just        13   not?
14   out, like I think literally today.                    14      A. Well, I spent a lot of time in the
15      Q. Where did you get it from?                      15   preparation of my expert report reviewing the record
16      A. Email.                                          16   of Monsanto's understanding and the EPA's
17      Q. From who?                                       17   understanding of genotoxicity.
18      A. I don't -- I don't remember. Some               18           It became clear to me, based on my review
19   listserv that I'm on.                                 19   of the record in this case, that the absence of
20      Q. This was -- the study, what's the name of       20   genotoxicity -- evidence of genotoxicity from the
21   the study that you received this morning?             21   original Monsanto studies conducted mostly in the
22      A. I don't remember.                               22   late '70s and 1980s, submitted to the agency in
23      Q. What's the lead author's name on the            23   response to standard EPA data requirements, all of
24   study?                                                24   which were reviewed and considered by both Monsanto
25      A. I don't remember that either. Like I            25   and the agency as negative, supported both the



                                                                                                                 14
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 16 of 67
                                                  CONFIDENTIAL

                                            Page 444                                                    Page 445
 1   company's judgment and the EPA's judgment that          1   particularly struck by the willingness of Monsanto
 2   glyphosate and glyphosate-based herbicides pose no      2   in Europe to acknowledge that there were higher
 3   genotoxic risk.                                         3   risks associated with the formulated product, to
 4           And that conclusion played a central role       4   change its formulations to replace the POEA
 5   in the interpretation of the 1983 BioDynamic mouse      5   surfactant that                   characterized as
 6   study and, frankly, the subsequent oncogenicity         6   part of hazardous products with the lower risk
 7   assays and the epidemiological evidence and others.     7   surfactants that were available, including some that
 8           And so I paid particular attention in my        8   were Monsanto's products.
 9   review of the entire record of the case during the      9           And I think that had the EPA been aware
10   '80s and '90s and in the 2000s on the way that         10   of the additional science and additional information
11   Monsanto addressed their growing internal concern      11   that Monsanto had about the heightened risk of
12   about genotoxicity as well as the growing concern      12   glyphosate-based herbicides because of some of the
13   about genotoxicity expressed by a number of            13   formulations, the judgments that the EPA would --
14   regulators, principally in Europe, where regulators    14   had made about genotoxicity would have been
15   were asking Monsanto to respond to peer-reviewed       15   different, and that would have changed EPA's
16   published papers that regulators in Europe put much    16   interpretation of risks; it would have changed the
17   more weight on than the U.S. EPA, that reported a      17   warnings that EPA required Monsanto to place on its
18   higher risk, stronger evidence of human health harm    18   labels; and it absolutely certainly would have
19   from the formulated Roundup products,                  19   compelled EPA to require that a mixer/loader or
20   glyphosate-based herbicides, as opposed to the pure    20   applicator of Ranger Pro wear gloves, which is the,
21   active ingredient.                                     21   you know, absolute minimum PPE requirement that you
22           I paid particular attention to the way         22   would think would be on essentially, you know, any
23   Monsanto responded to those newly expressed concerns   23   herbicide label, where an individual is applying it
24   and the request for better data, newer studies         24   with a handheld sprayer or a backpack sprayer. But,
25   and/or changed in the formulation. And I was           25   no, those -- that requirement still is not on the


                                            Page 446                                                    Page 447
 1   Ranger Pro label.                                       1   and understand and compare 94 studies.
 2      Q. All right. None of your answer is                 2      Q. So by saying that three-quarters of the
 3   responsive to what I asked you, Doctor.                 3   studies were done by registrants on genotoxicity,
 4           The question was simply, EPA now has many       4   you're guessing?
 5   more, by orders of magnitude, of genotoxic study,       5      A. Yeah, it's a guess.
 6   since the '70s, '80s, '90s, and early 2000s, and        6      Q. All right.
 7   there's at least 94 of them.                            7      A. Educated guess.
 8           Did you compare the 94 studies that EPA         8      Q. All right. Your educated guess is also
 9   relied upon in December 2017 with whatever studies      9   what you were saying about what EPA might have done
10   that you think that they don't have?                   10   or not have done had there been other information in
11           MR. LITZENBURG: Asked and answered.            11   their hands in the 1980s or 1990s or 2000s, right?
12           THE WITNESS: I don't know the exact            12            MR. LITZENBURG: Form.
13      percentage of those 94 studies that were            13      Mischaracterization.
14      submitted, done by and submitted by registrants,    14            THE WITNESS: My opinion -- it is my
15      but I would be surprised if less than               15      opinion that had Monsanto provided Dr. Parry's
16      three-quarters of them are registrant-conducted     16      report in 1999, which was really right when the
17      and registrant-submitted studies. And those are     17      first wave of these positive genotoxicity
18      not available to a member of the public, to my      18      studies were coming in, and had Monsanto acted
19      knowledge.                                          19      upon Dr. Parry's recommendation to hire and
20   BY MR. COPLE:                                          20      commission scientists like Dr. Parry who had
21      Q. And you're guessing, because you didn't          21      developed these newer, more sensitive genotox
22   compare the 94 studies to other studies?               22      assays to actually do the test, replicate some
23      A. No. I -- I doubt that there was a way I          23      of the results in the published literature, that
24   could have done it. I certainly didn't have the        24      would have substantially accelerated the quality
25   time to do it. But that is a mammoth task to read      25      and depth and reliability of the genotox



                                                                                                                  15
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 17 of 67
                                                 CONFIDENTIAL

                                           Page 448                                                    Page 449
 1     database, and it would have helped Monsanto          1      answered.
 2     understand the level of risk so it could take        2            THE WITNESS: It's not a guess, sir.
 3     appropriate actions that any responsible company     3      It's not a guess. It's a -- it's an informed
 4     would do to assure that it's -- it's making its      4      judgment based on years of experience of
 5     products as safe as they possibly can and as         5      following how EPA conducts risk assessments of
 6     they understand how to do, and it would also         6      pesticides, what their standards are, the
 7     sharpen the EPA's understanding of risk.             7      criteria they use to determine, the extent to
 8          And it is my opinion that had they had          8      which they are willing to be -- how do I say
 9     that information at the time, the EPA very           9      this artfully? The extent to which the
10     likely would have reached a different evaluation    10      scientists in the agency are willing to accept
11     about what the totality of genotoxicity data        11      the views and positions articulated by
12     shows.                                              12      registrants even when they don't fully agree
13   BY MR. COPLE:                                         13      with them.
14     Q. So you're guessing what EPA might have           14            Like any institution, agency, EPA has to
15   done, because you don't know?                         15      pick its battles, and obviously, this -- there
16          MR. LITZENBURG: Form.                          16      were a number of battles over the years between
17     Mischaracterization. Asked and answered.            17      Monsanto and the EPA in the assessment of
18          THE WITNESS: It's my best professional         18      glyphosate and glyphosate-based herbicides, and
19     judgment based on what I know about how EPA         19      it's one that is ongoing by any reasonable
20     evaluates studies, how they reach decisions, the    20      measure.
21     weight of evidence approach that they adhere to.    21   BY MR. COPLE:
22     Yes, it's my best judgment.                         22      Q. Well, whatever information that EPA had
23   BY MR. COPLE:                                         23   in 1983 or anytime in 1980s or 1990s or 2000s is all
24     Q. An educated guess?                               24   superseded by what they have right now, as of
25          MR. LITZENBURG: Objection. Asked and           25   December 2017, and that includes at least 94 genotox

                                           Page 450                                                    Page 451
 1   studies, right?                                        1     I've reached has been informed by the very
 2           MR. LITZENBURG: Form. Asked and                2     in-depth debate about both the oncogenicity
 3      answered.                                           3     database, the 14 industry-conducted and
 4           THE WITNESS: There is a difference             4     submitted chronic feeding studies and the few
 5      between EPA reporting in a final rule or an         5     other studies that were not done by the industry
 6      updated HED risk assessment that they obtained      6     but have been published, and I believe my report
 7      or reviewed or took into consideration 12           7     is clear on my final judgments about those
 8      studies or 94 studies. That could be a quick        8     matters.
 9      reading of the abstract, or it could be an          9   BY MR. COPLE:
10      in-depth assessment.                               10     Q. This is your personal opinion that you
11           And it is the opinion of many scientists      11   have formed from your knowledge and experience of
12      who have participated in this rich debate over     12   what EPA does over the years, right?
13      the difference between EPA and EFSA and the        13           MR. LITZENBURG: Form. Asked and
14      German regulatory authorities' assessment of       14     answered.
15      oncogenicity of glyphosate-based herbicides        15           THE WITNESS: Much of my report --
16      compared to IARC. The genotoxicity data has        16     there's something over 1,000 paragraphs -- I
17      played a central role in that.                     17     would say 400 of them simply restate what
18           And I -- I am persuaded that if EPA were      18     Monsanto employees or scientists say to each
19      more aware of what Monsanto knew going back as     19     other about some aspect of their understanding
20      many as two decades about the heightened risk of   20     of the risks associated with glyphosate-based
21      their formulated products, it would have had an    21     herbicides. So all of the portions of my report
22      impact on their quantitative risk assessments,     22     that simply restate and observe what Monsanto
23      their requirements for personal protective         23     scientists have said are not a personal opinion.
24      equipment, provisions on their labels.             24     It's a statement of fact of what is in the
25           My reaching this -- this conclusion that      25     record.



                                                                                                                 16
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 18 of 67
                                                  CONFIDENTIAL

                                            Page 452                                                    Page 453
 1   BY MR. COPLE:                                           1   Ranger Pro and Roundup Pro concentrate -- it was the
 2      Q. Based on a review of particular documents         2   materials provided to me by counsel from the
 3   that the lawyers for Mr. Johnson gave you, right?       3   discovery record that informed me about the degree
 4           MR. LITZENBURG: Asked and answered.             4   to which Monsanto was aware of these heightened
 5   BY MR. COPLE:                                           5   risks, concerned about them, and undertaking a
 6      Q. That's what it's based on, right?                 6   variety of actions to try to make them go away.
 7      A. You have the -- you have the list of              7           And I have to say it is really
 8   documents that were provided to me. We've talked        8   disappointing to me and borders on shocking that
 9   about many documents that I had had and studied well    9   whenever confronted with new information about the
10   before this, including most of the EPA regulatory      10   risks, heightened risks, posed by glyphosate-based
11   file.                                                  11   herbicides, I can think of almost no examples where
12           There have been a number of documents          12   Monsanto said, well, jeez, you know, we better do
13   that were part of the discovery in this case that,     13   some more research and determine if this is right,
14   as you know, became available when they were           14   and if it -- if it proves out and is replicated, we
15   unsealed before I was involved in the case. I think    15   better do something to make our product safer.
16   some had been sealed before. I don't really            16           That is not how Monsanto responded in any
17   remember the timing.                                   17   of the instances that I reviewed in the record.
18           But my -- my opinions reached in this          18           MR. COPLE: Before we lose sight of this,
19   case are based on all of the information that was      19      because you mentioned the discovery record and
20   available to me and -- but certainly my in-depth       20      the documents which you had reviewed, which you
21   understanding of Monsanto's -- the honesty and         21      talked about yesterday, we're going to
22   responsibility, the degree to which Monsanto met its   22      designate, at least provisionally right now,
23   responsibility of offering a clear and fair and        23      that the entire transcripts and exhibits for
24   science-grounded warning to people using               24      this deposition today and yesterday be
25   glyphosate-based herbicides, in this particular case   25      confidential until we have a chance to review it

                                            Page 454                                                    Page 455
 1      to be sure that no confidential information is       1   it's been announced that the German government has
 2      being talked about or used on the record.            2   announced that it is going to phase out the use of
 3   BY MR. COPLE:                                           3   glyphosate-based herbicides as quickly as possible,
 4      Q. Now, did you look at the reference list           4   based on, apparently, the concerns that the German
 5   of studies that OPP had reviewed as part of its         5   regulators continue to have about the safety of
 6   issues paper in 2016 or 2017?                           6   those products.
 7      A. Which issue paper are you talking about?          7            So the -- the status of glyphosate and
 8      Q. Either one. The 2017 one of December              8   glyphosate-based herbicides in the European Union as
 9   or --                                                   9   a whole and in individual countries is, let's just
10      A. I might have glanced at it.                      10   say, in a dynamic state with certainly several of
11      Q. So you could have looked at that list and        11   the countries having announced and undertaken
12   seen exactly which genotox studies the EPA had         12   varying degrees of phaseouts of further use of
13   reviewed and which ones were from the open             13   glyphosate-based herbicides.
14   literature, right?                                     14       Q. As we sit here today, Doctor, the current
15      A. I may have been able to do that, and I           15   position of EFSA, as part of the European Union and
16   wished I had time to do it.                            16   the German regulator is that glyphosate is not a
17      Q. All right. And the European regulators,          17   human carcinogen, right?
18   at least EFSA and the German Federal Institute, have   18            MR. LITZENBURG: Asked and answered.
19   approved glyphosate for use in Europe as not being     19            THE WITNESS: As we discussed yesterday,
20   carcinogenic, and that's based on their review of      20       those conclusions reached by EFSA, ECHA, the
21   the genotox studies, as well, right?                   21       German regulatory authority, are all predicated
22      A. The European Union and EFSA recently             22       on the statement under normal or expected levels
23   adopted a reregistration for five years for            23       of dietary exposure or human exposure. So
24   glyphosate-based herbicides. And as a matter of        24       that's -- that is -- that is at this time the
25   fact, yesterday -- and I read this last night --       25       stated position of those three entities.



                                                                                                                  17
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 19 of 67
                                                  CONFIDENTIAL

                                            Page 456                                                    Page 457
 1   BY MR. COPLE:                                           1   not sure I've seen this. I've seen his full report.
 2      Q. And the three entities are EFSA, Germany          2      Q. You don't know if you've seen this
 3   and which one?                                          3   document or not?
 4      A. ECHA.                                             4      A. Well, I have from the discovery file,
 5      Q. Those three entities, in reaching the             5   Dr. Parry's full report as well as his full
 6   conclusion that glyphosate is not carcinogen, did       6   explanation of recommendations to Monsanto on the
 7   not limit their finding to just dietary and water       7   genotoxicity of glyphosate and glyphosate-based
 8   exposure; it was all rounds, right?                     8   herbicides.
 9      A. No. No. Their statement, their primary            9          This is a short summary of it, obviously.
10   statement of findings, is -- includes some version     10   His full report is 30 pages, and his set of
11   of that phrase that I testified to yesterday and       11   recommendations for follow-up studies is around 20.
12   repeat today, "under expected levels of exposure       12   So this is -- this is a -- I'm guessing it's a
13   through the diet," or some combination of words that   13   summary of it, and I have not seen it.
14   says essentially the same thing.                       14      Q. All right. Dr. Parry is writing to
15      Q. All right. If those findings do not say          15                   Do you know who                  is?
16   what you say they do, you'd be wrong on that point?    16      A. Yes. He's the -- one of the Monsanto
17      A. Correct.                                         17   people that interacted frequently with Dr. Parry.
18           MR. COPLE: Let's mark this Exhibit 19.         18      Q. And Dr. Parry says in Exhibit 19, in
19           (Benbrook Exhibit Number 19 is marked for      19   February of 1999, you'll find enclosed his
20      identification.)                                    20   evaluation, Dr. Parry's evaluation, four papers.
21   BY MR. COPLE:                                          21      A. I know. I know what this is now.
22      Q. You've seen this document, right?                22      Q. Concerning the potential genotoxicity of
23      A. Yes, sir.                                        23   glyphosate?
24      Q. And the paragraph --                             24      A. Right.
25      A. This isn't his full report. I'm actually         25      Q. And Roundup. And he goes on, in the

                                            Page 458                                                    Page 459
 1   following pages, to talk about his evaluation of        1      A. Okay. Got it. Talking about Rank and
 2   these --                                                2   Bolognesi.
 3      A. Right. Correct.                                   3      Q. Yes. This is a published study by Rank
 4      Q. -- four particular papers.                        4   from 1993, right?
 5      A. I know -- I know what this is now. Yeah.          5      A. Correct.
 6      Q. Now, Dr. Parry is not doing an experiment         6      Q. Published in the literature?
 7   here, right?                                            7      A. Correct.
 8      A. Correct.                                          8      Q. And the conclusion that's stated on this
 9      Q. He's not doing any type of an                     9   page, that's the conclusion that was reached by
10   investigation other than to review four papers,        10   Dr. Rank, or Mr. Rank, whoever Rank is, in his
11   right?                                                 11   study, right?
12      A. Pardon me?                                       12      A. Yes.
13      Q. He's not doing any type of a review other        13      Q. So this is not Dr. Parry's conclusion.
14   than the particular four papers that he was provided   14   He's just reciting what the papers say, right?
15   and giving his feedback on it, right?                  15      A. I think that -- yeah, he's -- it would
16      A. Correct. This is -- this is his first            16   obviously be -- he would be responsible for stating
17   piece of work for Monsanto.                            17   what the authors themselves concluded, but I think
18      Q. All right. And if you turn to -- if you          18   he's -- he's giving                            and
19   go by the Bates number on the bottom, let's go with    19   Monsanto his preliminary read on whether he thinks
20   097, do you see that, lower right-hand corner?         20   the study was valid and conducted correctly.
21      A. It's one of these pages?                         21      Q. The conclusion is in vitro evidence of
22      Q. Yes. It's one of the pages that you              22   genotoxic effect for Roundup mixture inadequate
23   have.                                                  23   in-vivos studies. That's Rank's conclusion from the
24      A. 097?                                             24   published paper?
25      Q. Yes, 097.                                        25      A. I'd have to look at the paper and read



                                                                                                                  18
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 20 of 67
                                                    CONFIDENTIAL

                                              Page 460                                                     Page 461
 1   what the authors say and read what's here to               1           So this is one of a significant number of
 2   understand fully what Dr. Parry's view of this is          2   consistent studies that show no genotoxicity in
 3   versus what the paper says, but it would be much           3   bacterial species, and it happens -- it just so
 4   more helpful if we looked at Parry's full report,          4   happens that a significant number of the
 5   which goes into each one of these papers in much           5   genotoxicity studies done by the registrants in
 6   greater detail, where it's much clearer what               6   their early days were also done in bacterial
 7   Dr. Parry's conclusion is based on. If you want to         7   species, so there's -- there's really no -- there's
 8   get into it in any depth, it would be much more            8   no significant scientific disagreement about the
 9   constructive to do it.                                     9   fact that there's no genotoxic risk evidence --
10      Q. My question has to do with the papers               10   there's no evidence of it in the published
11   that were evaluated by Dr. Parry, and the Rank paper      11   literature or in the industry studies in bacterial
12   in '93 -- and this is a 1999 evaluation and letter        12   assays.
13   he sends to                 -- '93 Rank published paper   13      Q. Any scientist in the world as of '93
14   in the literature would have been available to EPA        14   could read the Rank paper, right?
15   or anybody else that wanted to look at it --              15      A. If they knew English, yeah.
16      A. Right.                                              16      Q. And Dr. Parry -- he was not a coauthor on
17      Q. -- since that time, right?                          17   that, right?
18      A. Right. And if you are familiar with                 18      A. No, I don't -- no, I don't think so.
19   Dr. Parry's full report, you will know that               19      Q. And Bolognesi, which is a 1997 study,
20   Dr. Parry agrees with Monsanto, agrees with EPA, and      20   also published in the peer-reviewed literature?
21   agrees with really all scientists that have looked        21      A. Yes.
22   at this data, that there's no evidence of                 22      Q. So as of '97, Bolognesi's study would
23   genotoxicity of either glyphosate or                      23   have been available to any scientist in the world
24   glyphosate-based herbicides in bacterial assays.          24   that wanted to look at it, including a scientist at
25   And that's what this is.                                  25   EPA?

                                              Page 462                                                     Page 463
 1      A. Correct.                                             1   rendition by Dr. Parry of what the Bolognesi
 2      Q. And as the conclusion on the next page --            2   conclusions were, right?
 3   we're looking at these numbers, these Bates numbers,       3           MR. LITZENBURG: Asked and answered.
 4   which I know from your testimony you know what that        4           THE WITNESS: Positive response, in
 5   is, it's 098, the next page.                               5      vitro, SCE, which is somatic cell -- what the
 6      A. Yes, I see it.                                       6      heck is it?
 7      Q. There's a conclusion that's being -- it's            7   BY MR. COPLE:
 8   a various series of sentences. That's the                  8      Q. So the answer is yes, he's just
 9   conclusion that was reached by Bolognesi in the '97        9   recounting Bolognesi's conclusion, right?
10   paper?                                                    10      A. Right. That conclusion is that the
11      A. Like I said, you know, it's hard to                 11   response at -- in formulated products is ten times
12   say -- I would imagine that when Dr. Parry writes,        12   more or ten times lower in glyphosate relative to
13   for example, glyphosate positive response in 1,000        13   the mixture.
14   ug per milliliter, that is one of the results             14      Q. That's not responsive. All I asked, is
15   reported in the study. And when he also reports           15   he recounting it or not. And as I understand your
16   that Roundup mixture is positive at 100 micrograms        16   answer, you're saying yes, you agree that's all he's
17   per milliliter, which happens to be tenfold lower         17   doing, recounting what Bolognesi is saying in '97?
18   than the dose at which glyphosate was positive, this      18           MR. LITZENBURG: Objection. Asked and
19   is one of the early papers that report, in this           19      answered. Four times already.
20   case, a tenfold increase in the toxicity of a             20           THE WITNESS: No, sir. That's not what I
21   formulated Roundup herbicide as opposed to pure           21      said. I'll say it again.
22   glyphosate, that difference in toxicity between a         22           For me to understand which part of this
23   Roundup mixture and glyphosate appears in several         23      summary by Dr. Parry about these studies is his
24   points in this summary of these four papers.              24      evaluation and his conclusion based on the
25      Q. So the conclusion is a recount or                   25      reported results, compared to what the authors



                                                                                                                     19
                            TSG Reporting - Worldwide                  877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 21 of 67
                                                 CONFIDENTIAL

                                           Page 464                                                  Page 465
 1     reported in their published research report, I       1           MR. COPLE: The witness has already
 2     would need to have the published research report     2      answered.
 3     in front of me to refresh my memory how they         3   BY MR. COPLE:
 4     expressed their findings and their conclusions.      4      Q. The next page 099, Peluso. In 1998,
 5     Parry may have cut out a lot of caveats and          5   another paper published in peer-reviewed open
 6     weasel words. He may be stating the findings of      6   literature, yes?
 7     these studies in a more cryptic fashion than the     7      A. Yes.
 8     authors do. I can't tell without looking at the      8      Q. All right. And Peluso is also recounted
 9     paper.                                               9   by Dr. Parry. Yes or no?
10   BY MR. COPLE:                                         10      A. He -- there are statements about the test
11     Q. So you don't know if all Dr. Parry was           11   method used, the Roundup mixture; a note, which is
12   doing is recounting what was said in the Bolognesi    12   probably something that Dr. Parry noticed in the
13   paper. You just don't know?                           13   study that he felt it was important to communicate
14     A. I -- I do know, that in his own words, if        14   to               and then there is a statement of
15   you -- so this is --                                  15   conclusion, approximately three lines, which I can
16     Q. So if you know, is it yes or no?                 16   virtually guarantee you these are not the precise
17     A. You -- here is what Dr. Parry writes --          17   words that the authors used in presenting the
18     Q. Is it yes or no?                                 18   conclusions of their paper. It's a cryptic, short,
19     A. Excuse me, sir.                                  19   to-the-point statement of what I -- what Dr. Parry
20          MR. LITZENBURG: Don't interrupt his            20   felt the conclusions of the paper were.
21     answer.                                             21      Q. All right. Loi, L-O-I, 1998, published
22          MR. COPLE: I going to withdraw the             22   in the peer-reviewed open literature as of that
23     question.                                           23   time, right?
24          THE WITNESS: Oh, you don't want the            24      A. Yes, sir.
25     answer, do you?                                     25      Q. All right. So Peluso in '98, Loi in '98,

                                           Page 466                                                  Page 467
 1   also would have been available worldwide to any        1          THE VIDEOGRAPHER: The time is now 10:47.
 2   scientist that was interested in looking at it,        2     We are off the record.
 3   including EPA's scientists, right?                     3          (Break in proceedings.)
 4      A. Correct.                                         4          THE VIDEOGRAPHER: The time is now 10:57.
 5      Q. And since the time that these four               5     We're back on record.
 6   papers, all of which predate Dr. Parry's letter to     6          MR. COPLE: Mark this as Exhibit 20.
 7   Dr.           occurred, EPA has said they have at      7          (Benbrook Exhibit Number 20 is marked for
 8   least 94 genotoxicity studies involving the active     8     identification.)
 9   ingredient glyphosate and formulated product of        9          MR. COPLE: And Exhibit 21.
10   Roundup, correct?                                     10          (Benbrook Exhibit Number 21 is marked for
11      A. The EPA reports that they have access to        11     identification.)
12   94 genotoxicity studies in one of their recent        12          THE WITNESS: We're doing two at once?
13   reports, yes.                                         13          MR. COPLE: We'll talk about both of them
14      Q. And that was part of EPA's conclusion in        14     in conjunction, at the same time.
15   one of their recent reports, that glyphosate is not   15          MR. LITZENBURG: Can I have the other
16   a human carcinogen, right?                            16     one? Oh.
17      A. It's -- EPA's assessment of the                 17   BY MR. COPLE:
18   genotoxicity database is a part of all of their       18     Q. You have in front of you Exhibits 20 and
19   documents relative to the judgment about the          19   21. These are EPA regulations on pesticide
20   oncogenicity of glyphosate and glyphosate-based       20   registration --
21   herbicides and human health risks posed by use of     21     A. Counselor, can I just ask you to give me
22   and exposure to them.                                 22   one minute to look at it?
23           THE VIDEOGRAPHER: Seven minutes left on       23     Q. Sure.
24      the tape.                                          24     A. Thank you.
25           MR. COPLE: Off the record.                    25          Okay. Thank you.



                                                                                                               20
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 22 of 67
                                                  CONFIDENTIAL

                                            Page 468                                                    Page 469
 1      Q. You've got -- you've got two EPA                  1           And the first thing that EPA says in this
 2   regulations in front of you. Are you familiar with      2   regulation is that "The agency may determine that
 3   both of them?                                           3   certain minor modifications to registration having
 4      A. Yes, sir.                                         4   no potential to cause unreasonable adverse effects
 5      Q. You've seen them before, before today?            5   to the environment may be accomplished by
 6      A. In various forms, yeah.                           6   notification to the agency, without requiring that
 7      Q. And the first one, which is Exhibit 20, a         7   the registrant to obtain agency approval."
 8   40 CFR 152.44 application for amended registration.     8           That's what EPA provides for, right?
 9   It says that "Any modification in the composition,      9      A. Correct.
10   labeling, or packaging of the registered product       10      Q. Now, with respect to the change in a
11   must be submitted with an application for amended      11   precautionary statement on label for pesticide, EPA
12   registration."                                         12   would need to approve such a change in the labeling,
13           So that would mean that in order to            13   correct?
14   change the labeling for a registered pesticide, that   14      A. Correct.
15   the registrant has to make a submission to EPA to      15      Q. All right. So a company that holds a
16   review and approve, right?                             16   registration for a pesticide could not just on its
17      A. Correct.                                         17   own take it upon itself to make the change without
18      Q. So there could not be unilateral changes         18   putting that change before EPA for review and
19   by the registrant to a labeling unless it's            19   affirmative approval, right?
20   otherwise allowed by EPA regulation, right?            20      A. Right. Via an application for a label
21      A. Well, correct. Except for some of these          21   amendment, standard process, it could be.
22   minor ones that we'll talk about in Exhibit 21.        22      Q. To make such a submission for a change,
23      Q. And we go to Exhibit 21 now, and this is         23   it would require or typically trigger an EPA science
24   EPA regulation in 40 CFR 152.46, notification and      24   review concerning the proposed change in the
25   non-notification changes to a registration.            25   labeling, right?

                                            Page 470                                                    Page 471
 1         MR. LITZENBURG: Form.                             1       Q. None of that would apply in the case of a
 2         THE WITNESS: No. No. The -- I would               2   change in the labeling regarding cancer risk, right?
 3    say the -- probably the vast majority of label         3       A. Correct.
 4    amendments done on an ongoing basis, sometimes         4       Q. So for a cancer risk in any form to be
 5    every year. For a major product like any of the        5   put by a registrant on a label, that would have to
 6    major Roundup herbicides, they're labeled for          6   be submitted for EPA review and approval, and EPA
 7    the control of sometimes over 100 weeds, and           7   would conduct a science review to see if it's
 8    they're -- they -- on an annual basis, they may        8   warranted, right?
 9    add a couple weeds or take off a couple weeds or       9       A. It's not entirely clear that EPA would
10    add language that resistant varieties -- Palmer       10   conduct a science review. If, for example, Monsanto
11    amaranth in Georgia, Arkansas, and Tennessee, so      11   had submitted, in 2005 or 2010, an amendment to the
12    higher rates of the product might be used.            12   Ranger Pro label requiring chemical-resistant gloves
13         So they're -- most of the changes relate         13   as appears on the chemical safety data sheet, EPA
14    to the list of pests for which the label covers       14   would be delighted to see that; they would approve
15    uses and minor changes in the level of                15   it; and they wouldn't do an evaluation of it,
16    application or the frequency of application or        16   because they know it's going to expand the margin of
17    other things of that matter. And those -- those       17   safety.
18    are -- again, as I said, for a major product          18           So not all safety-related changes on a
19    like Roundup, such changes are necessary fairly       19   label require an agency review, and especially any
20    frequently, certainly every few years, if not in      20   changes of the label that on their face would reduce
21    some cases every year. Those -- those minor           21   whatever level of exposure and a risk is out there.
22    changes and the list of weeds controlled in the       22           Now, any change that would increase the
23    case of a herbicide do not trigger, typically, a      23   level of risk, especially if it's more than a
24    reassessment of the science base.                     24   trivial increase, those would be evaluated.
25   BY MR. COPLE:                                          25       Q. Not my question, Doctor. My question was



                                                                                                                  21
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 23 of 67
                                                 CONFIDENTIAL

                                           Page 472                                                    Page 473
 1   about cancer risk, and cancer risk to be added to a    1   adding a cancer warning without getting full agency
 2   labeled registered pesticide by a registrant would     2   approval?
 3   require formal submission for EPA review and           3           MR. LITZENBURG: Form.
 4   approval, and EPA would do a science review, right?    4           THE WITNESS: No, that's not what I said.
 5           MR. LITZENBURG: Objection. Already             5   BY MR. COPLE:
 6      asked and answered.                                 6      Q. All right. In the case of a cancer risk,
 7           THE WITNESS: You've cast a hypothetical        7   EPA has already determined since 1991 through today,
 8      situation of a pesticide registrant wanting to      8   as we sit here, that glyphosate is not a human
 9      put a statement about cancer risk on their          9   carcinogen, so adding a cancer risk warning about
10      label, which that's a fairly rare occurrence,      10   glyphosate in a Roundup formulation product or
11      and certainly I'm not aware of Monsanto            11   Ranger Pro would, in the terms of the determination
12      proposing to add such a phrase on any of its       12   by EPA, be a false or at least misleading statement,
13      Roundup labels.                                    13   right?
14           If -- if the -- if a company wanted to        14           MR. LITZENBURG: Form.
15      add a warning or additional safety precautions     15           THE WITNESS: It would depend on what a
16      because of concern over cancer, I don't think      16      registrant said about the potential risk of
17      the agency would conduct an evaluation. They       17      cancer. Monsanto could have peripherally put a
18      would regard that as an increase in the safety     18      statement on its label that there's some
19      precautions and margins of safety associated       19      evidence of potential to cause oncogenic risk
20      with the product. So I would -- I would suspect    20      from one of the studies submitted, and in an
21      in many instances they would -- they would         21      abundance of caution, we've added additional
22      approve such a label amendment without any         22      PPE. And I am quite certain that OPP would not
23      science evaluation.                                23      object to the addition of such language on a
24   BY MR. COPLE:                                         24      label.
25      Q. Are you saying that Monsanto should be          25



                                           Page 474                                                    Page 475
 1   BY MR. COPLE:                                          1      answered.
 2      Q. Is this another educated guess?                  2           THE WITNESS: Again, you're speaking
 3           MR. LITZENBURG: Form.                          3      about a hypothetical situation where -- I mean,
 4           THE WITNESS: No. No, it's not an               4      if a company proposed a label amendment that
 5      educated guess. It's based on my years of           5      made a declarative statement in opposition to a
 6      tracking changes in labels, which changes in the    6      similarly clear statement in an EPA risk
 7      label the agency pays attention to and feels        7      assessment, I think the first thing that would
 8      triggers the need for an updated risk assessment    8      happen is there would be a high-level meeting
 9      or a science evaluation versus changes in labels    9      between the company and the EPA scientists and
10      which the agency welcomes and usually quickly      10      registration division to say, "What the heck is
11      approves that clearly provide more specific,       11      going on here? What do you know that we don't
12      comprehensive, substantive directions,             12      know?"
13      precautions, requirements on the user community    13           But -- so that -- that -- you know, that
14      that expand, expand margins of safety by           14      is a hypothetical situation that to my knowledge
15      lowering exposures or reducing the risk of         15      has never happened, and it's -- there is -- my
16      high-exposure scenarios.                           16      guess is that EPA would respond by calling the
17           The EPA is always happy to approve those      17      registrant in and asking them why they are
18      sorts of label amendments.                         18      requesting a statement on a label that it
19   BY MR. COPLE:                                         19      contradicts a judgment by the agency that's
20      Q. Are you testifying that EPA would approve       20      clearly favorable to the company and the
21   a cancer risk warning for a product in which EPA      21      product.
22   itself has determined that there's no human           22   BY MR. COPLE:
23   carcinogenicity associated with the active            23      Q. So EPA is not going to approve a labeling
24   ingredient?                                           24   statement that contradicts the agency's own health
25           MR. LITZENBURG: Form. Asked and               25   risk assessment, right?



                                                                                                                 22
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 24 of 67
                                                  CONFIDENTIAL

                                            Page 476                                                    Page 477
 1           MR. LITZENBURG: I object to form. Asked         1      and the superior and more in-depth knowledge of
 2      and answered. Six times.                             2      the registrant whenever a registrant
 3           THE WITNESS: The EPA will routinely             3      incorporates in a label amendment a change in
 4      approve any registrant-proposed changes in           4      either the labeling or the use patterns for a
 5      labels that reduce exposures and expand margins      5      registered product that on their face will
 6      of safety irrespective of whether the registrant     6      reduce exposures and risk. They do not require
 7      includes in the amended label language an            7      a scientific basis for such changes because they
 8      explanation of the scientific reason for adding      8      expect that a responsible company would not
 9      such additional safety precautions or PPE            9      propose a change in a label of that nature
10      requirements or other changes in how a pesticide    10      unless there was a reason. That is their
11      is used.                                            11      expectation of what a responsible company would
12   BY MR. COPLE:                                          12      do.
13      Q. So there has to be a scientific basis for        13   BY MR. COPLE:
14   a labeling change that has a cancer warning, right?    14      Q. And in the case of glyphosate, the
15           MR. LITZENBURG: Form.                          15   agency's baseline right now and since 1991 has been
16           THE WITNESS: The agency -- the agency          16   that glyphosate is not a human carcinogen, right?
17      recognizes that the registrant, and in              17      A. That is the judgment of the agency that
18      particular the primary registrant, as Monsanto      18   we've discussed at length the last two days. Yes,
19      is for glyphosate-based herbicides, knows far       19   sir.
20      more about the active ingredient, its               20      Q. Do you recall yesterday, Doctor, that we
21      properties, its toxicology, how it's been used      21   talked about the toxicology testing that EPA
22      around the world, experiences that Monsanto has     22   requires for pesticide registration, and you agreed
23      had with glyphosate-based herbicides in Brazil,     23   that under EPA's Regulation 158.500 that toxicity
24      in Argentina, in Germany.                           24   testing for the active ingredient and for the
25           So the agency defers to the registrant         25   formulated product is required by EPA for acute

                                            Page 478                                                    Page 479
 1   toxicity as well as for subchronic testing --           1   ingredient in glyphosate formulations, it's never
 2   subchronic toxicity?                                    2   changed that requirement to insist that there be
 3          MR. LITZENBURG: Form.                            3   chronic feeding long-term tox testing for formulated
 4   BY MR. COPLE:                                           4   pesticides, right?
 5      Q. Correct?                                          5      A. Correct.
 6      A. The so-called six-pack of acute toxicity          6           MR. COPLE: Let's mark Exhibit 22.
 7   studies are typically required for most substantial     7           (Benbrook Exhibit Number 22 is marked for
 8   changes in a formulated product. It's not my            8      identification.)
 9   understanding that certainly no long-term chronic       9   BY MR. COPLE:
10   feeding studies are required on formulated products,   10      Q. Have you seen this document before?
11   and I think it's quite unusual for a subchronic        11      A. Let me look at it, please.
12   study to be required on formulated product.            12      Q. Sure.
13      Q. EPA has never required long-term chronic         13      A. Yes, I do remember this.
14   feeding studies for toxicity in a formulated           14      Q. All right. This is an email from
15   product, right?                                        15   Mr. Jenkins at Monsanto to a number of officials at
16          MR. LITZENBURG: Form.                           16   EPA's OPP division, correct?
17   BY MR. COPLE:                                          17      A. Correct.
18      Q. For a pesticide?                                 18      Q. And the email is sending the agents the
19      A. Not that I'm aware of.                           19   EPA CD to provide the agency with a group of studies
20      Q. And EPA could require such testing on            20   that are 37 genotox studies in terms of 20 Ames
21   formulated product pesticides at any time, right?      21   assays and 17 mouse micronucleus assays that were
22      A. They have the authority to do so, I would        22   conducted on 17 glyphosate formulations to support
23   say, yes.                                              23   registration in Brazil?
24      Q. And in the 40-plus years that EPA has            24           MR. LITZENBURG: Objection to form.
25   approved registration of glyphosate as the active      25           THE WITNESS: Yes, that's what this email



                                                                                                                  23
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 25 of 67
                                                  CONFIDENTIAL

                                            Page 480                                                   Page 481
 1      states.                                              1   genotoxicity aspects that were done from Brazil,
 2   BY MR. COPLE:                                           2   right?
 3      Q. And it goes on to state in the                    3      A. That is correct.
 4   communication to EPA that of those 17 formulations,     4      Q. And EPA could at any time demand that
 5   formulated products that were tested for Brazil,        5   Monsanto also do similar or different toxicity
 6   four of them are Roundup formulations that are also     6   testing on all of the U.S.-based registrations for
 7   registered in the U.S., right?                          7   its glyphosate formulations, right?
 8      A. That's what it says, yes.                         8      A. If it chose to do so, correct.
 9      Q. So EPA had information including the              9      Q. And it's never done that, right?
10   actual cell testing for genotoxicity that was done     10      A. Not yet.
11   by Monsanto for Roundup formulations to comply with    11      Q. EPA has just determined again in
12   the requirements in Brazil. They had that as of        12   December 2017 that glyphosate and glyphosate
13   May 2016, right?                                       13   formulations are not genotoxic, correct?
14           MR. LITZENBURG: Objection to form.             14           MR. LITZENBURG: Form.
15      Listen to the question carefully, and answer it     15           THE WITNESS: That's reported in one of
16      if you can.                                         16      the earlier exhibits that we talked about. Yes.
17           THE WITNESS: Yeah, that's what this            17           MR. COPLE: Let's mark this as
18      reports.                                            18      Exhibit 23.
19   BY MR. COPLE:                                          19           (Benbrook Exhibit Number 23 is marked for
20      Q. So EPA -- first of all, Monsanto has done        20      identification.)
21   genotoxic testing on its Roundup -- some of its        21   BY MR. COPLE:
22   Roundup formulations?                                  22      Q. Now, in preparing your opinions in this
23      A. It has done some, yes.                           23   case and your expert report, Doctor, did you review
24      Q. And EPA is aware of at least the 17              24   the surfactant cluster testing documents?
25   formulated products that were tested for               25      A. No. This is news to me. I haven't seen

                                            Page 482                                                   Page 483
 1   this document.                                          1      A. Yes.
 2       Q. So you haven't looked at any of the              2      Q. And it indicates in parenthesis after the
 3   surfactant class testing documents?                     3   name of the surfactant that "JITF CST 4 Inert
 4       A. No.                                              4   Ingredients." Do you know what that is?
 5       Q. You've never seen this particular                5      A. No.
 6   document?                                               6      Q. Do you know what the JITF is?
 7       A. I have never seen this document.                 7      A. I think it's Joint Industry Task Force,
 8       Q. Well, let's see if we can identify what          8   but I could be wrong.
 9   it is.                                                  9      Q. You know what CST 4 is?
10           Are you familiar with a document of this       10      A. No. Maybe I should take the time to read
11   type?                                                  11   it. Let me read it. Okay?
12       A. It's an EPA memorandum reporting the            12      Q. I only have one question. This is alkyl
13   results of a human health risk assessment to support   13   amine polyalkoxylates. Are you familiar with that
14   an exemption from the requirement tolerance for        14   surfactant?
15   inert ingredient.                                      15      A. Not in any detail. It's a chemical name
16       Q. Are you familiar with that?                     16   I've run across before in my reading.
17       A. I've seen some of these, yes.                   17      Q. All right. If you go to Page 15.
18       Q. All right.                                      18      A. You said you were going to ask one
19       A. But I haven't seen this one, nor any            19   question.
20   others applicable to Roundup-based herbicides in the   20      Q. It is, one question.
21   period of this case.                                   21      A. Well, that was a question.
22       Q. This is from 2009, correct?                     22      Q. Well, I'm doing a second question. 4.4,
23       A. That's the date on it, yes, sir.                23   Classification of Carcinogenic --
24       Q. This is an EPA document. This is not a          24      A. Wait, 15, you said?
25   registrant document, correct?                          25      Q. Yes, sir.



                                                                                                                 24
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 26 of 67
                                                 CONFIDENTIAL

                                           Page 484                                                    Page 485
 1     A. Okay.                                             1      it.
 2     Q. Classification of Carcinogenic Potential.         2   BY MR. COPLE:
 3   And the first sentence by EPA is, "There is no         3      Q. I'm sorry, Doctor, were you still
 4   evidence that AAPs are carcinogenic," right?           4   responding to a question when you say "delighted to
 5          MR. LITZENBURG: Dr. Benbrook, you are           5   have it"?
 6     welcome to do as much reading of this as you         6      A. I'm glad to have that document this
 7     wish to answer these questions.                      7   morning. It's one that I didn't know it was
 8          THE WITNESS: Give me a moment. Okay?            8   available.
 9   BY MR. COPLE:                                          9      Q. Did you ask for the surfactant testing
10     Q. Does the document say that?                      10   documents?
11          MR. LITZENBURG: Do as much reading as          11      A. No.
12     you want before you answer.                         12      Q. Did you ask for the cluster evaluation
13          THE WITNESS: That is an accurate reading       13   documents?
14     of the first sentence, last paragraph of Page       14      A. No, I didn't.
15     15.                                                 15      Q. Did you ask for any documents from
16   BY MR. COPLE:                                         16   counsel about the submission or approval of inert
17     Q. Apart from the document, are you                 17   ingredients for glyphosate-based formulations?
18   familiar -- are you aware of that finding that was    18      A. No.
19   made by EPA, that AAPs were not carcinogenic?         19          MR. COPLE: This is Exhibit 24.
20     A. As I said, I have not seen this document         20          (Benbrook Exhibit Number 24 is marked for
21   previously.                                           21      identification.)
22          MS. FORGIE: What's the exhibit number,         22   BY MR. COPLE:
23     please?                                             23      Q. Are you familiar with this document?
24          MR. LITZENBURG: 23.                            24      A. No. I have not seen this.
25          THE WITNESS: And I'm delighted to have         25      Q. This is the TNO report that you reference

                                           Page 486                                                    Page 487
 1   in your expert report, correct?                        1   10 percent of the glyphosate Roundup formulation was
 2      A. It's a -- it is a TNO report. I don't            2   dermally absorbed."
 3   know which one it is. I don't know the full number     3           It goes on to say in the next page, "by
 4   of reports that TNO provided to the agency. I do       4   contrast to the standard 3 percent estimate relied
 5   know what the Monsanto scientists who commissioned     5   on by the EU, European Union, and the U.S.
 6   this work -- what they said to their colleagues and    6   regulators."
 7   reported about the -- a rat dermal absorption study    7           Is this exhibit -- is this Exhibit 24 the
 8   that they had commissioned TNO to undertake.           8   TNO study that you're referencing in your expert
 9      Q. Did you review any of the TNO reports on         9   report at 588?
10   dermal testing?                                       10      A. I can't make that determination until I
11      A. I was unable to locate any of these in          11   go back and review MON03738293 and probably the
12   the record. They may be in the discovery record,      12   earlier sited MON document.
13   but I didn't see them. And since they've got a        13           There's two or three emails in the record
14   Bates number, they're clearly a part of the record.   14   that talk specifically about the rat permeability
15   So no, I did not have an opportunity to review this   15   study that have been conducted by TNO at the request
16   skin penetration or skin permeability study.          16   of Monsanto, and the summary of the results of that
17      Q. You -- on Page 111 of your report, that's       17   study, that you accurately quoted -- the results of
18   Exhibit 4.                                            18   the rat skin penetration study using a Roundup
19      A. Okay.                                           19   formulation suggested 5 percent to 10 percent of the
20      Q. In Paragraph Number 588, your report says       20   glyphosate in this Roundup formulation was dermally
21   that "to address revolving worker risk concerns       21   absorbed.
22   among European regulators, Monsanto commissioned a    22           That empirical finding is taken from a
23   dermal penetration study in rats. It was conducted    23   email from one of the European Monsanto employees --
24   by then a contract lab, TNO. The results of the rat   24   I think it was the gentleman with the very difficult
25   study using Roundup formulations suggests that 5 to   25   to pronounce name that starts with B -- to his



                                                                                                                 25
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 27 of 67
                                                  CONFIDENTIAL

                                            Page 488                                                    Page 489
 1   colleagues, some in Europe and some in St. Louis,       1   director.
 2   reporting the surprising and very worrisome results     2      Q. And these particular GLPs were done under
 3   of this TNO study that suggest that the actual          3   the OECD GLP principles, right?
 4   dermal absorption rate for formulated Roundup           4      A. Correct. A European laboratory.
 5   herbicides is possibly three times higher than the      5      Q. All right. That means that it complies
 6   standard default assumption in EPA and in the           6   with the standards of quality to ensure the study is
 7   regulatory worker exposure models around the world.     7   conducted under the proper conditions, right?
 8       Q. All right. Go to the summary of the TNO          8      A. Well, that would be the assertion made if
 9   study that you just talked about. It's on               9   in fact it was signed, but it doesn't appear to be
10   Page 1799, the Bates number for this Exhibit 24. It    10   signed or dated.
11   actually starts on the previous page, 1798, and it     11      Q. So you think the study is not valid
12   continues on to 1799.                                  12   because of that?
13           Now, before I ask you what the summary         13      A. I don't know. I don't know. I've never
14   says, the results you just mentioned, and I think      14   seen this.
15   are in your report somewhere, on the following --      15      Q. On Page 1799, under Paragraph 6, there's
16   it's not the next page -- two pages on, it's 1801,     16   a conclusion. It starts out saying that "In
17   there's a statement of GLP compliance that's listed    17   conclusion, an 8-hour exposure resulted in a
18   with the study director.                               18   penetration at 10 percent, 2.6 percent, 5 percent,"
19           Do you know what a statement GLP               19   and it has the different concentrates involved, and
20   compliance is?                                         20   it goes up to -- it goes down to "1.4 percent over a
21       A. Yes.                                            21   period of 48 hours, in viable rat skin membranes."
22       Q. What does it mean?                              22           It goes on to say that "Due to the high
23       A. It means that the study was conducted in        23   variation in dermal penetration within the test
24   compliance with good laboratory practices, and it's    24   groups and the poor recoveries, the data presented
25   usually signed by the lab director or the study        25   in this report are not acceptable for regulatory use

                                            Page 490                                                    Page 491
 1   and risk assessment." Correct?                          1     Q.    All right.
 2      A. That's what it says. Yeah.                        2          MR. COPLE: We'll mark two documents here
 3      Q. Study finding is that study findings are          3      as Exhibits 25 and 26 to the deposition. First
 4   not suitable for regulators to use, correct?            4      25. And this is 26.
 5      A. Yes. That's what they state.                      5          (Benbrook Exhibit Numbers 25 and 26 are
 6      Q. And this summary is from the study                6      marked for identification.)
 7   director, who's on the first page, Dr. J. A.            7   BY MR. COPLE:
 8   van Burgsteden, right?                                  8      Q. Now, you're familiar with Exhibit 25,
 9      A. Yes. He's listed as the author, or she.           9   Doctor?
10      Q. Do you know Dr. van Burgsteden?                  10      A. It's part of the EPA regulations,
11      A. No.                                              11   providing details on the implementation of FIFRA.
12      Q. Have you spoken to anyone in preparation         12      Q. And this is the reporting rule for toxic
13   for your expert report about the TNO dermal            13   or adverse effects incidence reports under FIFRA?
14   penetration study?                                     14      A. Correct.
15      A. No. My sole source of information about          15      Q. This is the regulation that is adopting
16   the TNO report and Monsanto's evaluation of it and     16   my EPA pursuant to 6(a)(2) as the FIFRA section?
17   concerns about it are from the series of emails in     17      A. Yeah, it's certainly one of them.
18   the discovery record that I reviewed and cited in my   18      Q. Certainly one of what?
19   report.                                                19      A. I'm not sure this is the only place where
20      Q. Now, in terms of whether a piece of              20   EPA references 6(a)(2) in the full body of Part 1,
21   information needs to be reported under 6(a)(2), one    21   159 or per EPA regs, but this is one of the places
22   of the primary factors is that the information must    22   where the obligations of the registrant are
23   allege that there's some adverse effect from an        23   discussed.
24   application of a particular pesticide, right?          24      Q. Setting out the reporting requirements
25      A. That's one of the factors.                       25   under 6(a)(2), right?



                                                                                                                  26
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 28 of 67
                                                  CONFIDENTIAL

                                            Page 492                                                    Page 493
 1      A. I haven't read it, but I'm assuming that          1   eyes down about five lines maybe, six lines, it
 2   that's what this section does.                          2   starts with the word "specifically."
 3      Q. Exhibit 26, which you should have.                3           Do you see that?
 4      A. I do? Thank you.                                  4      A. Uh-huh.
 5      Q. Now, this is a final rule publication in          5      Q. "Specifically, incident information
 6   the Federal Register in 1997, in September, by EPA,     6   regarding human fatalities must be reported within
 7   and the summary says that "This final rule codifies     7   15 days."
 8   EPA's interpretation and enforcement policy             8           And it goes on to say, "Information
 9   regarding section 6(a)(2) of FIFRA."                    9   regarding allegations of serious human illness or
10           Do you see that?                               10   fatalities to wildlife, serious plant damage,
11      A. Yes, sir.                                        11   serious property damage, or water contamination
12      Q. All right. Have you reviewed this                12   above MCLs or HALs, may be accumulated for 30 days,
13   announcement of EPA's interpretation of FIFRA --       13   and reported within 30 days after the accumulation
14      A. Yes.                                             14   period." Right?
15      Q. -- as part of your --                            15      A. Correct.
16      A. Yes, I have, in the past, more than once.        16      Q. And then everything else has a 90-day
17      Q. For this case?                                   17   accumulation and a 60-day follow on reporting
18      A. No.                                              18   period, right?
19      Q. If you'll go to -- if you go to Page 8,          19      A. Correct.
20   and that's the page number in this copy. It's not      20      Q. This is all familiar to you?
21   the Federal Register. It's in upper right-hand --      21      A. Yes, sir.
22      A. Got it.                                          22      Q. On Page 21, the top paragraph, which
23      Q. In the last full paragraph, which is that        23   actually starts at the bottom of the previous page,
24   long paragraph, it talks about the final rule of       24   and within that paragraph -- we can start on the
25   rule of what must be reported. And if you drop your    25   previous page to have the full context for the


                                            Page 494                                                    Page 495
 1   paragraph. At the bottom, it starts with the second     1      A. Correct.
 2   issue. This is EPA speaking.                            2      Q. And that would be an allegation that a
 3           "The second issue raised by commenters          3   specific pesticide exposure has caused a specific
 4   concerns whether specific symptoms have been            4   harm, right?
 5   reported. Some commenters felt that in the absence      5      A. Well, or a specific series of pesticide
 6   of concrete evidence of adverse effects to exposed      6   exposures, perhaps not a single one.
 7   individuals, there's no basis for reporting under       7      Q. There has to be an allegation that
 8   Section 6(a)(2)."                                       8   exposure to a specific --
 9           That's the FIFRA reporting section we've        9      A. Right.
10   been talking about, right?                             10      Q. -- pesticide has caused a specific harm?
11      A. Correct.                                         11      A. Right. I just want to make clear that
12      Q. In essence, these comments are objecting         12   the sentence "an allegation of exposure," that could
13   to the reporting criteria of section -- and it         13   include one episode or multiple episodes of
14   references Section 159.184, that the registrant has    14   exposure.
15   been informed that a person, quote, "may have some     15      Q. But there has to be an allegation that --
16   suffering or may suffer," end quote, an adverse        16      A. Correct.
17   effect. And that's the commenter's point of view.      17      Q. -- exposed pesticide is allegedly the
18           The agency says -- the agency disagrees        18   cause of a specific harm?
19   with the comments of the standard, and says that the   19      A. Correct.
20   standard for reporting an incident -- and that would   20           MR. COPLE: Let's mark as Exhibit 27 in
21   be reporting an incident pursuant to 6(a)(2), right?   21      the deposition.
22      A. Correct.                                         22           (Benbrook Exhibit Number 27 is marked for
23      Q. All right. The standard for reporting an         23      identification.)
24   incident is that there be both an allegation of        24   BY MR. COPLE:
25   exposure and an allegation of possible harm, right?    25      Q. Are you familiar with this document?



                                                                                                                  27
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 29 of 67
                                                  CONFIDENTIAL

                                            Page 496                                                   Page 497
 1      A. Yes.                                              1   of the Federal Food, Drug, and Cosmetic Act."
 2      Q. This is called the 1996 FQPA Approved             2          It goes on to say, "As of August 3, 1996,
 3   Quality Protection Act Implementation Plan.             3   pesticides were no longer subject to the Delaney
 4           Did you read this in preparing for your         4   Clause and it became unnecessary to complete the
 5   expert report and opinions?                             5   proposed revocations."
 6      A. No.                                               6          Is that your understanding, as well?
 7      Q. But you've read it previously; is that            7      A. Yes, sir.
 8   right?                                                  8      Q. So the Delaney Clause after '96 was no
 9      A. Many times.                                       9   longer a consideration in terms of pesticide
10      Q. Now, you've mentioned the Delaney Clause         10   registration, review, and approval. Is that
11   a number of times in your expert report in this        11   correct?
12   particular case, correct?                              12      A. For all intents and purposes, the Food
13      A. Correct.                                         13   Quality Protection Act amended the Food, Drug, and
14      Q. You told us yesterday in answer to a             14   Cosmetic act in a way that altered the previous
15   question about your involvement in an NAS              15   prohibition that blocked EPA from approving certain
16   publication about the Delaney Clause paradox. Is       16   Section 409 tolerances for cancer-causing
17   that right?                                            17   pesticides. It unraveled the Delaney paradox, is
18      A. The Delaney Paradox Report and the               18   one way to put it simply.
19   follow-up study on pesticides in the diets of          19      Q. So it no longer applied after '96?
20   infants and children. Correct.                         20          MR. LITZENBURG: Asked and answered.
21      Q. On Page 12 of this Exhibit 27, at the            21          THE WITNESS: Well, it -- it -- the Food
22   top, it starts out by saying that "Prior to passage    22      Quality Protection Act established a new
23   of FQPA, EPA had revoked or had proposed to revoke a   23      health-based standard for the review and
24   number of pesticide tolerances for processed foods     24      approval of pesticide tolerances, which is
25   that were subject to the Delaney Clause under," 409    25      summarized as reasonable certainty and no harm.

                                            Page 498                                                   Page 499
 1      This is -- this was the basic standard in            1     Clinton signed the bill.
 2      several other areas of FDA decision making on        2   BY MR. COPLE:
 3      human drugs, animal drugs, and other chemicals       3     Q. So after that date, the Delaney Clause
 4      for which FDA was responsible for regulation in      4   has no application to pesticide registration and
 5      the food supply.                                     5   approval, right?
 6           So it's not that Delaney Clause didn't          6          MR. LITZENBURG: Asked and answered.
 7      apply anymore, but in passing this new statute,      7          If you don't like the answer, move on.
 8      the Congress provided a new framework and a new      8          MR. COPLE: I just want to know if it's
 9      way to deal with tolerance petitions involving       9     yes or no.
10      cancer-causing pesticides in processed foods.       10          MR. LITZENBURG: It's the identical thing
11           It certainly was not -- it -- it               11     you asked him, and he went on for five minutes
12      substantially changed, obviously, the impact of     12     with a highly qualified and detailed answer.
13      the Delaney Clause, but the Delaney Clause          13          MR. COPLE: Which we didn't need. We
14      remains part of the Food, Drug, and Cosmetic        14     needed a yes or no, and we didn't get one.
15      Act. But just the way that the EPA applied the      15          THE WITNESS: The Delaney Clause, as it
16      Delaney Clause in a tolerance setting was           16     applied to tolerance setting prior to
17      changed and hence superseded the Delaney Clause     17     August 3rd, 1996, had -- did not have the same
18      after the signing of the Food Quality Protection    18     impact on tolerance setting after the passage of
19      Act in August of 1996.                              19     the FQPA, because Congress set out a new
20   BY MR. COPLE:                                          20     framework and standard covering those tolerance
21      Q. So the implementation plan actually says         21     petitions that had previously been impacted by
22   that as of August '96, pesticides are no longer        22     the Delaney Clause.
23   subject to the Delaney Clause, right?                  23   BY MR. COPLE:
24           MR. LITZENBURG: Asked and answered.            24     Q. Is it your testimony that the Delaney
25           THE WITNESS: That was the date President       25   Clause has any continuing application to pesticide



                                                                                                                 28
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 30 of 67
                                                  CONFIDENTIAL

                                            Page 500                                                    Page 501
 1   registration?                                           1   active ingredients and inerts, not only those
 2           MR. LITZENBURG: Asked and answered.             2   associated with older pesticides, within ten years
 3           THE WITNESS: No. It has none.                   3   to ensure they meet the new FQPA safety standard."
 4   BY MR. COPLE:                                           4           Now, that's the new standard that you
 5      Q. All right.                                        5   were just telling us about, right?
 6      A. The new law is passed called the Food             6      A. Correct.
 7   Quality Protection Act.                                 7      Q. All right. So all tolerances, all
 8      Q. All right. So the paradox of the Delaney          8   exemptions from tolerances for any active ingredient
 9   Clause with respect to pesticide registration has       9   like glyphosate and any inert that's used in the
10   been eliminated, right?                                10   pesticide formulation had to meet FQPA safety
11      A. It was resolved. Yes.                            11   standards within ten years from the effective date,
12      Q. On Page 25 of the EPA implementation             12   correct?
13   plan, there is a subsection called 5.3 Tolerance       13      A. That was the aspirational goal and the
14   Reassessment, and three paragraphs --                  14   implementation goal, correct.
15      A. What page are we on?                             15      Q. And glyphosate has been approved under
16      Q. I'm sorry. We're on Page 25.                     16   the FQPA accordingly, right?
17      A. Okay. The 5.3 Tolerance Reassessment.            17      A. The glyphosate dietary risk assessment
18   Yes, sir.                                              18   and the review of the tolerances has gone through
19      Q. Three paragraphs down, it says that              19   the FQPA process, yes.
20   "Under the new law, EPA is required" -- the new law    20      Q. And the inerts that are used in
21   would be the FQPA, right?                              21   connection with glyphosate-based formulations have
22      A. Correct.                                         22   all been approved under the FQPA safety standard,
23      Q. -- "the new law, EPA is required to              23   right?
24   reassess all," and "all" is in bold here, "existing    24      A. I -- there -- first of all, I don't know
25   tolerances and exemptions from tolerances for both     25   all the inerts in glyphosate-based herbicides, those

                                            Page 502                                                    Page 503
 1   manufactured by Monsanto and those manufactured by      1           And it went on to say that "The
 2   other companies. I'm sure it's quite a long list,       2   commenter's objection was based on concerns of
 3   and I can't say for certain whether all of them have    3   enhanced exposure of the public to glyphosate and
 4   gone through the process. I'd have to research          4   other ingredients of the Roundup formulations;
 5   that.                                                   5   greater use of Roundup/glyphosate which will result
 6           MR. COPLE: Let's mark this document as          6   in adverse effects to the environment and human
 7      Exhibit 28 to the deposition.                        7   health; and exposure of the public to Roundup from
 8           (Benbrook Exhibit Number 28 is marked for       8   consumption of corn or the animal product from
 9      identification.)                                     9   animals fed corn."
10   BY MR. COPLE:                                          10           Then the EPA responds. Now, in the
11      Q. Are you familiar with this document?             11   response, EPA explained what the data was that was
12      A. Yes.                                             12   submitted in the petitions that was considered in
13      Q. This is the earlier glyphosate pesticide         13   support of the tolerances, right?
14   tolerance review from 1997, after the enactment of     14      A. Correct.
15   Food Quality Protection Act?                           15      Q. And in the Toxicological Profile, under
16      A. Correct.                                         16   3, there was a two-year carcinogenicity study in
17      Q. Have you reviewed this in connection with        17   mice that was taken into account by EPA in approving
18   your report or your opinion in this case?              18   FQPA tolerance petition for glyphosate, right?
19      A. I didn't need to. I know this tolerance          19      A. That's what it says in Paragraph 3.
20   petition and action quite well.                        20   Correct.
21      Q. All right. In this particular petition           21      Q. And also in Paragraph Number 4, a chronic
22   that's being decided as a final rule by EPA, the       22   feeding carcinogenicity study in male and female
23   agency said in the middle column, all the way down     23   rats fed dosage -- and it indicates what the dosages
24   at the bottom, that "The agency received one comment   24   were, correct?
25   opposing the tolerances."                              25      A. Correct.



                                                                                                                  29
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 31 of 67
                                                  CONFIDENTIAL

                                            Page 504                                                    Page 505
 1      Q. And so there were two animal model                1   that would be possible carcinogen based on increased
 2   studies that were taken into account by EPA in          2   incidence of renal tumors male in mice, right?
 3   reaching its decision in this 1997 glyphosate           3      A. Correct.
 4   tolerance review?                                       4      Q. So EPA is pointing out the history of the
 5           MR. LITZENBURG: Form.                           5   classification of glyphosate, right?
 6           THE WITNESS: I would expect there were          6      A. Correct.
 7      more, but these are two that the agency is           7      Q. And it goes down a little further and
 8      specifically discussing.                             8   points out that in its report dated February 24,
 9   BY MR. COPLE:                                           9   1986 --
10      Q. Now, if you go to the next page, which is        10      A. Wait a second. Let me try to follow you.
11   the Federal Register Page 17724, and in the far        11      Q. All right.
12   right column, which is a continuation of the dose      12      A. How far did you drop down?
13   assessment response, and under the dose assessment     13      Q. Maybe two sentences. It's right after --
14   response, there's a Paragraph 2 called                 14      A. Let me -- let me read the intervening
15   Carcinogenicity Classification.                        15   sentences.
16           Do you see that?                               16      Q. Sure.
17      A. I see that. Okay.                                17      A. Okay. We talked about the SAP. Where
18      Q. And in the classification, the EPA's             18   are you picking it up?
19   referencing the original 1985 consensus review by      19      Q. We're picking it up right after the, in
20   the toxicology branch ad hoc committee that you have   20   paren, SAPs --
21   testified about and is in your report, correct?        21      A. Okay.
22      A. Correct.                                         22      Q. There's a sentence that says, "In its
23      Q. And it explains that this ad hoc                 23   report dated February 24, 1986, SAP classified
24   committee, in the consensus review of March 4, 1985,   24   glyphosate as a Group D carcinogen (inadequate
25   classified glyphosate as a Group C carcinogen, and     25   animal evidence of carcinogenic potential)." Right?

                                            Page 506                                                    Page 507
 1       A. I think that's actually a slight                 1   be repeated in order to classify these equivocal
 2   misstatement. The SAP recommended that glyphosate       2   findings."
 3   be so classified. It's really -- it's not in the        3           That's all a correct statement, right?
 4   purview or authority of SAP to make that decision.      4      A. Correct.
 5   It's kind of odd that they said it this way. It's a     5      Q. If you go to the next column, and at the
 6   minor point. It's a minor point. Just pointing it       6   top, where it starts the first full sentence, EPA
 7   out.                                                    7   goes on to say to the public that "Upon receipt and
 8       Q. Did you ever communicate what you                8   a review of the second rat chronic feeding and
 9   believed to be a misinterpretation or a misstatement    9   carcinogenicity study, all toxicological findings of
10   here to EPA?                                           10   glyphosate were referred to the health effects
11       A. No. It's not -- not important.                  11   division carcinogenicity peer review committee on
12       Q. If you go further -- and this would have        12   June 26th, 1991." Right?
13   been based, if you remember, on the February 11 and    13      A. Correct. The meeting we've already
14   12 hearing in 1986?                                    14   talked about at great length.
15       A. Of course, yes.                                 15      Q. Right. And that second rat study was the
16       Q. And that was the hearing, if I state this       16   one done by Monsanto as a replacement study,
17   correctly; if I don't, I'm sure you'll tell me,        17   correct?
18   which is that the SAP considered the testimony and     18      A. Correct.
19   submissions of various pathologists about the          19      Q. And Dr. Dykstra had, along with a couple
20   resection kidney samples, right?                       20   of other scientists at EPA and toxicologists, said
21       A. Correct.                                        21   that they were going to put on hold and defer, or
22       Q. In the next full paragraph, it starts,          22   language of that sort, the need for any additional
23   "The SAP determined that the carcinogenic potential    23   mouse study pending their review of additional
24   of glyphosate could not be determined from existing    24   information including the rat study, right?
25   data and proposed that the rat and/or mouse studies    25      A. Correct.



                                                                                                                  30
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 32 of 67
                                                  CONFIDENTIAL

                                            Page 508                                                    Page 509
 1      Q. The EPA continues with respect to -- this         1      A. That's what it says. Correct.
 2   is the second peer review committee, right, the '91?    2      Q. And that peer review committee, as EPA is
 3      A. I think it's important to know at about           3   informing the public, classified glyphosate at that
 4   the same time that Dr. Dykstra and Dr. Gardner and      4   time, in 1991, as a Group E chemical, evidence of
 5   the other EPA folks were continuing their -- their      5   noncarcinogenicity for humans, right?
 6   debate about the mouse oncogenicity study and           6      A. That's what it says, correct.
 7   awaiting the results of the rat study, Dykstra          7      Q. And that was based on the lack of
 8   submitted to Monsanto a protocol for a much more        8   convincing carcinogenicity evidence in adequate
 9   sensitive, rigorous mouse study that, in the            9   studies in two animal species, right?
10   judgment of the EPA scientists, would definitively     10      A. Correct.
11   resolve the outstanding questions, the equivocal       11      Q. It also includes, if you go to the bottom
12   nature, the tentative nature of the interpretation     12   of that full paragraph, the conclusion by EPA that
13   of the renal tubular adenomas in the 1983 study, and   13   "there is no evidence of genotoxicity for
14   that was also part of what the agency had requested    14   glyphosate," right?
15   Monsanto to do in this -- the time period between      15      A. Correct.
16   the 1985 classification as a possible human            16      Q. Now, since this time -- I should say
17   carcinogen and the 1991 change in the                  17   between the time that the peer review committee on
18   classification.                                        18   carcinogenicity reached its conclusions on
19      Q. But as of April 11, 1997, EPA's final            19   June 26th, 1991, up to June 27th, 1997, there was no
20   rule said that "all toxicological findings had been    20   change in the Group E classification stats for
21   referred to the carcinogenicity peer review            21   glyphosate, right?
22   committee on June 26, 1991," specifically to discuss   22      A. Correct.
23   and evaluate the weight of evidence on glyphosate      23      Q. In fact, in 1993, the RED was approved by
24   and particular emphasis on carcinogenic potential,     24   EPA for glyphosate, and that RED concluded that
25   right?                                                 25   Group E was the appropriate classification, right?

                                            Page 510                                                    Page 511
 1      A. Correct.                                          1   There have been many increases in tolerance levels
 2      Q. And since 1997, there have been no                2   for existing crops in taller sections. There have
 3   change, right up until today -- that there is no        3   been a few minor crops added, but by 1997, as you
 4   carcinogenic risk with respect to exposure of           4   well know, the vast majority of the 120 or 130 crop
 5   glyphosate, right?                                      5   uses and tolerances were already on the books, as
 6      A. Did you happen to forget the last time I          6   the saying goes.
 7   answered the question? You've asked me that             7      Q. Each time there was a review and approval
 8   probably coming on 20 times now. It seems kind of       8   of a tolerance for glyphosate for any additional
 9   unnecessary, Counselor.                                 9   crop would have been a separate and additional
10      Q. You don't have an answer?                        10   safety finding for glyphosate as not being
11           MR. LITZENBURG: Asked and answered.            11   carcinogenic, right?
12      Explained. Many times.                              12           MR. LITZENBURG: Form.
13           MR. COPLE: I'll take that as a yes,            13           THE WITNESS: No. No.
14      then.                                               14   BY MR. COPLE:
15           MR. LITZENBURG: I'll take that as a no.        15      Q. No?
16   BY MR. COPLE:                                          16      A. No. They -- you know, they -- if you
17      Q. All right. Since 1997, the tolerance,            17   look at the series of final rule, federal registered
18   the tolerance exemptions for glyphosate residue has    18   notices, you can see that they follow very similar
19   been proved a number of times by EPA, right?           19   format and order.
20      A. What tolerance? What are you talking             20           Some of the paragraphs are verbatim
21   about?                                                 21   statements of -- on, say, the issue of
22      Q. Glyphosate as the active ingredient has          22   carcinogenicity classification. Essentially the
23   been approved under the Food Quality Protection Act    23   same paragraph would appear in a -- I mean, let's
24   for a number of different crops since 1997?            24   say there's another final rule in June of 1997.
25      A. There haven't been very many new crops.          25           If EPA has received new data and



                                                                                                                  31
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 33 of 67
                                                  CONFIDENTIAL

                                            Page 512                                                    Page 513
 1   conducted an updated dietary exposure and risk          1   your report, 1999 Hardell and 2002 McDuffie; is that
 2   assessment between an April 11th, 1997, final rule      2   correct?
 3   and one later in '97 or in 1999, they will report       3      A. Yes.
 4   that.                                                   4      Q. And in paragraph numbered -- paragraph
 5           But if there's been no new studies, if          5   numbered 60.
 6   there was only a very minor increase in exposure,       6      A. 60, we're going way back.
 7   they wouldn't do a whole new dietary risk               7      Q. This is on Page 15.
 8   assessment. They don't do a whole new de novo           8      A. Okay.
 9   review of all the safety data. They simply state        9      Q. Paragraph Number 60, you say that
10   their current evaluation of dietary exposure and       10   "Beginning around 2000, Monsanto could and should
11   risk.                                                  11   have added a warning to their label, and otherwise
12      Q. So each time there was a tolerance               12   informed the public and biomedical community, that
13   approval for glyphosate residue, it would ratify by    13   exposures to Roundup formulations increase the risk
14   EPA of the noncarcinogenic status of the active        14   of a specific cancer, NHL, after learning about the
15   ingredient, right?                                     15   results of two epidemiological studies showing a
16           MR. LITZENBURG: Asked and answered.            16   statistically significant increase in the risk of
17           THE WITNESS: Any -- any subsequent final       17   NHL among users of glyphosate-based herbicides."
18      rule for a tolerance or for reregistration          18            Now, that's based upon Hardell and
19      document would report any change in EPA's           19   Eriksson in '99?
20      evaluation, based on any new or better data that    20      A. Yes. The full citations are following.
21      the agency had received in the intervening          21      Q. Then you go on to talk about a
22      period and incorporated into its existing           22   case-controlled study of non-Hodgkin's lymphoma and
23      dietary risk assessment.                            23   exposure to pesticides in published in Cancer, which
24   BY MR. COPLE:                                          24   is -- is that McDuffie, 2001?
25      Q. You mentioned two epidemiology studies in        25      A. The case control study was Hardell and

                                            Page 514                                                    Page 515
 1   Eriksson in '99, and McDuffie's was in 2001, and was    1      Q. Did anyone other than you review the
 2   based upon this Cross-Canada study.                     2   McDuffie and Hardell epidemiology studies for you or
 3     Q. So those were the two studies that you             3   with you in coming to your conclusions about those
 4   believe should have triggered additional information    4   two studies?
 5   on the labeling; is that right?                         5      A. No.
 6          MR. LITZENBURG: Form.                            6      Q. Now, you would agree that an
 7          THE WITNESS: No. They're -- they're --           7   epidemiologic study is not a positive study unless
 8     the two studies that should have tipped the           8   it has relevant risk or odds ratio of 1.0 or above
 9     weight of evidence evaluation of non-Hodgkin's        9   and is also statistically significant, right?
10     lymphoma and cancer risk in general, I suppose,      10           MR. LITZENBURG: Form.
11     for glyphosate-based herbicides, given what          11           THE WITNESS: That is as a standard basis
12     Monsanto knew about the genotoxicity of              12      for judging whether a given study produces
13     formulated glyphosate-based herbicides at that       13      statistically significant result, correct.
14     time.                                                14   BY MR. COPLE:
15   BY MR. COPLE:                                          15      Q. Are you aware of what recall bias is?
16     Q. You read the testimony of Dr. Neugut?             16      A. Yes.
17     A. Who?                                              17      Q. What is it?
18     Q. Dr. Neugut?                                       18      A. Many of these retrospective studies rely
19     A. No.                                               19   upon a survey or interview with people regarding
20     Q. Do you know who Dr. Neugut is?                    20   their use of particular pesticides, sometimes many
21     A. No.                                               21   years before. Recall bias is a concern in the
22     Q. Have you read the testimony of any                22   design and methodology of all retrospective
23   epidemiologist that's testified or prepared an         23   epidemiologic studies that basically relates to
24   expert report in this litigation?                      24   inaccurate memory of whether and how many times an
25     A. No.                                               25   individual sprayed a particular pesticide or all



                                                                                                                  32
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 34 of 67
                                                  CONFIDENTIAL

                                            Page 516                                                   Page 517
 1   pesticides. In dietary intervention studies, it's       1           THE WITNESS: There is a fairly clear
 2   uncertainty about how they recall -- what they ate      2      discussion by Hardell and Eriksson about the
 3   10 or 20 years ago.                                     3      limitations of their study, as there is in most
 4           So it's a concern about people                  4      of these epidemiological studies.
 5   remembering accurately behavior many years before.      5   BY MR. COPLE:
 6      Q. And it's of greatest concern in the case          6      Q. We've marked as Exhibit 29 to the
 7   control retrospective study, right?                     7   deposition, the Hardell Eriksson study of 1999.
 8      A. Certainly, yeah. It's a -- it's a major           8           You've reviewed this for your opinions,
 9   concern in all retrospective case control studies,      9   right?
10   especially those that have a long time period and no   10      A. Correct.
11   other way to corroborate the information that's        11      Q. Now, the abstract is that portion that
12   being obtained from the actual person in the study     12   introduces the study to the reader, which shows up
13   that is answering from their memory.                   13   on the first page as background methods, results,
14      Q. And Hardell, 1999, that was a                    14   and conclusions, correct?
15   retrospective case control study?                      15      A. Correct.
16      A. Correct.                                         16      Q. And this particular abstract does not
17      Q. Which would have suffered from recall            17   mention glyphosate in the results of the
18   bias, right?                                           18   conclusions, right?
19      A. It might.                                        19      A. Just let me -- let me skim it again.
20      Q. Did you take that into account in                20      Q. In fact, it doesn't mention it anywhere
21   reaching your opinion about the Hardell 1999 study?    21   in the abstract portion?
22      A. Yes.                                             22      A. Correct.
23           MR. COPLE: Let's mark this.                    23           MR. LITZENBURG: Review it.
24           (Benbrook Exhibit Number 29 is marked for      24   BY MR. COPLE:
25      identification.)                                    25      Q. Right?

                                            Page 518                                                   Page 519
 1           MR. LITZENBURG: Have you reviewed it to         1   epidemiologist?
 2      your satisfaction?                                   2      A. It's a case that reported use of the
 3           THE WITNESS: Give me a second here.             3   herbicide in their responses to the questionnaire.
 4           Okay. I've had a chance to read the             4      Q. And the control, what is that?
 5      abstract now.                                        5      A. That's a -- an individual selected from
 6   BY MR. COPLE:                                           6   comparable demographics that did not report any use
 7      Q. There's nothing in the abstract about             7   of pesticides.
 8   glyphosate, right?                                      8      Q. And four exposed cases in an
 9      A. There's only the report for herbicides.           9   epidemiological study would not be a sufficient
10      Q. This report covers glyphosate, right?            10   number of cases to establish an association between
11      A. I believe it's mentioned further in the          11   a substance and an effect on a population, right?
12   report. Correct.                                       12           MR. LITZENBURG: Form.
13      Q. All right. Well, let's go further into           13           THE WITNESS: Well, no epidemiologist
14   the report. If you go to Table 1, which is on          14      would be happy with only four exposed and three
15   Page 1355.                                             15      control cases. That's a study with very low
16      A. Correct. I see it.                               16      statistical power, and hence, the large
17      Q. You see that. On Table 1, there is a             17      variation in the confidence interval, despite
18   listing breaking up glyphosate from other herbicides   18      fairly high and elevated odds ratio. So there's
19   and other chemicals, as well. Have you seen that?      19      just -- it's hard to draw any firm conclusions
20      A. Yes.                                             20      with so few exposed and control cases.
21      Q. And glyphosate, under the number of              21   BY MR. COPLE:
22   exposed cases and controls, has four exposed and       22      Q. All right. The elevated odds ratio
23   three controls. Right?                                 23   you're pointing out is 2.3 in the OR column, right?
24      A. Correct.                                         24      A. Correct.
25      Q. What's an exposed case for an                    25      Q. And the CI column, what is CI?



                                                                                                                 33
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 35 of 67
                                                  CONFIDENTIAL

                                            Page 520                                                    Page 521
 1      A. It's the confidence interval.                     1   included a response by Hardell and Eriksson in which
 2      Q. This was 95 percent?                              2   they report that they had done additional work and
 3      A. Correct.                                          3   expanded the number of exposed and control
 4      Q. All right. It's got a CI of 0.4 going up          4   individuals in the ongoing, increasingly large
 5   to 13, right?                                           5   study, and that in their subsequent analysis, the
 6      A. Correct.                                          6   heightened odd ratio was statistically significant.
 7      Q. That's a huge swing in the confidence             7      Q. That was a letter to the editor?
 8   interval, right?                                        8      A. Yes.
 9      A. Very big, because of the very low number          9      Q. Those are referenced in --
10   in the number of exposed and control cases.            10      A. I'm sure it's referenced in my report.
11      Q. And it falls -- the range falls within           11      Q. Which paragraph is it referenced in?
12   the no of 1.0, and therefore, the results based on     12      A. I don't know.
13   chance are randomness or error cannot be eliminated,   13      Q. Letters to the editor are not studies
14   right?                                                 14   themselves, right?
15      A. Yes. Inconclusive.                               15      A. Well, letters to the editor can include
16      Q. Inconclusive. So this is not a                   16   data, analysis. Sometimes letters to the editor go
17   statistically significant finding in the Hardell       17   through peer review. And in this case, Hardell and
18   Eriksson study, right?                                 18   Eriksson felt it appropriate and the editor felt it
19      A. In this paper, correct.                          19   appropriate to bring -- alert the scientific
20      Q. Right. And so it is your opinion in the          20   community that science had marched on; they had
21   report that it's a positive study that was found       21   expanded the study; they had refined the analysis;
22   with respect to Hardell Eriksson?                      22   and they had a new result related to this paper to
23      A. There isn't a positive result reported in        23   report, which was that the finding for
24   this study, but as you know, there was a series of     24   glyphosate-based herbicides and non-Hodgkin's
25   letters to the editor of this journal, which           25   lymphoma was -- the elevated risk was now

                                            Page 522                                                    Page 523
 1   statistically significant.                              1   the authors of the original study will be given the
 2      Q. A letter to the editor is not                     2   opportunity to peer-review the letter and respond to
 3   peer-reviewed in published peer-reviewed literature,    3   it if there is information that they can provide
 4   right?                                                  4   that answers the question or provides further
 5           MR. LITZENBURG: Asked and answered.             5   insights or data relevant to the conclusions reached
 6           THE WITNESS: Sometimes they are;                6   in the study or something brought up in the letter
 7      sometimes they're not.                               7   to the editor.
 8   BY MR. COPLE:                                           8       Q. The letter to the editor is not the
 9      Q. Well, which journal have you found                9   publication of a study, correct?
10   letters to the editor are peer-reviewed?               10            MR. LITZENBURG: Asked and answered, two
11      A. Journals have different -- different             11       or three times.
12   policies about what sort of material appears in        12            THE WITNESS: A letter to the editor is
13   letters to the editor, how much material appears in    13       certainly different from a publication reporting
14   letters to the editor, and whether they feel that a    14       the original results of a new experiment, such
15   particular letter to the editor needs some kind of     15       as this Hardell journal article.
16   assessment beyond that of -- that the editor him or    16            This is, as far as I know, the first
17   herself would conduct.                                 17       place that Hardell and Eriksson reported the
18           In addition, most letters to the editor        18       results of this particular epidemiological
19   that address some aspect of a published study, and     19       study. And, yes, there clearly is a difference
20   in the case of Hardell and Eriksson, are subjected     20       in the peer-review process or the assessment of
21   to peer review by Hardell and Eriksson as a common     21       an original research study like this compared to
22   courtesy in the scientific community.                  22       a letter to the editor. But, you know, some
23           If a scientist authors a letter on a           23       journals, like Nature, have letters to the
24   specific study that either criticizes the study or     24       editor; they're actually short reports. Some
25   praises it or raises a question, it's expected that    25       journals will have a section of very short,



                                                                                                                  34
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 36 of 67
                                                  CONFIDENTIAL

                                            Page 524                                                    Page 525
 1      focused papers that are called "letters," as         1   test was substantially increased, and the elevated
 2      opposed to other journals call them "short           2   odds ratio became statistically significant.
 3      communications," and then other -- most journals     3           And it was perfectly appropriate for
 4      will have a letters to the editor on a               4   Hardell and Eriksson to include that kind of
 5      previously published research.                       5   additional scientific information in a response to
 6           And that is the -- that is where the            6   letters to the editor from people that, you know,
 7      Hardell and Eriksson response to letters to the      7   wanted to either question some aspect of the study
 8      editor appeared in subsequent issue of this          8   or wanted further information.
 9      journal. I don't remember exactly which one it       9      Q. When -- what was the name of that
10      was.                                                10   publication that you're referencing? Not the letter
11   BY MR. COPLE:                                          11   to the editor, but the original study results. What
12      Q. So there was an original study published         12   was the name of the -- no, not the journal. What
13   after this 1999 study also by Hardell and Eriksson     13   was the name of the article?
14   and also in this exact same journal. Is that your      14      A. "A Case Control Study of Non-Hodgkin's
15   testimony?                                             15   Lymphoma and Exposure to Pesticides."
16      A. My testimony is that a Hardell and               16      Q. Well, that's the one that's in this
17   Eriksson reported the statistical results of a         17   exhibit --
18   larger epidemiological study building on the same      18      A. Correct.
19   population in this study, where they had an increase   19      Q. -- which is 1999.
20   in the number of exposed individuals that contracted   20      A. This was the -- this was the publication
21   non-Hodgkin's lymphoma and an increased number of      21   of original, new epidemiological data based on the
22   controls -- I don't remember the -- it was something   22   number of cases and controls that Hardell and
23   to 12 or 15; it was a substantial jump. And because    23   Eriksson had included in their study and done the
24   of that increase in the number of exposed cases of     24   statistical analysis on.
25   non-Hodgkin's lymphoma, the statistical power of the   25           In the months after, the journal received

                                            Page 526                                                    Page 527
 1   a series of letters to the editor, some critical        1   other than a letter to the editor? Where is that?
 2   study. I believe there was a critical letter from       2      A. I -- I don't know if they ever published
 3   Monsanto, as there almost always is when a positive     3   a follow-up study. I --
 4   study comes out on herbicides. And as per normal        4      Q. So they're unpublished results?
 5   operating procedure, the editor of this journal         5      A. No. They were published in a letter to
 6   provided Hardell and Eriksson a chance to reply to      6   the editor.
 7   the points made in the letters to the editor, and       7      Q. All right. Table 7 on Page 1357 shows a
 8   that appears in the letter section, which is in a       8   multivariate analysis of different exposures. Do
 9   subsequent issue.                                       9   you see that?
10      Q. This study that is in this exhibit is not        10      A. I do.
11   a positive study. It's not statistically               11      Q. And this study did not control for
12   significant, right?                                    12   compounding between exposure of multiple pesticides?
13      A. For glyphosate.                                  13      A. I'd have to read it and think about it to
14          MR. LITZENBURG: Asked and answered.             14   get into the details of those statistical analyses.
15   BY MR. COPLE:                                          15      Q. Well, let's look at the left-hand column
16      Q. Yes, for glyphosate?                             16   on the same page.
17      A. For glyphosate, correct.                         17      A. In Table 7?
18      Q. So it's not a positive study, so there           18      Q. No. No. On the left-hand column of that
19   would be no reason to follow up on the results         19   page, 1357, left-hand column.
20   because that's the answer; it's not a positive         20      A. Are we talking about Table 6?
21   study?                                                 21      Q. No. No. We're talking about the actual
22      A. Oh, absolutely not, sir. That's a                22   text under the results.
23   ridiculous statement. Do you really want me to         23      A. Oh. Under the word "results."
24   point out how ridiculous that is?                      24      Q. No. Results starts in a couple of
25      Q. Where is the original study publication          25   preceding pages. Results starts on 1355, but I'm



                                                                                                                  35
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 37 of 67
                                                 CONFIDENTIAL

                                           Page 528                                                    Page 529
 1   directing your attention to the multivariate           1      Q. And the confidence interval includes the
 2   analysis results which are discussed in the            2   null value of 1.0 because it encompasses 0.6, and
 3   left-hand column of 1357. It's right below the         3   therefore it's not statistically significant?
 4   table. It's not in the table, but below Table 6.       4      A. Correct.
 5      A. Below Table 6.                                   5      Q. All right. So it's also not a positive
 6      Q. On Page 1357.                                    6   study, correct?
 7      A. Fifty-seven. Okay. Multivariate                  7      A. Correct. It's a worrisome, suggestive
 8   analysis. I see that paragraph.                        8   result that begs for a more in-depth assessment with
 9      Q. All right. There's the multivariate              9   a larger sample, which would -- it would certainly
10   analysis discussion. And the second to last           10   reduce the confidence interval.
11   sentence says that -- well, it's third to last        11      Q. And a larger sample was in fact studied
12   sentence. It's says, "Exposure to glyphosate and      12   in Andreotti that was released in 2017, in
13   phenoxy herbicides was considered in a second         13   December --
14   multivariate analysis."                               14      A. Correct.
15          Do you see that?                               15      Q. -- in the Agricultural Health Study,
16      A. Yes.                                            16   right?
17      Q. It's says, "For glyphosate, an odds ratio       17      A. I'm not sure it was -- I'm not sure the
18   of 5.8 was found," right?                             18   sample was larger. It was a longer time period.
19      A. Correct.                                        19      Q. The follow-up was greater?
20      Q. With a 95 percent confidence interval of        20      A. Yeah, the follow-up was greater.
21   0.6 up to 54, right?                                  21      Q. And the results of that Andreotti study
22      A. Yeah. Very, very wide.                          22   published in 2017 was that there's no association
23      Q. That's a large confidence interval for          23   between non-Hodgkin's lymphoma and exposure to
24   any result, correct?                                  24   glyphosate in pesticide application, right?
25      A. And also a very large odds ratio.               25      A. No statistically significant association.

                                           Page 530                                                    Page 531
 1   Correct.                                               1     Q. Is this the study that is referenced in
 2           MR. LITZENBURG: Counselor, we've been          2   your report?
 3      here for 12 hours on the record. We're not          3     A. I reference both of their studies, so I'm
 4      going to make the witness available beyond 14       4   sure this is -- well, let me see. Is this the -- I
 5      for redirect or anything. So be warned.             5   can tell from this paragraph.
 6           MR. COPLE: What are we at?                     6     Q. The title is "Cross-Canada."
 7           THE VIDEOGRAPHER: Total?                       7     A. Okay.
 8           MR. COPLE: No. Counsel has represented         8     Q. All right. In this study abstract, which
 9      that it's 14 hours -- I'm sorry, what, 12 hours?    9   appears on the first page, the left and the right
10           MR. LITZENBURG: I think we're at 12.          10   columns, about the overall results of the study,
11           THE VIDEOGRAPHER: Twelve hours and I          11   there's no mention of glyphosate anywhere, right?
12      believe 8 minutes.                                 12     A. Let me read it, please.
13           MR. COPLE: Let's mark this as 30.             13           THE VIDEOGRAPHER: Counsel, I just want
14           (Benbrook Exhibit Number 30 is marked for     14     to remind you, you have three minutes on the
15      identification.)                                   15     tape.
16   BY MR. COPLE:                                         16   BY MR. COPLE:
17      Q. We've marked the McDuffie study from 2001       17     Q. Have you read the abstract?
18   as Exhibit 30. This is the study that you have        18     A. Yes. I want to look further into it,
19   reviewed and referenced in your expert report,        19   please.
20   correct?                                              20     Q. My question is about the abstract.
21      A. There's two McDuffie studies. I'd have          21   Glyphosate is not mentioned --
22   to look at this one to figure out which one it is.    22           MR. LITZENBURG: Look at it as much as
23   Is this the Canada-wide or the by-province study?     23     you want.
24      Q. You tell me.                                    24           THE WITNESS: Hang on.
25      A. Okay. All right.                                25           MR. COPLE: Well, let's change the tape



                                                                                                                 36
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 38 of 67
                                                  CONFIDENTIAL

                                            Page 532                                                    Page 533
 1      then, because I'm only asking about the              1   right?
 2      abstract.                                            2      A. Correct.
 3           THE VIDEOGRAPHER: The time is now 12:35.        3      Q. The number of exposed cases is 51; is
 4      We are off the record.                               4   that right?
 5           (Break in proceedings.)                         5      A. Yes. Considerably larger, obviously,
 6           THE VIDEOGRAPHER: The time is now 12:45.        6   than the other study we were talking about.
 7      We are on the record.                                7      Q. And 133 controls?
 8   BY MR. COPLE:                                           8      A. Correct.
 9      Q. The McDuffie abstract does not mention            9      Q. And an odds ratio of 1.26, right?
10   glyphosate, right?                                     10      A. Correct.
11      A. Correct.                                         11      Q. And a range, a confidence interval of
12      Q. It does mention a number of different            12   0.87 to 1.8, correct?
13   pesticides, just not glyphosate, right?                13      A. Correct. In this analysis, yes.
14      A. Yeah, three or four.                             14      Q. And in the adjusted odds ratio, which is
15      Q. Now, glyphosate is listed in one of the          15   the last column, it's odds ratio of 1.2, right?
16   tables; is that right?                                 16      A. Correct.
17      A. It's listed in more than one.                    17      Q. With a CI interval of 0.83?
18      Q. Let's go to Table 2, Page 1158.                  18      A. It's largely the same.
19      A. Okay.                                            19      Q. Largely the same. There's no
20      Q. And there's a listing for glyphosate,            20   statistically significant result here, right?
21   Roundup. Do you see that?                              21      A. Not in this table.
22      A. Yes.                                             22      Q. And is there another table where there's
23      Q. And that would be appropriate because the        23   a statistically significant result?
24   exposure in human population, glyphosate would be      24      A. Yes, there is.
25   exposure to the formu- -- product formulation,         25      Q. Which is it?

                                            Page 534                                                    Page 535
 1      A. Table 8.                                          1   interval of 1.2 to 3.73. And because the confidence
 2      Q. Okay. And what's the result there?                2   interval does not include a value under 1, this is a
 3      A. This is a table reporting the results of          3   statistically significant result, as evidenced by
 4   a stratified analysis based on the frequency of         4   the bold type used the in the table, which I'm sure
 5   exposures.                                              5   it says bold numbers are statistically significant
 6           As you'll see in the days per year for          6   somewhere.
 7   use of Roundup herbicide or glyphosate, results are     7      Q. And this is a confounded result, correct?
 8   reported for unexposed people -- individuals in the     8      A. A what?
 9   study that reported one or two days of use of           9      Q. Confounded. There was a confounder that
10   glyphosate herbicide in a year, and then individuals   10   was not adjusted for, correct?
11   that reported greater than two, so that would begin    11           MR. LITZENBURG: Form.
12   with three or more.                                    12           THE WITNESS: I'd have to again read the
13           And what the scientists did is they            13      study. This is their report, this part of their
14   stratified the -- let's see, the total number of       14      analysis.
15   cases in Table 2 was 51 exposed. And of the 51         15   BY MR. COPLE:
16   exposed, 28 applied glyphosate-based herbicides once   16      Q. You're reading the column of greater than
17   or twice, and 23 applied them 23 times -- there were   17   two days intensity of exposure under the odds ratio
18   23 people that applied glyphosate three or more        18   column with the 95 percent CI, correct?
19   times.                                                 19      A. Yes.
20           So this is a stratification of the data        20      Q. And there is a footnote to the odds
21   to see if people that used the herbicide more          21   ratio, correct?
22   frequently had a higher odds ratio or a                22      A. Yes.
23   statistically significant result.                      23      Q. And it says in the footnote: Odds ratios
24           And as you can see from the greater than       24   are calculated with strata for the variables age and
25   two days, the odds ratio is 2.12, with a confidence    25   province of residence, right?



                                                                                                                  37
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 39 of 67
                                                  CONFIDENTIAL

                                            Page 536                                                    Page 537
 1      A. Yes.                                              1      unambiguous as possible, and I'm sure that
 2      Q. So it did control for the two variables           2      McDuffie and her team used whatever techniques
 3   of age and province, but for no others, right?          3      they could and felt were appropriate to take
 4      A. I'd have to read the full paper, but              4      into account any potentially confounding
 5   they're reporting that --                               5      variables.
 6      Q. Well, it says according to this table,            6   BY MR. COPLE:
 7   right?                                                  7      Q. Did you talk to Dr. McDuffie about that?
 8      A. Excuse me?                                        8      A. No.
 9      Q. According to this table, it only                  9      Q. Now, Dr. McDuffie's table in this
10   controlled for two variables?                          10   particular table we're pointing to now, Table 8,
11      A. I would need to read the full paper to           11   only says that there were two variables controlled
12   say that. They felt that that specific point needed    12   for, and neither one of them is for exposure to
13   to be footnoted in this table, and I have no reason    13   other confounding pesticides, right?
14   to not accept that result.                             14      A. There are results reported in this table
15      Q. Because of epidemiologists looking at            15   for 2,4-D, Mecoprop, glyphosate, Dicamba, Malathion,
16   this or any scientists looking at this would need to   16   DDT, Captan, Sulfur, and the Carbon tetrachloride
17   know whether the odds ratio with the 2.12 ratio and    17   fumigant. So they have broken out of the data and
18   1.2 up to 3.73 confidence interval has been            18   are reporting the individual pesticide results in
19   controlled for the confounder of exposure to other     19   this population.
20   pesticides, right?                                     20      Q. Without control for whether there were
21           MR. LITZENBURG: Form.                          21   multiple pesticides exposed to the exposed
22           THE WITNESS: In all epidemiological            22   population, right?
23      studies, the scientists try to control for as       23           MR. LITZENBURG: Form. Asked and
24      many variables as they can so that the              24      answered.
25      interpretation of their results is as clean or      25           THE WITNESS: I'd need to read the full


                                            Page 538                                                    Page 539
 1      paper to provide a full response to that             1   in 2001. When was the first time you read this
 2      question. There is, as we've discussed earlier,      2   paper?
 3      some places where the team looked at combined        3      A. It was in preparation for this case. I
 4      exposures to individual pesticides, for example,     4   don't remember what -- it was probably in November.
 5      what we've talked about involving use of             5      Q. So before November of last year, you
 6      glyphosate and other pesticides included in the      6   never reviewed Dr. McDuffie's study that's published
 7      study.                                               7   here in this exhibit, right?
 8   BY MR. COPLE:                                           8           MR. LITZENBURG: Form.
 9      Q. This table does not indicate in any way           9           THE WITNESS: I don't think so.
10   that there was a control for confounding pesticide     10   BY MR. COPLE:
11   exposures, right?                                      11      Q. And what about the Hardell and Eriksson
12           MR. LITZENBURG: Objection to form.             12   1999 study? When did you first review that study?
13      Asked and answered, three or four times.            13      A. I know that I reviewed that study and
14           THE WITNESS: Yeah. I have provided you         14   actually wrote about it soon after it came out on
15      with my understanding of the results in this        15   the large website that I ran at the time: Ag BioTech
16      table, and that is if there is a statistically      16   InfoNet. There's a piece on the Hardell-Eriksson
17      significant increased odds ratio for individuals    17   1990 study on that website, which -- that website
18      applying glyphosate herbicide for three or more     18   doesn't exist anymore, but I actually still have the
19      days in this retrospective case control study.      19   files, and I ran into it -- I've ran into it
20   BY MR. COPLE:                                          20   recently.
21      Q. And no control for confounding exposures?        21      Q. Did you produce those files from that
22      A. I would need to take the time to read the        22   website regarding the Hardell study to counsel in
23   methodology section and the section discussing the     23   this case?
24   statistical methods to answer that question.           24      A. No. It's simply -- it's a summary of
25      Q. This paper was published by Dr. McDuffie         25   what the study found, and there's hundreds, hundreds



                                                                                                                  38
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 40 of 67
                                                  CONFIDENTIAL

                                            Page 540                                                    Page 541
 1   of items involving glyphosate on that website. It's     1      studies. It's certainly one of the largest ever
 2   a massive website.                                      2      done in the United States. It's a large study,
 3            MR. COPLE: We ask that whatever                3      yes.
 4      Dr. Benbrook wrote about the Hardell and             4   BY MR. COPLE:
 5      Eriksson study back at the time of its issuance      5      Q. How --
 6      in 1999 and thereafter be produced.                  6      A. I just -- I can't confirm that, because I
 7            Mark this Exhibit 31.                          7   don't have in my memory the number of cases and
 8            (Benbrook Exhibit Number 31 is marked for      8   controls in all of the several dozen epidemiological
 9      identification.)                                     9   studies done on glyphosate and herbicides.
10            THE WITNESS: What was 29? Did we go           10      Q. All right. This is published -- or it
11      from 28 to 30?                                      11   was published in "The Journal of the National Cancer
12            MR. LITZENBURG: 29 was the publication.       12   Institute," right?
13            THE WITNESS: Oh, I must have put it in        13      A. Correct.
14      the pile already. So this is the new one here.      14      Q. Are you familiar with that journal?
15   BY MR. COPLE:                                          15      A. Yes.
16      Q. You agree, Dr. Benbrook, that this study         16      Q. Have you reviewed publications in that
17   marked as Exhibit 31 is the largest prospective        17   journal?
18   cohort study that's ever been done by                  18      A. Yes.
19   epidemiologists looking at pesticide applicators       19      Q. And you've reviewed this publication for
20   exposure to glyphosate formulations, right?            20   your work in this case?
21            MR. LITZENBURG: Form.                         21      A. I've read this, this paper, when it came
22            THE WITNESS: As I testified yesterday,        22   out. Yes.
23      it's certainly a very large one. I wouldn't --      23      Q. All right. Now, under the results -- in
24      I wouldn't want to say that I have total recall     24   the abstract section, there's a results category,
25      of the size of all of the epidemiological           25   and you would agree that typically in an abstract

                                            Page 542                                                    Page 543
 1   for an epidemiologic study there's an abstract that     1           Do you see that?
 2   summarizes the background, the methods, the results     2      A. Yes.
 3   and the conclusions of the study, right?                3      Q. Do you agree that mycosis fungoides is a
 4      A. Correct.                                          4   subtype of non-Hodgkin's lymphoma?
 5      Q. All right. Under Results, it indicates            5      A. Yes.
 6   that there were 54,251 applicators, right?              6      Q. And you're aware that the disease or
 7      A. Correct.                                          7   condition that Mr. Johnson suffers from is mycosis
 8      Q. No other study that you've seen of an             8   fungoides?
 9   exposed population has anything close to 54,000         9      A. I believe I might have read that, but I
10   exposed individuals, right? Enrolled individuals in    10   didn't remember it.
11   the study?                                             11      Q. In the Methods section, under Exposure
12      A. As I said, I can't remember any that have        12   Assessment, which shows up on page -- before we do
13   that many, but I'm not saying that there isn't one.    13   that, let's just ask about the study authors.
14      Q. And out of the 54,000 or so pesticide            14           There's a listing of coauthors, starting
15   applicators, 44,932 used glyphosate, correct?          15   with Gabriella Andreotti, and it includes Koutros,
16      A. Correct.                                         16   Hofmann, Sandler, Lubin, Lynch, Lerro, De Roos,
17      Q. So that's a little bit more than 82              17   Parks, Alavanja, Silverman and Freeman.
18   percent, almost 83 percent?                            18           Do you know any of these individuals?
19      A. Correct.                                         19      A. No, I have not.
20      Q. And the conclusion, the single overriding        20      Q. So you've had no communication with any
21   conclusion, is that, by the study authors here, "In    21   of the study authors, right?
22   this large, prospective cohort study, no association   22      A. No, I have not.
23   was apparent between glyphosate and any solid tumors   23      Q. Are you aware that Dr. Aaron Blair was
24   or lymphoid malignancies overall, including            24   involved with the Agricultural Health Study?
25                                                          25      A. Yes.
     non-Hodgkin's lymphoma and its subtypes."



                                                                                                                  39
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 41 of 67
                                                  CONFIDENTIAL

                                            Page 544                                                    Page 545
 1      Q. And you've had communications with                1   professionally active in a sort of emeritus or
 2   Dr. Blair about this particular study result            2   retired status, at great service to the American
 3   published under the lead author Andreotti?              3   public.
 4      A. No.                                               4      Q. And your understanding is that Dr. Blair
 5      Q. Have you had discussions or                       5   is no longer involved with the Agricultural Health
 6   communications with Dr. Blair about a manuscript in     6   Study?
 7   2014 updating the follow-up results from the            7      A. He's not employed any longer. He's not
 8   original study enrollment in the Agricultural Health    8   paid for his service. He is still in touch with his
 9   Study?                                                  9   colleagues, because he told me he goes into his
10      A. I testified yesterday to the two                 10   office about three times a week. So I assume he
11   conversations that I have had with Dr. Blair in the    11   does something other than sit in the dark.
12   last year and explained in detail the nature of the    12      Q. Well, there's nothing precluding any of
13   conversations.                                         13   these study authors from being a study author just
14      Q. Do you have an understanding as to why           14   because they've retired from their institution like
15   Dr. Blair is no longer listed as a study author on     15   NCI, right?
16   this particular updated version of the Agricultural    16           MR. LITZENBURG: Form. Argumentative.
17   Health Study?                                          17           THE WITNESS: That may be a true
18      A. Yes, I do.                                       18      statement. I don't know what the policies are
19      Q. Why is that?                                     19      in the National Cancer Institute relative to
20      A. He's retired.                                    20      coauthorship for people that are retired.
21      Q. So he's stopped working altogether on the        21      Dr. Blair has been retired for some time, and he
22   Agricultural Health Study?                             22      probably didn't work on the study. He worked on
23      A. He's an emeritus faculty member of NCI.          23      earlier studies published on the basis of
24   He goes into the office approximately three days a     24      findings of the Agricultural Health Study, not
25   week. He works for free. He has remained               25      this one, and hence, he doesn't appear as a

                                            Page 546                                                    Page 547
 1      coauthor.                                            1   application method that was used.
 2   BY MR. COPLE:                                           2           Do you see that?
 3      Q. Is it your understanding that Dr. Blair           3      A. Yes.
 4   worked on the 2014 --                                   4      Q. All right. Do you know what an intensity
 5      A. Yes.                                              5   score is?
 6      Q. -- draft manuscript?                              6      A. Yes.
 7      A. Yeah, I think he was still -- he had not          7      Q. What is it?
 8   retired as of 2014. He's the -- he was the senior       8      A. It's an attempt to weight the likely
 9   scientist that started the Agricultural Health          9   level of exposure from the reported days of
10   Study. I can't imagine that he didn't play some        10   pesticide use, in a study of this nature, in order
11   role in it.                                            11   to come up with a more accurate estimate of the
12      Q. Now, on Page 2, 2 of 8 pages of this NCI         12   actual levels of exposure.
13   study, in the top right-hand column, which is under    13           And that's why the algorithm that the
14   the Methods section and specifically under the         14   Agricultural Health Study developed and used in
15   subheading Exposure Assessment, in the middle of the   15   several of the analyses and peer-reviewed papers
16   long paragraph is a sentence starting with, "The       16   that they've published included the variables that
17   intensity score."                                      17   you mentioned as you read through it, whether PPE
18      A. I see it.                                        18   was utilized, what kind of application equipment, et
19      Q. It says, "The intensity score was derived        19   cetera.
20   from an algorithm based on literature-based            20           So it's a fairly complicated and
21   measurements and information provided by the           21   sophisticated, methodological adjustment in the
22   applicator, specifically whether the participant       22   Agricultural Health Study that strives to come up
23   mixed or applied pesticides, repaired                  23   with a more accurate estimate of exposure for
24   pesticide-related equipment, used personal             24   inclusion in the statistical analysis.
25   protective equipment, and application" -- an           25      Q. There's a footnote indicated at the end



                                                                                                                  40
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 42 of 67
                                                  CONFIDENTIAL

                                            Page 548                                                    Page 549
 1   of this sentence, right after the phrase "and           1      A. It's been a -- it's been an issue in a
 2   application method used." It's Footnote 8, which        2   number of the Agricultural Health Study papers and
 3   you can find on the last --                             3   analyses. It's a very interesting attempt, as I
 4      A. Hang on. Let me find out -- where is the          4   said, to come up with a more refined estimate of
 5   passage in the paragraph?                               5   exposure, and this is -- coming up with a more
 6      Q. It was the one we were just reading.              6   refined estimate of exposure is something that is
 7      A. Is it the 9? So 8 is a footnote and not           7   relevant in a lot of my work. So that's why I have
 8   a reference?                                            8   paid attention, and at some point I'm sure I read
 9      Q. Well, it's a reference, and you can find          9   this "Coble et al." paper.
10   the reference in the left reference list.              10      Q. The individuals enrolled in this study of
11      A. Okay. Just give me a second.                     11   population are professional pesticide applicators,
12      Q. I'm sorry. I meant "reference," not              12   correct?
13   "footnote" when I said that. There's "Reference 8."    13      A. Correct.
14      A. Correct.                                         14      Q. They have certifications in whatever
15      Q. And it's -- under the lead author of             15   their state jurisdiction is that lets them apply
16   Coble, it says it's -- the name of the reference is    16   pesticides professionally or commercially, right?
17   "An updated algorithm for estimation of pesticide      17      A. I'd have to -- just let me look at the --
18   exposure intensity" --                                 18   I think that's correct, but just hang on.
19      A. Sure.                                            19           So that everyone is a licensed pesticide
20      Q. -- "in the Agricultural Health Study."           20   applicator, and they're from Iowa, North Carolina.
21           So this is a publication about the             21   So they're individuals that likely needed to apply
22   algorithm that's used for this particular study,       22   restricted use pesticides.
23   right?                                                 23           Okay. What was your question?
24      A. Yep. Yep. I sort of remember it. Yep.            24      Q. That the individuals enrolled in the
25      Q. You're familiar with the algorithm?              25   Agricultural Health Study are all professional or

                                            Page 550                                                    Page 551
 1   commercially licensed pesticide applicators.            1   algorithm that we looked at, right?
 2       A. They were selected from people that had          2      A. Correct.
 3   applied for a license to apply restricted use           3      Q. And it has a cancer site that breaks it
 4   pesticides. That could include a farmer wanting to      4   down by all cancers as well as individual cancers,
 5   apply a restricted use pesticide on his or her farm     5   and then it has the glyphosate use divided into
 6   exclusively. Or it could include a commercial           6   Quartiles 1, 2, 3, and 4. And then it goes on to
 7   applicator that made his or her living by applying      7   have relative risk odds ratios with a 95 percent CI.
 8   pesticides on a number of different farms for           8            That's what the table is presenting,
 9   different clients. There's a mix.                       9   right?
10       Q. They're all licensed, though?                   10      A. Correct.
11       A. They're all licensed.                           11      Q. On the next page, Page 5 of 8, under
12       Q. All right. And Mr. Johnson, you know            12   "non-Hodgkin's lymphoma," which is the fourth cancer
13   also, holds a certificate to apply pesticides          13   that's listed in this table, the relative risk is
14   professionally for school district properties,         14   below 1.0 in each case of the exposed population,
15   right?                                                 15   correct?
16       A. I recall that, yes.                             16      A. Correct.
17       Q. All right. Under table -- under Table 2,        17      Q. And in each case has a confidence
18   which actually starts on Page 4, in the right-hand     18   interval that ranges from below 1.0 up to slightly
19   column.                                                19   above 1.0, right?
20       A. I see it.                                       20      A. Correct.
21       Q. And it continues on to -- this says the         21      Q. So it's a tight confidence interval,
22   title of Table 2 is "Cancer Incidence in Relation to   22   correct?
23   Lagged Intensity Weighted Lifetime Days of             23      A. It's a 50 percent -- the high end is
24   Glyphosate Use in the Agricultural Health Study."      24   about twice the low end.
25           That would be a reference to that              25      Q. It's a tight confidence interval compared



                                                                                                                  41
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 43 of 67
                                                  CONFIDENTIAL

                                            Page 552                                                    Page 553
 1   to other confidence intervals we've looked at,          1      Q. And the number of exposed cases in an
 2   right?                                                  2   epidemiology study --
 3      A. Certainly compared to the Table 2 in the          3      A. Actually, sir, the results in this table
 4   first Hardell and Eriksson study that we spoke          4   are reported by these gradations of intensity score,
 5   about, yes.                                             5   and there's 113 in Q1; 104 in Q2; 112 in Q3; and 111
 6      Q. And these results indicate that none of           6   in Q4.
 7   these exposed populations that are listed, from Q1      7           So those sample populations are
 8   to Q4, are statistically significant results for        8   approximately double the -- I think we were
 9   non-Hodgkin's lymphoma, right?                          9   talking -- I think 51 was in the McDuffie study. So
10      A. Correct.                                         10   this, for the individual quartiles of exposure, the
11      Q. In that same table entry for                     11   sample size is about double.
12   non-Hodgkin's lymphoma, there's the number of          12      Q. Now, there's about 440 cases in this
13   individuals that are exposed cases, correct?           13   collective sample size, right?
14      A. Yes.                                             14      A. If you add up the four levels of
15      Q. And those cases total in excess of 400           15   intensity, correct.
16   collectively, right?                                   16      Q. So that's still about 389 or 390 more
17      A. In the exposed pop, yes.                         17   glyphosate-exposed cases than McDuffie was able to
18      Q. So that would be about 430 or so more            18   have in her study she led, right?
19   cases than were exposed in the Hardell study in        19      A. That's correct.
20   1999, right?                                           20           MR. COPLE: Let's mark this next document
21      A. Yes.                                             21      32 to the deposition.
22      Q. And about 390 or so, give or take, more          22           (Benbrook Exhibit Number 32 is marked for
23   exposed cases than the Dr. McDuffie-led study had in   23      identification.)
24   2001, right?                                           24   BY MR. COPLE:
25      A. Approximately 350, yes.                          25      Q. Now, Exhibit 32 is an EPA memorandum.

                                            Page 554                                                    Page 555
 1   It's put out by the Office of Chemical Safety and       1   haven't seen this document before. What was the
 2   Pollution Prevention Office, right?                     2   date that the Andreotti study came out?
 3       A. Correct.                                         3      Q. You've got it in front of you.
 4       Q. And you're familiar with that office?            4      A. Well, it says 2018. It doesn't say when
 5       A. Yes.                                             5   in 2018.
 6       Q. And this was put out as a "Summary review        6      Q. This is an EPA memo from December 12.
 7   of recent analysis of glyphosate use and cancer         7   The EPA had the Andreotti study at that time, right?
 8   incidence in the Agricultural Health Study," right?     8      A. So they cite it as Andreotti 2017. So it
 9       A. Correct.                                         9   must have come out at the end of the year, even
10       Q. And that's the study we just looked a --        10   though in the published version in the journal it
11       A. Correct.                                        11   came out in 2018. I just -- do you remember what
12       Q. -- that you've reviewed for purposes of         12   date it was put online?
13   your opinions in this case, right?                     13      Q. The point I'm asking about, Dr. Benbrook,
14       A. As I testified earlier, I was aware it          14   is that the agency's memo that was put out on
15   came out. I don't think I read it until after I had    15   December 12th indicated that the updated Andreotti
16   filed my report. I didn't study it in great detail.    16   study on AHS had been already taken into account,
17   But, yes, I'm aware of it, and we talked about it,     17   was already reviewed, and it was incorporated into
18   and let's move on.                                     18   the agency's findings on the issues paper. That's
19       Q. The last paragraph of the first page of         19   what it says.
20   the memo says that the analysis that was done of the   20      A. Okay.
21   AHS cohort and reviewed by Andreotti et al., in        21      Q. You have no reason to disagree --
22   2017, was reviewed by EPA, and the findings            22      A. No.
23   incorporated into the Revised Glyphosate Issued        23      Q. -- that that's what the agency did,
24   Paper that was issued also in December 2017, right?    24   right?
25       A. I haven't had a chance to read it. I            25      A. No.



                                                                                                                  42
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 44 of 67
                                                  CONFIDENTIAL

                                            Page 556                                                    Page 557
 1     Q.     You also looked at De Roos 2005 --             1      Q. In your report, under -- let's start with
 2     A.     Yes.                                           2   Paragraph 283. That's on Page 54.
 3     Q.     -- is that correct?                            3      A. Got it. Got it.
 4          And you're aware that De Roos 2005 was           4      Q. This is under your subheading Sources of
 5   also based on the Agricultural Health Study,            5   Pesticide Product Risk, and you indicate three
 6   correct?                                                6   potential sources of risk: The Active ingredient;
 7      A. Yes.                                              7   and then impurities; then you talk about inert
 8      Q. So the Agricultural Health Study                  8   ingredients.
 9   published by NCI, whether it was released in 2017,      9           And you agree that EPA regulates all
10   as EPA seems to indicate, or released to the public    10   three of these constituent components of the
11   in 2018, it is an updated analysis based on            11   formulated pesticide product as part of the
12   follow-up information in the same AHS that was the     12   registration process?
13   subject of the 2005 review by De Roos, right?          13      A. They do their best to do so, yes.
14          MR. LITZENBURG: Asked and answered.             14      Q. All right. So you're not suggesting here
15          THE WITNESS: Yes, very similar to the           15   in this Paragraph 283 or elsewhere that EPA is not
16      updated analysis that Hardell and Eriksson          16   reviewing those constituent parts for
17      reported in their letter to the editor and          17   carcinogenicity?
18      subsequent publication.                             18      A. Why do you ask? It doesn't say that.
19   BY MR. COPLE:                                          19   Let me read the paragraph.
20      Q. And 2005 De Roos is a study that was             20           "Human health and environmental risks
21   published in a peer-reviewed journal, right?           21   from pesticide use can arise from three general
22      A. Correct.                                         22   categories of ingredients or components in a
23      Q. As was the NCI publication now in 2018,          23   commercial pesticide product: 1, the active
24   right?                                                 24   ingredient itself; 2 any impurities in the active
25      A. Correct.                                         25   ingredient that are formed during the manufacturing

                                            Page 558                                                    Page 559
 1   process or as a result of a chemical reaction that      1   in the formulated product, and compare the level of
 2   occurs between the time the pesticide is made and/or    2   the impurity to whatever toxicological information
 3   mixed at a plant and applied by the user, and; 3,       3   is available and to see if a judgment can be reached
 4   the so-called inert ingredients added to essentially    4   that the impurity is at such a low level that it's
 5   all end-use pesticide products, e.g., the               5   of no toxicological significance.
 6   surfactants and adjuvants."                             6      Q. You're not -- you're not claiming in your
 7            It doesn't say anything about what EPA         7   report or otherwise that EPA has ever determined
 8   does.                                                   8   that the impur- -- any impurity in a
 9      Q. And you're not suggesting, as I said in           9   glyphosate-based formulation has exceeded the EPA
10   my question, here or elsewhere in the report that      10   certified limit, are you?
11   EPA is not reviewing these various constituent         11      A. No. I don't make that assertion. In
12   components of formulated product in making             12   Paragraphs 288 through -- well, there's two
13   registration approvals?                                13   paragraphs, 288 and 289. I discuss the NNG and
14      A. No, I am not making that assertion.              14   formaldehyde impurities and the fact that different
15      Q. EPA sets the permissible limits for an           15   impurities -- in Paragraph 289, the different
16   impurity that arises during the manufacturing          16   manufacturing processes for the underlying
17   process of a pesticide, right?                         17   glyphosate molecule lead to the presence of
18      A. EPA has used a variety of ways to try to         18   different impurities.
19   deal with impurities. It's evolved over time. Some     19      Q. And you're not claiming that EPA has ever
20   of the discussion and assessment of the impurities     20   determined that their certified limit for an
21   in glyphosate-based herbicides, N-nitrosoglyphosate,   21   impurity was exceeded by a glyphosate formulation of
22   or however one says it, the NNG impurity or the        22   Monsanto, right?
23   dioxane impurity, EPA strives to estimate the level    23           MR. LITZENBURG: Asked and answered,
24   of the impurity in either the pure active ingredient   24      multiple times.
25   or, if it's an impurity in one of the surfactants,     25           THE WITNESS: No, I'm not claiming that



                                                                                                                  43
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 45 of 67
                                                  CONFIDENTIAL

                                            Page 560                                                   Page 561
 1     they have. I felt that it was important to at         1      question and you've answered it six times.
 2     least include in my expert report that the            2      You're welcome to stand on your answer or --
 3     identity and levels of impurities in                  3          THE WITNESS: Yeah.
 4     glyphosate-based herbicides has been an issue         4          MR. LITZENBURG: -- answer the same way
 5     under review since actually the late '70s.            5      over and over again.
 6     There's been some data generated. Monsanto            6          THE WITNESS: I agree with that. Yes.
 7     actually has done studies on this NNG. I simply       7      The answer is yes.
 8     note that that is part of the scientific              8   BY MR. COPLE:
 9     evaluation of risk that's associated with             9      Q. Now, let's take a brief look at your
10     glyphosate-based herbicides.                         10   report, Paragraph Numbers -- on Page 115, and it
11          I'm not aware of any conclusions that the       11   continues to Page 116, and it starts at 608 talking
12     agency has reached that these impurities             12   about a Jess Rowland from EPA. Then it goes to 609,
13     contributed to any of the indication of              13   continues to talk about Mr. Rowland, 610, and the
14     oncogenetic response or genotoxic response in        14   same thing on the next page. It continues to talk
15     any of the studies that have been done by            15   about him in Paragraph Number 611, 612, 613, 614,
16     Monsanto and submitted to the agency or              16   and I think that's where it stops.
17     published in the peer-reviewed literature.           17          Now, do you know Mr. Jess Rowland?
18          However, it will I think remain an issue        18      A. No.
19     that the EPA and other regulatory authorities        19      Q. And Mr. -- and these paragraphs,
20     continue to track and monitor.                       20   discussing emails inside Monsanto about various
21   BY MR. COPLE:                                          21   potential communications with Mr. Rowland,
22     Q. EPA has not determined that the level of          22   Mr. Rowland was not a party to those documents that
23   impurities in glyphosate formulations is an issue of   23   you reviewed, right?
24   toxicological concern, right?                          24      A. He was to some of them. Some of the
25          MR. LITZENBURG: He's asked the same             25   emails in the record are between Jess Rowland and

                                            Page 562                                                   Page 563
 1   various Monsanto people.                                1      shows a cc to Jess Rowland.
 2      Q. Well, at 609, for example, there's a              2   BY MR. COPLE:
 3   reference to a memo that was prepared -- or an email    3      Q. You don't know --
 4   that was prepared.                                      4      A. We could pull it up.
 5      A. Right.                                            5      Q. You don't know Mr. Rowland, right?
 6      Q. Jess Rowland is not a party to that               6           MR. LITZENBURG: Asked and answered.
 7   communication, right?                                   7           THE WITNESS: Sir, you just asked me
 8      A. Jess Rowland had called Dan Jenkins, as I         8      that, and I just answered it. Are you hard of
 9   say, out of the blue -- and the "out of the blue" is    9      hearing?
10   according to Mr. Jenkins -- and the email that         10   BY MR. COPLE:
11   Jenkins sent to other Monsanto colleagues              11      Q. Have you had communications with
12   paraphrasing the conversation that he had with Jess    12   Mr. Rowland?
13   Rowland, I'm fairly sure that Jenkins did not cc       13      A. No. I don't know him, and I've never
14   Jess Rowland on his accounting of the conversation     14   spoken to him.
15   that the two of them had had the day before, but the   15      Q. And how about Mr. Jenkins, same question.
16   quote from MON00987756 is Dan Jenkins' summary of      16      A. I certainly haven't talked to Mr. Jenkins
17   this conversation, in effect, what role Jess Rowland   17   for many years. He might have been one of the
18   told Jenkins.                                          18   Monsanto people I met in the '90s. I just don't
19      Q. So Mr. Rowland never saw this document at        19   remember.
20   the time that it was communicated by Mr. Jenkins?      20      Q. You know that Mr. Rowland was deposed
21          MR. LITZENBURG: Asked and answered.             21   under oath and gave sworn testimony in this case,
22          THE WITNESS: I don't know if he saw it          22   right, or in related cases?
23      or not. It could have been sent to him at           23      A. I'm aware of that, yeah.
24      another time. I don't believe that the email        24      Q. And the same with Mr. Jenkins?
25      address of this particular Bates-numbered item      25      A. No, I don't think I knew that, but I



                                                                                                                 44
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 46 of 67
                                                  CONFIDENTIAL

                                            Page 564                                                    Page 565
 1   suspected he would be at some point.                    1      A. No. It's -- The Organic Center as an
 2      Q. And in the case of Mr. Rowland, did you           2   idea took a couple of years to fully form. So it's
 3   review his deposition to see what his testimony is      3   not entirely clear exactly the day that The Organic
 4   on any of the issues that might involve him?            4   Center existed, but the first discussions about
 5      A. No, I did not.                                    5   there being an Organic Center, I think they were
 6      Q. The Organic Center is a nonprofit                 6   happening in 2002, but certainly the funding
 7   organization?                                           7   directed specifically to the center didn't start
 8      A. Correct.                                          8   until a little bit later.
 9      Q. And you at one point were the chief               9      Q. And this Organic Center was supported by
10   scientist for The Organic Center?                      10   the Organic Trade Association?
11      A. Okay. Let's -- The Organic Center                11      A. No. OTA, I don't think they ever
12   started out in about 2005 and was a newly              12   provided money to the center.
13   constituted NGO, non-governmental organization, with   13      Q. They weren't supported by them?
14   a 501(c)(3) designation. It functioned in that         14      A. No, they weren't financed by the Organic
15   capacity from approximately 2006 until maybe 2011,     15   Trade Association. The Organic Center raised its
16   something around there.                                16   own money.
17          At that point, The Organic Center was           17      Q. All right. Raised it from Amy's Kitchen?
18   incorporated into the Organic Trade Association as     18      A. Pardon?
19   a -- you might think of it as an operating division    19      Q. Raised it from Amy's Kitchen?
20   and for administrative purposes was a program or a     20      A. Amy's Kitchen was one of the funders.
21   part of the Organic Trade Association. As my resume    21      Q. How about Organic Valley?
22   shows, I was the chief scientist of The Organic        22      A. CROPP, Cooperative Organic Valley, yes.
23   Center from around 2006 to mid-2012.                   23      Q. Whole Foods?
24      Q. And The Organic Center was founded in            24      A. Yes.
25   2002; is that what -- did you just say that?           25      Q. So all of these source of fundings would

                                            Page 566                                                    Page 567
 1   go to paying your salary as the chief scientist?        1   benefits and risks and costs and the environmental
 2      A. The way the funding worked in The Organic         2   impacts, benefits, costs of organic farming systems.
 3   Center is that it basically went into an operating      3          The center was conceived of and
 4   account, and my salary and any other staff salaries     4   established and ultimately financed because of a
 5   were paid out of that account. There was no             5   sense in the organic food community, which included
 6   particular way to say that the dollars from any         6   companies, farmers, scientists, activists, that
 7   specific funder went to a given expenditure item        7   there was so much new science coming out on the
 8   except for project-specific grants that The Organic     8   impacts of organic farming systems and organic food
 9   Center received in the time that I was there. And       9   processing that an institution needed to be
10   for those, the money would be spent on whatever the    10   established with a dedicated staff to try to keep up
11   project was or the proposal, the proposed body of      11   with the science, synthesize it, integrate it, and
12   the work.                                              12   communicate it back out to individuals in the
13      Q. And the president of The Organic Center          13   industry that didn't have a scientific background.
14   when you were the chief scientist, was that Theresa    14          In addition, the organic farming
15   Marquez?                                               15   community, the organic food industry, the organic --
16      A. I don't think she was ever president.            16   national organic program in the U.S. Department of
17   She was on the board for a period of time.             17   Agricultural and everyone involved in one way or
18      Q. She was on the board. Was she the chief          18   another in the organic space periodically had to
19   marketing executive for Organic Valley?                19   deal with very complex, sometimes controversial
20      A. Yes, she was.                                    20   issues that had important technical and scientific
21      Q. And The Organic Center provided                  21   dimensions.
22   publication of articles and other communications to    22          The latest example today is whether
23   support the organic food industry; is that right?      23   hydroponically-raised food should properly -- can
24      A. The mission of The Organic Center was to         24   properly be certified as organic. In order for the
25   conduct research and analysis on the consumer health   25   organic community to answer that kind of question,



                                                                                                                  45
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 47 of 67
                                                  CONFIDENTIAL

                                            Page 568                                                    Page 569
 1   there needs to be a scientific assessment of how        1      A. Have I said anything to you to indicate
 2   hydroponic management impacts the nutritional           2   that I am changing my answer to that question that
 3   quality, the safety, and the environmental footprint    3   you asked at least five times yesterday?
 4   of crop production using hydroponics compared to        4      Q. You have no degree in physical sciences,
 5   growing organic crops in the soil.                      5   right?
 6          So that's the kind of thing that The             6           MR. LITZENBURG: Asked and answered.
 7   Organic Center did.                                     7           THE WITNESS: I'm not saying anything
 8      Q. You were the chief scientist?                     8      more about it.
 9          MR. LITZENBURG: Asked and answered.              9           MR. COPLE: All right. The witness
10          THE WITNESS: I was.                             10      refuses to answer again.
11   BY MR. COPLE:                                          11   BY MR. COPLE:
12      Q. And you were the chief scientist of which        12      Q. You wrote a paper in July of 2000 -- I'm
13   scientific field? What was the scientific field        13   sorry, not July of 2000 -- in March 2008, called
14   that you were the chief scientist for?                 14   "New Evidence Confirms the Nutrient Superiority of
15      A. I was the chief scientist for The Organic        15   Plant-Based Organic Foods." Is that right?
16   Center.                                                16      A. Correct. That was one of our Organic
17      Q. So issues of toxicology?                         17   Center reports.
18      A. I would say essentially all the physical         18      Q. That was authored by you with others in
19   and biological and social sciences that are drawn      19   your capacity as chief scientist?
20   upon in carrying out studies of the impact,            20      A. Correct.
21   performance, public health consequences,               21      Q. Who is Dr. Joseph Rosen from Rutgers?
22   environmental consequences of organic farming          22      A. Joe Rosen is a professor at Rutgers. I
23   systems.                                               23   think he's a food scientist. I'm not really sure.
24      Q. And you have no degree in the physical           24   He's a long-time skeptic and critic of organic
25   sciences, correct?                                     25   farming and food and has spent a significant part of

                                            Page 570                                                    Page 571
 1   his career trying to convince consumers that there's    1   report authored by Charles Benbrook and his
 2   no benefits associated with organic food and            2   colleagues called "New Evidence Confirms the
 3   farming.                                                3   Nutrient Superiority of Plant-Based Organic Foods."
 4      Q. You're critical of Dr. Rosen?                     4           You didn't know Dr. Rosen had reviewed
 5      A. Dr. Rosen and I have engaged in collegial         5   your work?
 6   discussion of these scientific issues over several      6      A. I might have been aware that he did this,
 7   years. Yes.                                             7   but I wouldn't have paid much attention to anything
 8      Q. Dr. Rosen is emeritus professor of food           8   from The American Council on Science and Health.
 9   toxicology for Rutgers; is that right?                  9      Q. On Page 12 are the conclusions by
10      A. Well, I would assume he's emeritus now,          10   Dr. Rosen, theirs and mine.
11   because Joe Rosen has been voicing his opinions        11           Under My Conclusions, indicating
12   about organic food since the early '90s.               12   Dr. Rosen's conclusions, he says that "The
13      Q. Dr. Rosen reviewed your paper from               13   methodology in this study" -- that's the study he
14   March 2008, correct?                                   14   calls the Benbrook study -- "was anything but
15      A. I don't really remember.                         15   rigorous as results that were not statistically
16           MR. COPLE: Let's mark that as Exhibit          16   significant were used throughout, non-peer-reviewed
17      32 -- 33.                                           17   papers were included and much relevant data, such as
18           (Benbrook Exhibit Number 33 is marked for      18   studies of Ninfali and Barrett, were not included."
19      identification.)                                    19           It goes on to say, "Results favorable to
20   BY MR. COPLE:                                          20   conventional food were ignored in some cases," and
21      Q. We've marked as Exhibit 33, it says,             21   he's got some citations, and he talks about
22   "Claims of Organic Food's Nutritional Superiority: A   22   "Typographical errors, too numerous to list."
23   Critical Review By Dr. Joseph D. Rosen."               23           And he concludes with a sentence that
24           And in the introduction, which is on           24   says, "Whoever calculated the organic/conventional
25   numbered Page 1, he indicates that he reviews a        25   ratios in the addendum should be sent back to



                                                                                                                  46
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 48 of 67
                                                 CONFIDENTIAL

                                           Page 572                                                    Page 573
 1   Chemistry 101 to learn about significant figures."     1         MR. LITZENBURG: What exhibit are we on?
 2           Did Dr. Rosen ever communicate any of          2         THE COURT REPORTER: Thirty-four.
 3   these criticisms to you?                               3         (Benbrook Exhibit Number 34 is marked for
 4      A. No, not that I remember.                         4     identification.)
 5      Q. And you've never read them?                      5
 6      A. No.                                              6               EXAMINATION
 7      Q. You don't have a degree in chemistry,            7   BY MR. LITZENBURG:
 8   right?                                                 8      Q. Dr. Benbrook, I'm going to ask you some
 9      A. No.                                              9   questions to clarify some of Mr. Cople's questions
10      Q. Did you take Chem 101?                          10   and answers that you gave. Is that okay?
11      A. No. I took physics in college as my             11      A. Yes, sir.
12   elective science.                                     12      Q. Okay. I've handed you Exhibit Number 34,
13           MR. COPLE: How much time?                     13   which is --
14           THE VIDEOGRAPHER: We have 40 -- I'm           14          MR. COPLE: Just for the record, we
15      sorry, one second -- 43 minutes left.              15      looked at briefly what you handed us, but we
16           MR. COPLE: I will reserve the balance of      16      don't have our own copy.
17      my time, the 43 minutes, for possible redirect.    17          MR. LITZENBURG: I've handed you Exhibit
18           MR. LITZENBURG: I've got some questions.      18      34, which is a peer-reviewed published Hardell
19      Let's take a two-minute break. We'll get a cup     19      2002 publication.
20      of water and be ready to go.                       20   BY MR. LITZENBURG:
21           THE VIDEOGRAPHER: The time is now 1:43.       21      Q. Is that the one that you were referring
22      We are off the record.                             22   to in your discussion with Mr. Cople earlier?
23           (Break in proceedings.)                       23      A. It was the -- this is the journal article
24           THE VIDEOGRAPHER: The time is now 1:52.       24   that came out after the publication of the 1999
25      We are on the record.                              25   study and this exchange of letters where Hardell and

                                           Page 574                                                    Page 575
 1   Eriksson report results from the larger pool of        1   BY MR. LITZENBURG:
 2   exposed and control individuals in their               2      Q. But when you were under questions by
 3   epidemiological study.                                 3   Monsanto's lawyer, he gave you one of the Hardell
 4      Q. And that is in a journal called "Leukemia        4   studies with a statistically insignificant result
 5   and Lymphoma"?                                         5   but not that one; is that correct?
 6      A. Yes, it is.                                      6      A. Correct.
 7      Q. So Mr. Cople's repeated representations          7           MR. COPLE: Objection. Argumentative.
 8   to you that that follow-up data was not published,     8   BY MR. LITZENBURG:
 9   that was a misrepresentation, right?                   9      Q. And he asked you questions for about 20
10           MR. COPLE: I object to counsel's              10   minutes challenging your assertion that there were
11      argumentative question.                            11   statistically significant numbers that were
12           THE WITNESS: Yes. This is the study           12   published out of this study; is that correct?
13      that has the "Among herbicides significant         13           MR. COPLE: Objection. Argumentative.
14      associations were found for glyphosate odds        14           THE WITNESS: Well, I reported that there
15      ratio of 3.04; confidence interval, 95 percent,    15      had been a series of letters to the editor and a
16      1.08 to 8.52."                                     16      response by Hardell and Eriksson that did report
17           I believe those -- yes. Those are the         17      based on a larger sample size, noting the very
18      precise numbers that are in the Hardell and        18      small number of exposed individuals in the
19      Eriksson letter to the editor, and I remember      19      original study, did report a statistically
20      wanting to verify that so that I could reference   20      significant association between exposure -- use
21      this study as the follow-up.                       21      of and -- use of glyphosate-based herbicides and
22           Just like the Andreotti et al. 2017 is a      22      non-Hodgkin's lymphoma.
23      follow-up on the Agricultural Health Study, this   23   BY MR. LITZENBURG:
24      paper by Hardell and Eriksson and a new author,    24      Q. Yes, sir. And you're being polite, but
25      Nordstrom, is a follow-up of their study.          25   I'm actually addressing a larger issue. You were



                                                                                                                 47
                          TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 49 of 67
                                                  CONFIDENTIAL

                                            Page 576                                                    Page 577
 1   pressed multiple times today and yesterday to answer    1   documentation of Mr. Rowland as suggestive of an
 2   a question yes or no, being asked the same question     2   improper influence by Monsanto over certain parts of
 3   five or six times.                                      3   the EPA?
 4           Do you remember instances such as that?         4          MR. COPLE: Objection. Calls for
 5      A. Yes.                                              5     speculation. No foundation.
 6           MR. COPLE: Objection. Mischaracterizes          6          THE WITNESS: I found the statement by
 7      the record. Argumentative.                           7     Jess Rowland to one of the -- I think it was to
 8   BY MR. LITZENBURG:                                      8     Jenkins, that "he would deserve a medal if he
 9      Q. And if a question demands a yes-or-no             9     was able to stop the ATSDR study" a remarkable,
10   answer but contains a mischaracterization, such as,    10     shocking thing for an employee of one federal
11   "Have you told your wife that you're able to read      11     agency to do clearly as a favor to a registrant
12   minds?" it's not answerable in a yes-or-no fashion,    12     of a pesticide.
13   is it?                                                 13          I'd really never seen anything like that,
14           MR. COPLE: Objection. Argumentative.           14     and I think it raises very serious questions
15      Mischaracterizes the record.                        15     about in whose interest was Jess Rowland working
16           THE WITNESS: It would be difficult.            16     in his central role as -- he was either the
17   BY MR. LITZENBURG:                                     17     director or the deputy director of CARC and
18      Q. We had some discussion of Jess Rowland in        18     played a significant role certainly in managing
19   the last hour or so. Do you remember that?             19     the process of several of the stages of EPA's
20      A. Yes, I do.                                       20     review of the oncogenicity of glyphosate, and I
21      Q. Okay. And you had some discussion in             21     think it casts a pall over the whole process.
22   your report of mentions of him and his activities on   22   BY MR. LITZENBURG:
23   the EPA CARC committee; is that correct?               23     Q. There were questions by -- well,
24      A. Correct.                                         24   actually -- gave you all a copy yesterday.
25      Q. Okay. Is it fair to characterize the             25          MR. LITZENBURG: Mark this.

                                            Page 578                                                    Page 579
 1           (Benbrook Exhibit Number 35 is marked for       1   that is something that you have offered up as
 2      identification.)                                     2   something you're relying on for your opinion but is
 3           MR. COPLE: That's been marked as an             3   not cited in your report; is that correct?
 4      exhibit previously?                                  4      A. Correct.
 5           MR. LITZENBURG: No. I gave you all in           5      Q. Today and yesterday, a number of -- well,
 6      response to your request the document --             6   tell me if my characterization is correct.
 7           MR. COPLE: Can I see it?                        7           When a study reaches a positive result,
 8           THE WITNESS: I know it pretty well. If          8   either published or unpublished, it is generally
 9      I need it, I'll ask you for it.                      9   criticized by Monsanto's lawyers for its methodology
10   BY MR. LITZENBURG:                                     10   or design; is that correct?
11      Q. My only question is this, Dr. Benbrook:          11           MR. COPLE: Objection. Argumentative.
12   You handed me Exhibit Number 35 this week as a         12      Lacks foundation.
13   document that you were relying upon but is not cited   13           THE WITNESS: I have reviewed, in
14   in your report; is that correct?                       14      preparation for -- in the preparation of my
15      A. Correct.                                         15      expert report and for my role in this case
16      Q. And the same thing with this, which we'll        16      certainly three dozen peer-reviewed publications
17   have marked Exhibit 36 for the record, please. And     17      or other reports that contained information that
18   let counsel look at it, as well.                       18      was not fully in line with Monsanto's internal
19           (Benbrook Exhibit Number 36 is marked for      19      beliefs about the toxicity of glyphosate and
20      identification.)                                    20      glyphosate-based herbicides, and I really can't
21           THE WITNESS: Yes. I'm familiar with the        21      think of a single one that wasn't challenged in
22      document also labeled Exhibit 36.                   22      some public way at some point in the ensuing
23           MR. COPLE: We also have 36.                    23      years.
24   BY MR. LITZENBURG:                                     24           Some of the times in ways that this was
25      Q. And I just want to state for the record,         25      done was through review articles that Monsanto



                                                                                                                  48
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 50 of 67
                                                CONFIDENTIAL

                                          Page 580                                                   Page 581
 1     commissioned, often wrote in-house, drawing on      1   results and methodology of positive studies, that's
 2     its staff scientist and then recruited              2   been the tactical thing, outside of this room and
 3     independent scientists typically aligned with an    3   outside of this litigation as you've observed,
 4     academic institution, and/or one of its former      4   hasn't it?
 5     employees, to review and perhaps contribute to,     5           MR. COPLE: Objection. Argumentative.
 6     in some way, to the paper and then publish it in    6      Lacks foundation. Asked and answered.
 7     their own name, with no attribution to the          7           THE WITNESS: It is a clear pattern, and
 8     scientists in Monsanto that the written the         8      I talk about it in my expert report under the
 9     primary draft.                                      9      rubric of cherry-picking science. And as I
10           And in these reviews, this is where          10      said, there are so many examples of it in the
11     Monsanto voiced a number of technical criticisms   11      part of the record that I reviewed.
12     of the methodologies and did its best to dismiss   12           I would -- I would be very interested to
13     any positive genotoxicity result or really any     13      know the total scope of Monsanto's behavior of
14     other positive data that raised new questions      14      this sort if I had an opportunity to review a
15     about potential health benefits.                   15      larger portion of the millions of documents that
16           And as I say in my report, it is striking    16      have been -- that are part of the discovery in
17     how systematic and aggressive and persistent       17      this case.
18     Monsanto has been in this regard, and I do not     18   BY MR. LITZENBURG:
19     know of another pesticide manufacturer that        19      Q. And is that pattern that we've just
20     engages in behavior of that sort and nature.       20   talked about unfortunately echoed in some of the
21   BY MR. LITZENBURG:                                   21   EPA's assessments and responses?
22     Q. Okay. I think you're getting to exactly         22           MR. COPLE: Objection. Argumentative.
23   where I was going, which is that pattern of          23      Vague. Lacks foundation.
24   accepting/praising the results or methodology of     24           THE WITNESS: As a matter of fact, many
25   negative studies and rejecting or criticizing the    25      of the points raised in EPA in justifying its

                                          Page 582                                                   Page 583
 1   dismissal of the evidence of oncogenicity, the        1      show any evidence of an oncogenetic response as
 2   evidence of genotoxicity, are very similar to         2      interpreted by the EPA, and so they -- they
 3   the arguments advanced by Monsanto first in           3      moved on.
 4   their own letters or communications to either         4   BY MR. LITZENBURG:
 5   the registration branch or into HED.                  5      Q. And have we seen multiple examples in the
 6         Monsanto scientists fairly regularly met        6   last few days of a reactionary approach by the EPA
 7   with EPA employees and presented their view of        7   that is partially justifying a new decision by
 8   the science, and I would say that through most        8   putting backward a 1991 or a 1980s decision?
 9   of the '80s, the scientists within OPP put an         9           MR. COPLE: Objection. Argumentative.
10   incredible amount of effort into responding to       10      Lacks foundation. Vague.
11   repeated recurrent contacts, letters, requests       11           THE WITNESS: Yes. There's a continuity
12   for meetings about, for example, the                 12      in the EPA's assessments of the record, their
13   interpretation of the 1983 BioDynamic mouse          13      judgments about what a particular study shows
14   study.                                               14      evolves. And over time, additional studies have
15         And they -- I think it would be fair to        15      been submitted to the agency, which then the
16   say that they sort of stood by their original        16      agency is obligated under its regulations to
17   position as long as they could, as long as they      17      review and incorporate in its assessments.
18   felt that it was something that they could           18           To me, it's a striking coincidence that
19   sustain.                                             19      every genotoxicity study, every cancer study
20         But ultimately by 1991, I think the            20      conducted by Monsanto or by a consultant or a
21   Office of Pesticide Programs felt that it just,      21      consulting laboratory that conducts such studies
22   it was time to move on, and they stopped arguing     22      are negative; when, for example, in the case of
23   with Monsanto about the interpretation of the        23      genotoxicity, a significant portion of the
24   mouse study. Monsanto had done a new rat study,      24      studies conducted by independent scientists
25   had been submitted to the agency, that did not       25      report positive results. It's a coincidence



                                                                                                               49
                          TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 51 of 67
                                                  CONFIDENTIAL

                                            Page 584                                                   Page 585
 1      that is hard to explain.                             1     product, wouldn't substantially affect the
 2   BY MR. LITZENBURG:                                      2     profit potential of the company.
 3      Q. Dr. Benbrook, I want to ask you a                 3          And as Mr.              said, why would we
 4   question about sort of corporate behavior, ethics.      4     continue to sell a hazardous version of Roundup
 5           Is it in your expert opinion a                  5     when we can make a safer one? Why would we do
 6   responsible approach to, warning for human health       6     that? Why wouldn't we just change? Why
 7   hazards, to reject or challenge or ignore multiple      7     wouldn't we just change our formulation?
 8   published epidemiology studies with a positive          8          The record -- the striking thing in this
 9   result until the company can point to a study with a    9     record is that I get the impression that the
10   negative result to justify a lack of warning?          10     culture inside Monsanto is that all steps must
11           MR. COPLE: Objection. Argumentative.           11     be taken to protect and preserve the FTO of
12      Lacks foundation. Vague.                            12     glyphosate, and that is the "freedom to
13           THE WITNESS: No, I don't think that's a        13     operate."
14      responsible approach.                               14          And what that means inside the company is
15   BY MR. LITZENBURG:                                     15     that no change in the regulatory status of a
16      Q. And is it part of your opinion, or am I          16     Roundup-based herbicide that might restrict the
17   right in its part of this analysis, that because       17     sales potential will ever be accepted without a
18   human health is at stake, it's better to take a more   18     fight, regardless of how justified the science
19   conservative approach to some of these things?         19     might be relative to the reduction and exposures
20           MR. COPLE: Objection. Vague.                   20     and risks and how little it might cost.
21           THE WITNESS: Oh, absolutely, especially        21   BY MR. LITZENBURG:
22      when the company is aware of the heightened risk    22     Q. And Dr. Benbrook, that opinion and others
23      and has clear options to mitigate that risk, and    23   today, is it fair to say that they are based on a
24      especially when those options to mitigate the       24   systematic review of the source material as well as
25      risk wouldn't really affect the sales of the        25   your professional experience?

                                            Page 586                                                   Page 587
 1          MR. COPLE: Objection. Vague. Lacks               1     that arise from Monsanto's interactions,
 2     foundation.                                           2     communications, and actions in countries outside
 3          THE WITNESS: Yes. That's correct.                3     the United States compared to what the company
 4   BY MR. LITZENBURG:                                      4     did in the United States.
 5     Q. And so when defense counsel suggested an           5          And as I said yesterday, and as I say in
 6   educated guess or a personal opinion or something,      6     my report, one of the reasons that I feel that
 7   would it be more appropriate to characterize your       7     Monsanto has failed to meet the test of a
 8   opinions as based on a systematic review of the         8     responsible company is that they adopted and
 9   source material?                                        9     agreed to either formulation changes and label
10          MR. COPLE: Objection. Asked and                 10     changes in other countries that clearly reduced
11     answered. Argumentative.                             11     the risk associated with mixing, loading and
12          THE WITNESS: I'm quite sure I've read           12     applying glyphosate-based herbicides, but did
13     over 10,000 pages of material during the course      13     not make the same changes in other countries
14     of my work on this case. I hope as this body of      14     where they were selling essentially the same
15     litigation goes on, I have an opportunity to go      15     product.
16     deeper into the record, because I'm sure I will      16          To me, that's just not acceptable
17     develop a much more refined, sophisticated           17     behavior. And I think as people learn about
18     understanding of how Monsanto reacted to various     18     that, there will not be -- it will not shed a
19     milestones over the years in their testing of        19     favorable light on Monsanto.
20     glyphosate and glyphosate-based herbicides,          20   BY MR. LITZENBURG:
21     their understanding of exposure levels and risk      21     Q. Just so we're clear, would you
22     levels, how they communicated those or whether       22   characterize the work you've undertaken so far as a
23     they communicated those to the EPA in the United     23   systematic review of the source materials?
24     States.                                              24          MR. COPLE: Objection. Asked and
25          There's a number of issues in my mind           25     answered. Vague.



                                                                                                                 50
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 52 of 67
                                                  CONFIDENTIAL

                                            Page 588                                                    Page 589
 1           THE WITNESS: Yes, very systematic.              1      in their ongoing responsible efforts to
 2   BY MR. LITZENBURG:                                      2      manufacturer and sell the safest products that
 3      Q. But you brought up a good point. The way          3      they can.
 4   that health -- human health and cancer causality        4   BY MR. LITZENBURG:
 5   works in other countries, is that different than the    5      Q. Dr. Benbrook, to date, has Monsanto ever
 6   way it works in America?                                6   gone to the EPA and requested a label change to warn
 7           MR. COPLE: Objection. Vague. Lacks              7   for cancer for its glyphosate products?
 8      foundation.                                          8      A. No.
 9           THE WITNESS: No. The rules of basic             9           MR. COPLE: Objection. Lacks foundation.
10      biology apply in Brazil, Germany, and the United    10           THE WITNESS: No, they have not.
11      States. And the general -- the tools that are       11   BY MR. LITZENBURG:
12      used to evaluate cancer risk are very similar.      12      Q. Okay. So I think that this is going to
13      The studies that have been done on glyphosate       13   be brought to the court in papers and before the
14      and glyphosate-based herbicides both by             14   jury multiple times, and I want to make sure that
15      companies and the open literature, the findings     15   we're clear on this.
16      from an epidemiological study in Sweden are just    16           If a suggestion is made that it would
17      as relevant as the findings in a Brazilian study    17   have been impossible to warn for cancer in a Roundup
18      or U.S. study, assuming that the studies are        18   label because the EPA wouldn't have permitted it, is
19      well designed and carried out with a high degree    19   there anything to base that preposition on?
20      of integrity.                                       20           MR. COPLE: Objection. Lacks foundation.
21           So there's nothing unique about the risks      21           THE WITNESS: Well, it would be -- it
22      of glyphosate-based herbicides in one part of       22      would be an unusual situation. Now, this does
23      the world relative to the other. So things that     23      arise in the information included on the
24      are learned in Brazil, a responsible                24      chemical safety data sheets, where there is a
25      international company would draw upon and apply     25      requirement to put the IARC classification.

                                            Page 590                                                    Page 591
 1         But the point that I made earlier, it's           1   kettle black, but I'm going to ask for a slightly
 2    very important to stress, the evidence of              2   more succinct answer to a similar question.
 3    genotoxicity and oncogenicity associated with          3           Dr. Benbrook, is it fair to say there is
 4    exposure to glyphosate-based herbicides, it is         4   nothing in the record that shows that the EPA did or
 5    complicated. It's not a slam dunk, under any           5   would have refused a cancer warning if proposed by
 6    circumstances. I wouldn't characterize                 6   Monsanto?
 7    glyphosate-based herbicides as a potent or hot         7           MR. COPLE: Objection. Argumentative.
 8    carcinogen.                                            8     Asked and answered. Lacks foundation.
 9         But certainly by 1999 or 2000, there was          9           THE WITNESS: No. No. They wouldn't
10    ample reason for glyphosate -- for Monsanto to        10     have -- they wouldn't have objected. They would
11    start to take proactive efforts to reduce             11     have talked about it, but I can't imagine that
12    exposures, especially among people applying           12     they would have objected to it. They would want
13    Roundup and other Monsanto brand herbicides in        13     to understand the basis, if they didn't. But,
14    ways that knowing -- that Monsanto was well           14     yeah, it would be -- I can't think of a single
15    aware lead to much higher exposures than are          15     case where the EPA denied a label amendment
16    typical from somebody buying a dilute                 16     because it made a product safer. I can't think
17    formulation of Roundup and spraying a couple          17     of a single example.
18    weeds in their driveway.                              18   BY MR. LITZENBURG:
19         This is where I think it would have              19     Q. And we looked at some limited
20    been -- a responsible company would have taken        20   epidemiology; is that correct?
21    some steps to expand the margins of safety            21     A. Pardon?
22    really across the board of the different uses of      22     Q. We looked at some limited epidemiology
23    their products.                                       23   today; is that correct?
24   BY MR. LITZENBURG:                                     24     A. Yes. We looked at some of the studies,
25    Q. Yes, sir. And it's the pot calling the             25   yeah.



                                                                                                                  51
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 53 of 67
                                                  CONFIDENTIAL

                                            Page 592                                                    Page 593
 1      Q. Okay. Is it fair to say that the                  1     clear and unequivocal linkages between the
 2   epidemiology in this case and in your report is not     2     frequency of use of glyphosate-based herbicides
 3   so much supportive of the truth of the epidemiology     3     and non-Hodgkin's lymphoma.
 4   but as the notice to the company and its                4          The second, the McDuffie study, which we
 5   responsibilities then thereafter?                       5     didn't talk about, has a really exceptionally
 6           MR. COPLE: Objection. Argumentative.            6     high odds ratio of 4.5, for the Province of
 7      Lacks foundation. Calls for a legal opinion.         7     British Columbia, and the study discusses or
 8           THE WITNESS: I kind of don't understand         8     hypothesizes why the results in British Columbia
 9      your question. Try again.                            9     were so much higher and stronger statistically
10   BY MR. LITZENBURG:                                     10     than in other provinces. I and others find that
11      Q. Your -- is it fair to say your opinion is        11     particular study quite compelling.
12   not the perfection or the correctness of one body of   12          So there was -- even two -- even two
13   epidemiology versus another but rather what the        13     studies on a matter like this are ample
14   company would have been on notice about at certain     14     justification for a company to at least start to
15   times about its own product and therefore              15     take steps to better understand the levels of
16   responsible to warn others?                            16     risk through their own research, perhaps
17      A. Well --                                          17     conducting their own epidemiological studies,
18           MR. COPLE: Objection. Argumentative.           18     and also taking steps to change formulations or
19      Lacks foundation. Calls for a legal opinion.        19     use patterns or required PPE, or any other
20           THE WITNESS: It's certainly my opinion,        20     option that the company had, to build larger
21      as I express in my report, that by early in the     21     margins of safety into their labeled uses.
22      decade of the 2000s, there had been at least two    22   BY MR. LITZENBURG:
23      high-quality study populations, the one in          23     Q. To be clear, that opinion as to the
24      Sweden and one in Canada, by highly respected       24   company's duties at various points in time does not
25      government-employed scientists that reported        25   require as a prerequisite that epidemiological

                                            Page 594                                                    Page 595
 1   studies have a perfect design, for example?             1      Monsanto and on the U.S. EPA for not recognizing
 2           MR. COPLE: Objection. Vague. Lacks              2      that regulatory authorities in another part of
 3      foundation. Calls for a legal opinion.               3      the world who through their work and their
 4           THE WITNESS: I think it's fair to say           4      analysis of the products felt that it was time
 5      that there's never going to be a perfect             5      to take action and lessen the exposures and the
 6      epidemiological study or perfect long-term           6      risks from the use of this herbicide, which as
 7      cancer study.                                        7      we know has increased so dramatically and is now
 8           There's always going to be some debate          8      the most heavily applied pesticide worldwide in
 9      about the interpretation of any given study, and     9      the history of pesticides, by a large margin.
10      responsible companies look at the totality of       10   BY MR. LITZENBURG:
11      the data that's available from their own            11      Q. Is it fair to say that epidemiological
12      internal studies and external studies, including    12   studies can't perfectly adjust for every conceivable
13      the peer-reviewed literature, and they have to      13   confounding factor?
14      reach a judgment about when it's time to start      14           MR. COPLE: Objection. Lacks foundation.
15      acting proactively to reduce high-risk              15      Asked and answered.
16      exposures, to make their products less              16           THE WITNESS: That's absolutely true, of
17      hazardous.                                          17      course.
18           And it's absolutely clear in my opinion        18   BY MR. LITZENBURG:
19      that Monsanto was forced to do that in multiple     19      Q. I'm going to hand you Exhibit Number --
20      instances in their interactions with various        20   or if you'd pull out of your pile, actually, it
21      European regulators and have been making those      21   would be better.
22      concessions and those changes for a decade, and     22      A. Which one is that?
23      yet they have not done any of it in the United      23      Q. Number 30, which is McDuffie --
24      States.                                             24      A. Got it.
25           I think it casts a dark light both on          25      Q. Monsanto's attorney pointed you to



                                                                                                                  52
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 54 of 67
                                                  CONFIDENTIAL

                                            Page 596                                                  Page 597
 1   statistically insignificant results, but you in turn    1      small area to treat, compared to someone
 2   brought to the attorney's attention a statistically     2      applying three times or more, and certainly for
 3   significant result in Table 8. Is that correct?         3      people that use Roundup-based herbicides on 10,
 4      A. Correct.                                          4      20, 40, 80 days a year, it raises a serious
 5      Q. And you I think used the word                     5      question about if there was an epidemiological
 6   "stratified" intensity of use, is that fair to say,     6      study that could stratify by frequency of use,
 7   in this?                                                7      it conceivably could have an impact on the odds
 8      A. Correct. It's in the days per year                8      ratio.
 9   column.                                                 9   BY MR. LITZENBURG:
10      Q. Okay. Is that supportive of a dose               10      Q. In which of these strata would
11   response?                                              11   Mr. Johnson fit into?
12           MR. COPLE: Objection. Lacks foundation.        12           MR. COPLE: Objection. Vague. Lacks
13      Vague.                                              13      foundation.
14           THE WITNESS: Yes, to the extent that you       14           THE WITNESS: Well, clearly the greater
15      can assess a dose response in an epidemiological    15      than two times.
16      study. It's certainly not the same as a chronic     16   BY MR. LITZENBURG:
17      feeding study where there's a number of             17      Q. Okay. I think you had a quote earlier
18      increasingly high doses. But it points out that     18   today about the weight of the evidence tipping in
19      the frequency of use of glyphosate-based            19   2002. Is that a fair assessment of something you
20      herbicides is associated with higher risk.          20   said?
21           And it's quite striking the increase in        21           MR. COPLE: Objection. Vague.
22      the significance of the data going from applying    22           THE WITNESS: Yes. I testified to that,
23      herbicides one or two times a year, which would     23      that judgment on my part.
24      be, I suppose, typical of a relatively small        24   BY MR. LITZENBURG:
25      farm or a person that only had a relatively         25      Q. Okay. So that opinion then is not

                                            Page 598                                                  Page 599
 1   dependent wholly upon two epidemiological studies;      1   was their goal to have a very good idea of what
 2   is that correct?                                        2   such a study would show.
 3      A. Oh, heavens no. It's the totality of the          3         And in the case of the ongoing, over
 4   evidence.                                               4   about a year dialogue with Dr. Parry, it was
 5      Q. Dr. Benbrook, I think you've been clear           5   very clear that Monsanto, if they had decided to
 6   on this, but did Monsanto ever redo the 1983 mouse      6   contract with Dr. Parry to run some of the more
 7   study as respected by EPA?                              7   sophisticated genotoxicity studies that he had
 8      A. No, they did not.                                 8   recommended to them, they openly discussed that
 9           MR. COPLE: Objection. Lacks foundation.         9   they would do them in house first to see what
10      Asked and answered.                                 10   they would show, before they would contract with
11   BY MR. LITZENBURG:                                     11   Dr. Parry.
12      Q. Do you have any -- well, withdrawn.              12         So I see in the record that Monsanto is
13           Is it a fair assessment to say from the        13   in control over the design of the studies that
14   record we've looked in the last two days that          14   it's commissioned. I've seen there's two or
15   Monsanto generally accedes to requests that it likes   15   three studies that were started and that for a
16   from regulatory agencies and ignores or opposes        16   variety of reasons were stopped, usually
17   others?                                                17   pointing to some problem, the animals got sick
18           MR. COPLE: Objection. Argumentative.           18   or there was a mix-up on the food, to where
19      Lacks foundation. Asked and answered.               19   something went wrong with the study.
20           THE WITNESS: It's clear from my review         20         You know, it strikes me that all of the
21      of the record that Monsanto was very systematic     21   studies that were completed, for the most
22      and disciplined in the studies that it conducted    22   part -- and I suppose you could say the
23      in house, the studies that it either conducted      23   BioDynamic mouse study was an exception -- don't
24      in house or commissioned with a contract lab        24   contain any data that raises substantial concern
25      like BioDynamics or TNO, and that it certainly      25   over risk. It's just, I think Monsanto managed



                                                                                                                53
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 55 of 67
                                                 CONFIDENTIAL

                                           Page 600                                                    Page 601
 1      internal and external science in a way that gave    1      the agency did concur, as we noted in the
 2      it a high degree of confidence that there would     2      important second peer-review memorandum which
 3      not be any serious objections or questions          3      was signed by the majority of people on the
 4      raised about the safety of glyphosate-based         4      committee.
 5      herbicides.                                         5           But two people did not concur. And I
 6   BY MR. LITZENBURG:                                     6      have to say that's an extremely rare occurrence.
 7      Q. Suffice it to say, Dr. Benbrook, that we         7      I do not know of another meeting of that cancer
 8   have gone over multiple decisions or assessments of    8      assessment review committee on another pesticide
 9   the EPA going back decades that are favorable to       9      where some of the scientists did not concur.
10   Monsanto? Is that fair to say?                        10      Now, I haven't reviewed all of those. I'm just
11            MR. COPLE: Objection. Lacks foundation.      11      not aware of another example. And to me, I
12            THE WITNESS: Yes, certainly the vast         12      would regard that as a very unusual event.
13      majority of them have been favorable, and as I     13   BY MR. LITZENBURG:
14      recount in my expert report, the multiple steps    14      Q. Yes, sir. And we'll get to that.
15      that Monsanto took to eventually convince the      15           My question is, to simplify for the court
16      EPA that the EPA should change its                 16   or a layman like me, does the fact that the EPA has
17      classification of glyphosate from the Group C      17   given assessments or decisions that have been
18      possible human carcinogen to an E, it was -- I     18   favorable to Monsanto, does that conflict with or
19      think the EPA felt that there would be no end to   19   undercut your opinion that Monsanto has neglected
20      that process until they made the decision to do    20   its duty to consumers and applicators?
21      that.                                              21           MR. COPLE: Objection. Argumentative.
22            It is my opinion that there were EPA         22      Lacks foundation.
23      scientists involved in that process from the       23           THE WITNESS: No.
24      beginning that did not concur with the decision    24           MR. COPLE: Asked and answered.
25      to reclassify glyphosate, but other people in      25           THE WITNESS: It does not.

                                           Page 602                                                    Page 603
 1   BY MR. LITZENBURG:                                     1       Q. But it doesn't actually give us a result
 2      Q. If you look at Exhibit 28, which is the          2   there, it just cautions against an interpretation of
 3   pages from the Federal Register.                       3   the data; is that correct?
 4      A. Okay. Got it.                                    4       A. Yes.
 5      Q. I just wanted to get your opinion on             5            MR. COPLE: Objection. Argumentative.
 6   something on Page 25, the page ending in 25, which     6       Asked and answered.
 7   is the third page.                                     7            THE WITNESS: It's explaining what they
 8           Under Aggregate Exposure Assessment for        8       do and what they did in the case of this, their
 9   Acute dietary, it says, "There is no concern for       9       action on this tolerance petition, because this
10   acute effects due to dietary exposure to              10       is a final rule. Yes, it's a final rule.
11   glyphosate."                                          11   BY MR. LITZENBURG:
12           I think I understand that.                    12       Q. If you'd find Exhibit Number 24, which is
13           Under Chronic dietary, it says, "Using        13   the draft paper, in 2003.
14   the Dietary Risk Evaluation System, a routine         14       A. Oh, yeah. This is the TNO. Okay. Got
15   chronic exposure analysis was performed for           15   it.
16   glyphosate. The chronic analysis for glyphosate is    16       Q. Dr. Benbrook, do you have any
17   a worst case estimate of dietary exposure with all    17   understanding from your work in this case or your
18   residues at tolerance levels and 100 percent of the   18   background whether a rodent dermal absorption study
19   commodities assumed to be treated with glyphosate."   19   is superior to a primate dermal absorption study or
20           What is that telling us?                      20   vice versa?
21      A. It's a worst case dietary exposure              21            MR. COPLE: Objection. Vague.
22   assessment. And the number that comes out of this     22            THE WITNESS: No, I don't have an opinion
23   worst case assessment will be compared to the         23       on which one would be better. I know both of
24   chronic reference dose to see if the current uses     24       them are often used in the assessment of dermal
25   and the current tolerances are supported.             25       absorption in pesticides.



                                                                                                                 54
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 56 of 67
                                                 CONFIDENTIAL

                                           Page 604                                                   Page 605
 1   BY MR. LITZENBURG:                                     1        THE WITNESS: This is a -- this is a very
 2      Q. Are you aware of Monsanto having                 2   important paragraph.
 3   undertaken a primate dermal absorption study           3        In the documents that I reviewed in the
 4   postdating the Wester study?                           4   case, it is clear to me simply based on the
 5           MR. COPLE: Objection. Argumentative.           5   words written by the Monsanto scientists that
 6      Lacks foundation.                                   6   they felt that this 10 -- 5 percent to
 7           THE WITNESS: Actually, I do recall that        7   10 percent dermal absorption rate for glyphosate
 8      they did a primate study. I didn't review it in     8   in this study was an unexpected and certainly
 9      my preparation for the case, and I didn't see it    9   unwelcomed and potentially very damaging result
10      in the record either.                              10   to them, because it would have possibly doubled
11   BY MR. LITZENBURG:                                    11   or tripled the default dermal absorption rate
12      Q. Is there any indication that this paper,        12   that's embedded in all of the worker exposure
13   Exhibit 24, was ever published?                       13   estimates really by all the regulatory agencies
14      A. No.                                             14   around the world.
15      Q. Is there any indication whether it was          15        That 3 percent dermal absorption rate was
16   ever submitted to the EPA?                            16   very important. And as a matter of fact,
17      A. I'm not aware that it was.                      17   Monsanto commissioned this TNO study in the
18      Q. There was emphasis placed on the third          18   hopes of generating data that would support an
19   page, where it says, under conclusion, "The data      19   argument to the German regulatory authority that
20   presented in this report are not acceptable for       20   that 3 percent dermal absorption rate should be
21   regulatory use and risk assessment."                  21   reduced to perhaps 1 and a half, which Monsanto
22           What is the authority of the scientists       22   had certainly argued in other contexts.
23   in this draft paper to make that determination?       23        This is why when they got the first
24           MR. COPLE: Objection. Lacks foundation.       24   report from TNO about this, and I can't quite
25      Vague.                                             25   remember the language that they used, but I

                                           Page 606                                                   Page 607
 1   believe it was a verbal communication from the         1           And Monsanto had discussed in some detail
 2   lab that this is what we -- this is what we            2      these issues with TNO. And TNO offered to redo
 3   found, this is what is going to be in our              3      the study for free in order to clear up any
 4   report, they were deeply concerned and                 4      remaining uncertainty about it.
 5   surprised.                                             5           And again, the fact that Monsanto decided
 6        And they understood immediately the               6      to terminate its relationship with TNO and not
 7   significance of that finding, raising into             7      ask them, well, yes, we need to -- we need to
 8   question the default dermal absorption value for       8      get on top of this and have them redo the study
 9   their herbicides worldwide, it would have huge         9      at no cost to Monsanto, was a real red flag for
10   significance. And they, as the record shows in        10      me.
11   the documents that I reviewed, they had multiple      11   BY MR. LITZENBURG:
12   meetings, and there's many emails about what to       12      Q. Thank you. We've looked at a number of
13   do about this.                                        13   EPA documents today that reference public comment;
14        And there's two things that are clear in         14   is that correct?
15   the record. There is discussion of what the lab       15      A. Yes.
16   reported as some unexpected or unusual                16      Q. Okay. Are you aware of Monsanto
17   variability in the study. Now, I'm not sure           17   employing public relations agencies to round up and
18   exactly what that referred to. Perhaps they           18   aggregate third-party comments in these EPA
19   meant the variability in the end result, that in      19   press- --
20   this study there was 5 to 10 percent, as opposed      20           MR. COPLE: Objection. Vague. Lacks
21   to other studies that show much less. I don't         21      foundation.
22   know if that's what they were referring to, but       22           THE WITNESS: Yes.
23   there were questions about the conduct and            23   BY MR. LITZENBURG:
24   validity and rep -- whether these results could       24      Q. Okay. And does that effect, in your
25   be replicated.                                        25   opinion, the overall outcome?



                                                                                                                55
                          TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 57 of 67
                                                  CONFIDENTIAL

                                            Page 608                                                   Page 609
 1      A. Sometimes it does, especially when                1   BY MR. LITZENBURG:
 2   Monsanto puts the kind of resources into it that        2      Q. Do you know what Proposition 65 requires
 3   they did, for example, in trying to marginalize the     3   Monsanto to do with respect to Roundup products in
 4   classification of glyphosate as a probable human        4   the State of California?
 5   carcinogen by IARC and also and even more so in the     5           MR. COPLE: Objection. Vague. Lacks
 6   attack commissioned by Monsanto, multifront attack      6      foundation.
 7   on the Seralini study that reported a positive          7           THE WITNESS: Well, the State of
 8   oncogenetic response in their mouse chronic feeding     8      California has put in place over several years a
 9   study that involved genetically-engineered corn,        9      rigorous, detailed set of policies for
10   pure glyphosate and glyphosate-based formulated        10      implementing Proposition 65. There is a number
11   herbicides.                                            11      of criteria for the listing of a consumer
12      Q. Dr. Benbrook, do you know what                   12      product or a chemical on the Prop 65 list which
13   Proposition 65 is?                                     13      would require a warning label on any products
14      A. Yes.                                             14      that contain the chemical. And one of them is a
15      Q. Would you explain that for the court or a        15      classification by IARC as a possible or probable
16   jury briefly?                                          16      human or animal carcinogen.
17           MR. COPLE: Objection. Vague. Lacks             17           So when the IARC reclassification of
18      foundation.                                         18      glyphosate and glyphosate-based herbicides came
19           THE WITNESS: Proposition 65 arose out of       19      out in March 2011, that triggered the process
20      a ballot initiative in California in the late       20      that will ultimately lead to the listing of
21      '80s that directed the California Department of     21      glyphosate on the Prop 65 list and then
22      Health to provide a warning on any consumer         22      subsequently a warning label on glyphosate-based
23      products that contained a chemical or for some      23      herbicides.
24      other reason posed a cancer or reproductive risk    24           However, I'm aware that this action by
25      to people using the product.                        25      the California Department of Health is in

                                            Page 610                                                   Page 611
 1      litigation with Monsanto.                            1   things absorb an active ingredient, Dr. Benbrook?
 2   BY MR. LITZENBURG:                                      2            MR. COPLE: Objection. Lacks foundation.
 3      Q. Okay. If you look at Exhibit Number 23            3            THE WITNESS: One of the principal
 4   with me --                                              4      desired roles of surfactants and certainly the
 5      A. Got it.                                           5      primary purpose of including POAE or other
 6      Q. -- this is an April 2009 memorandum from          6      similar surfactants in glyphosate-based
 7   the EPA, is that right?                                 7      herbicides is to enhance the movement of the
 8      A. Right.                                            8      glyphosate active ingredient into the cells of
 9      Q. Okay. And it's large, and I've only just          9      weeds where the herbicide can have its negative
10   seen it, but it doesn't appear to reference Monsanto   10      impact on the weeds.
11   or any Monsanto products, does it?                     11            So the role of surfactants is to increase
12      A. I haven't seen the document either, so           12      the mobility or translocation of the chemical
13   I'd have to look through it to tell whether it does    13      through cell walls into the cells and tissues of
14   or not.                                                14      the weeds so that it won't get washed off by the
15      Q. Okay. If you have further answer to that         15      rain, for one thing. Once glyphosate gets
16   question, just feel free to pipe up.                   16      inside a weed, it's not subject to being washed
17           For now, would you please turn to Page         17      off. And that's one of the problems with a
18   14.                                                    18      systemic contact herbicide such as glyphosate.
19      A. Okay.                                            19      If it isn't absorbed inside the leaf tissue of
20      Q. Under Dermal Absorption, it says, "There         20      the weed, it is subject to being washed off and
21   are no dermal absorption data on the AAPs." Do you     21      likely will not be effective.
22   see that?                                              22   BY MR. LITZENBURG:
23      A. Yes.                                             23      Q. Next, Page 4.4, Classification of
24      Q. What are surfactants generally designed          24   Carcinogenic Potential, would you turn to that?
25   or intended to do in terms of having -- letting        25      A. I see it.



                                                                                                                 56
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 58 of 67
                                                  CONFIDENTIAL

                                            Page 612                                                   Page 613
 1      Q. It says, "There is no evidence that the           1   toxicology for carcinogenic potential?
 2   AAPs are carcinogenic."                                 2          MR. COPLE: Objection. Vague. Lacks
 3           What I want to you ask you, Dr. Benbrook,       3     foundation.
 4   did this reach that result based on a computer model    4          THE WITNESS: Well, it's -- a structure
 5   comparing the structure of molecules to, in this        5     activity relationship assessment of a chemical
 6   class, to similar molecules?                            6     is a Tier 1, sort of first step in the
 7           MR. COPLE: Objection. Lacks foundation.         7     assessment of the possible oncogenicity of a
 8   BY MR. LITZENBURG:                                      8     chemical. It can be done very quickly. It
 9      Q. Is that what it's saying?                         9     doesn't cost much. It's often a routine part.
10      A. Yeah. Let me read the next sentence.             10          But it certainly is not regarded as
11           "The agency used a qualitative structure       11     sensitive and useful in the analysis of the
12   activity relationship (SAR) database, DEREK 11, to     12     oncogenicity of a chemical as a two-year chronic
13   determine if there were structural alerts for a        13     feeding study, by any stretch of the
14   representative large molecule, as well as a smaller    14     imagination. And certainly if there was an
15   molecule that had been extensively dealkylated, with   15     epidemiological study suggesting a positive
16   the amine group intact."                               16     linkage, that would be given even more weight.
17           So what they're saying is they turned to       17   BY MR. LITZENBURG:
18   this DEREK two [sic] model, which it's an SAR model,   18     Q. There are no genotoxic assays reported
19   and looked to see if both the parent compound, alkyl   19   within this memo; is that correct?
20   amine polyalkoxylate, as well as its breakdown         20     A. I haven't had a chance to read it.
21   products, were structurally similar to other           21   Sorry.
22   chemicals known to cause cancer. That's what a         22     Q. I'll withdraw the question. If you don't
23   structure actively relationship assessment entails.    23   know, the document, we can set it aside.
24      Q. Okay. And what is the value of that type         24          Dr. Benbrook, is there anything
25   of approach versus epidemiology and versus             25   preventing Monsanto from doing long-term chronic

                                            Page 614                                                   Page 615
 1   feeding studies in its formulated products?             1   Correct?
 2          MR. COPLE: Objection. Argumentative.             2      A. Correct.
 3      Asked and answered. Vague.                           3      Q. It doesn't say whether or not it was ever
 4          THE WITNESS: No. Nothing.                        4   provided to the EPA, correct?
 5   BY MR. LITZENBURG:                                      5      A. Right. It doesn't say that.
 6      Q. Look at Exhibit 22, if you would.                 6      Q. Okay. And I want to draw your attention
 7      A. I'm getting these way out of order now.           7   to the first email in time, which would be the last
 8      Q. That's a challenge at the end of the day.         8   in the chain.
 9      A. Just give me a minute, I'll find it. 20,          9      A. Okay. Yeah.
10   you said?                                              10      Q. This is from a chem review manager at
11      Q. 22.                                              11   EPA, right?
12      A. 22, got it.                                      12      A. Khue Nguyen.
13      Q. Okay. This is an email from our buddy,           13      Q. And aside from asking for a list of the
14   Dan Jenkins, right?                                    14   studies that we've discussed, she also said, "We
15      A. Right.                                           15   noticed that some of the genotoxicity studies were
16      Q. Okay. Now --                                     16   in Spanish. Are English versions available? Same
17          MR. COPLE: Objection to characterization        17   with some of the Japanese studies from the TAC
18      by counsel.                                         18   list."
19   BY MR. LITZENBURG:                                     19           Do you see an answer to that in this
20      Q. Monsanto's lawyers are suggesting this           20   email chain to either of those questions?
21   was evidence of the delivery of studies to the EPA.    21           MR. COPLE: Objection. Vague. The
22   Do you remember that?                                  22      document speaks for itself.
23      A. Yes.                                             23           THE WITNESS: Yes, I agree it speaks for
24      Q. Okay. And what it in fact says, "I will          24      itself. And it doesn't mention providing any
25   have a CD today with the studies we can provide."      25      English translation of either Spanish language



                                                                                                                 57
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 59 of 67
                                                 CONFIDENTIAL

                                           Page 616                                                    Page 617
 1      or Japanese language genotox studies.               1      Q. Jenkins was the one who you said reported
 2   BY MR. LITZENBURG:                                     2   that Jess Rowland wanted a medal for killing another
 3      Q. Okay. And you are aware of internal              3   agency's review?
 4   Monsanto concerns about the Japanese TAC results,      4           MR. COPLE: Objection. Asked and
 5   right?                                                 5      answered. Lacks foundation.
 6           MR. COPLE: Objection. Lacks foundation.        6           THE WITNESS: The accounting of Jess
 7      Vague.                                              7      Rowland's, Dan Jenkins' conversation is included
 8           THE WITNESS: That there are in fact            8      in an email from Dan Jenkins to other Monsanto
 9      several genotox studies from teams of scientists    9      colleagues.
10      in Japan, and those have been the subject of       10   BY MR. LITZENBURG:
11      critical commentary in all of the Monsanto         11      Q. Okay. You can put that aside. Another
12      commissioned reviews that came out after those     12   overarching question: Have you seen any evidence
13      studies were published.                            13   that, in the record, that Monsanto asked the EPA to
14   BY MR. LITZENBURG:                                    14   heighten PPE requirements or suggestions and the EPA
15      Q. So when the EPA asked Monsanto about            15   said no?
16   them, at least in this exhibit handed you by          16           MR. COPLE: Objection. Argumentative.
17   Monsanto's lawyer, Dan Jenkins doesn't bother to      17      Lacks foundation.
18   answer. Is that fair?                                 18           THE WITNESS: No.
19           MR. COPLE: Objection. Argumentative.          19   BY MR. LITZENBURG:
20      It mischaracterizes the document. It speaks for    20      Q. Get out Exhibit 19, which is a short
21      itself.                                            21   document signed by Dr. Parry.
22           THE WITNESS: Yeah. There's no mention         22      A. Going back into the old pile. Got it.
23      or apparent effort to provide an English           23      Q. Is this the Parry report that you based
24      translation of those other studies.                24   your opinions on?
25   BY MR. LITZENBURG:                                    25      A. No, it's not.


                                           Page 618                                                    Page 619
 1      Q. Can you place Exhibit 19 into context of         1   short-term project.
 2   that and the overall story for the Court or --         2        And upon receiving this report, Monsanto
 3      A. Yes.                                             3   decided that it was work -- the gamble to
 4           MR. COPLE: Objection. Asked and                4   provide the much broader genotoxicity database,
 5      answered. Vague.                                    5   including several of their internal studies, to
 6           THE WITNESS: Yes, I can. There is              6   Dr. Parry to do a much more comprehensive and
 7      extensive email documentation in Monsanto           7   in-depth review of the genotoxicity database as
 8      emails, some between scientists, others between     8   it existed in 1999.
 9      scientists and other corporate officials, both      9        That work was carried out kind of in the
10      in Europe and in St. Louis, in the United          10   middle of the year. I can't remember the
11      States.                                            11   precise date on the letter from Parry to
12           This report, I was aware that Dr. Parry       12   Monsanto where he submitted his full report, but
13      had done this report. This was the first           13   it was later in 1999.
14      consulting contract that Monsanto agreed to let    14        His longer report, which was entered as
15      to Dr. Parry and Dr. Parry agreed to do it.        15   one of the more recent exhibits, is much longer.
16           It was -- if you look at the internal         16   It covers a much greater number of studies,
17      discussions, Monsanto was desperate to find a      17   including several dozen -- certainly not all of
18      highly credible, high-impact genotoxic expert to   18   the Monsanto genotoxic studies but a selected
19      critique, attack, rebut, make go away the          19   portion of them, selected by Monsanto.
20      recently published positive genotoxicity           20        And in addition, Parry also provided them
21      studies, including some of the ones that were      21   a detailed memorandum with his recommendations
22      part of this initial review of just four           22   for additional genotoxicity research to clarify
23      studies. I think I saw the invoice for this        23   whether any of the positive findings in the
24      piece of work. It was 5,000 pounds or              24   literature were replicable, were correct or not,
25      6,000 pounds. It was a relatively focused,         25   as well as deploying some of the very recent,



                                                                                                                 58
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 60 of 67
                                                 CONFIDENTIAL

                                           Page 620                                                   Page 621
 1     most cutting edge genotoxic test methods,            1      pesticide manufacturers, the EPA, and other
 2     including some that Dr. Parry was the world          2      people that participate in one way or another in
 3     renowned expert in.                                  3      pesticide regulation that the responsibility for
 4          MR. LITZENBURG: At this point, I'd like         4      including complete and accurate information on
 5     to designate the entirety of this transcript as      5      pesticide labels is borne by the company, and
 6     confidential for the plaintiff, so that if the       6      that if there is a need for any use restrictions
 7     defendant suspend any or all of that designation     7      or safety precautions or warnings or required
 8     on their behalf, it does not destroy the             8      personal protection equipment or other
 9     designation.                                         9      information that a user would benefit from in
10   BY MR. COPLE:                                         10      avoiding high-exposure and high-risk scenarios,
11     Q. Dr. Benbrook, who is responsible for a           11      it's the responsibility of the company to craft
12   pesticide label? The EPA, or is it the                12      those and place them on the label.
13   manufacturer?                                         13            And as I testified earlier, it is
14          MR. COPLE: Objection. Asked and                14      essentially unheard of for the EPA to object to
15     answered.                                           15      a provision on a label that a company feels is
16          THE WITNESS: The pesticide manufacturer        16      prudent and necessary to add that extra margin
17     or the pesticide company that's seeking the         17      of safety to avoid an adverse impact. They
18     label bears the -- is responsible for drafting      18      wouldn't to object to that, and I'm not aware of
19     and writing a label that is submitted to the        19      them ever doing so.
20     EPA. The EPA then goes through a number of          20   BY MR. LITZENBURG:
21     steps to determine whether the label contains       21      Q. Just so it's clear for the record,
22     information required to be present on all           22   between the EPA and the registrant, you have
23     labels, as we discussed earlier on our              23   answered that the registrant is responsible for the
24     discussion on the label review manual.              24   label?
25          But it is clear and unambiguous among          25            MR. COPLE: Objection. Counsel is

                                           Page 622                                                   Page 623
 1     testifying. Asked and answered.                      1   finder or the court wants a very short, succinct
 2          THE WITNESS: The registrant is                  2   answer to who is responsible for the label between
 3     completely responsible for drafting and              3   EPA and registrant, what is your short answer to
 4     composing the label, which is then submitted to      4   that?
 5     EPA.                                                 5       A. The registrant.
 6          In some instances, and especially with          6           MR. COPLE: Objection. Asked and
 7     companies that are not as sophisticated as a         7       answered.
 8     company like Monsanto, there may be errors made      8   BY MR. LITZENBURG:
 9     or things not put in that are required, or the       9       Q. And does the EPA perform its own
10     required formatting isn't followed, but most of     10   independent testing of pesticides?
11     the major companies, they know exactly what         11       A. No.
12     needs to be in the label to comply with the EPA     12       Q. Who is responsible for the testing of
13     label manual, and they make sure they cover all     13   pesticides?
14     the bases, because they know if they don't it's     14           MR. COPLE: Objection. Asked and
15     going to be kicked back.                            15       answered.
16          And since generally they want these label      16           THE WITNESS: The registrants.
17     amendments to be approved as quickly as             17   BY MR. LITZENBURG:
18     possible, there's no incentive for a company to     18       Q. And as compared between the two -- and I
19     submit a label that they know doesn't contain       19   don't mean to cut you off. If you have to explain
20     mandatory EPA components of an acceptable label.    20   it, go ahead. But as compared between those two
21   BY MR. LITZENBURG:                                    21   entities, who generally knows more about a
22     Q. Dr. Benbrook, I appreciate this is your          22   pesticide?
23   wheelhouse and you have a passion for it and you're   23           MR. COPLE: Objection. Lacks foundation.
24   deep into this but in case -- I hate to be the pot    24       Asked and answered.
25   calling the kettle black, but in case the fact        25           THE WITNESS: Always the major



                                                                                                                59
                           TSG Reporting - Worldwide               877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 61 of 67
                                                 CONFIDENTIAL

                                           Page 624                                                    Page 625
 1      manufacturer, the company that holds the patent,    1   part on your experience and research and employment
 2      held the original patents on a pesticide active     2   in these areas?
 3      ingredient, that company or whoever buys that       3           MR. COPLE: Objection. Asked and
 4      company is going to inherit the full body of        4      answered.
 5      knowledge gained during the development             5           THE WITNESS: Yes.
 6      discovery in all facets of testing and all          6           MR. COPLE: The record speaks for itself.
 7      interactions with regulators around the world.      7   BY MR. LITZENBURG:
 8           There's absolutely no question but that        8      Q. Did Monsanto eventually submit the
 9      Monsanto knows more about glyphosate-based          9   results for the studies that Dr. Parry had suggested
10      herbicides than any other entity in the world.     10   they conduct to the EPA?
11   BY MR. LITZENBURG:                                    11           MR. COPLE: Objection. Lacks foundation.
12      Q. Monsanto is the original registrant or          12      Vague. Asked and answered.
13   patent holder in this case?                           13           THE WITNESS: To my knowledge, Monsanto
14      A. Correct.                                        14      never submitted Dr. Parry's report to the EPA,
15      Q. Monsanto's attorneys stated a number of         15      which I believe they were obligated to do so
16   times today and yesterday that you were making        16      under 6(a)(2), and I'm not aware that Monsanto
17   guesses.                                              17      ever commissioned any of the follow-on studies
18           Dr. Benbrook, does your expert report, or     18      that Dr. Parry recommended; although, Monsanto
19   your expert opinion as stated over the last two       19      Brazil may have, or some additional -- I do
20   days, is it comprised of guesses?                     20      believe that Monsanto conducted some additional
21           MR. COPLE: Objection. Asked and               21      genotoxicity studies after receipt of
22      answered. The record speaks for itself.            22      Dr. Parry's report in 1999.
23           THE WITNESS: No.                              23           But I am quite certain that the new
24   BY MR. LITZENBURG:                                    24      genotoxicity data generated after 1999 is much
25      Q. And those opinions, are they based in           25      less comprehensive and fewer studies than were

                                           Page 626                                                    Page 627
 1     completed in the '70s and '80s when the original     1          THE WITNESS: There is none.
 2     set of genotoxicity studies were done by             2   BY MR. LITZENBURG:
 3     Monsanto and submitted to the agency.                3      Q. Has the reading into the record various
 4   BY MR. LITZENBURG:                                     4   EPA documents over the last two days by Monsanto
 5     Q. Dr. Benbrook, is there a credentialing            5   attorneys, has that changed the conclusions of your
 6   authority for expertise in corporate or regulatory     6   expert opinion in your report, Dr. Benbrook?
 7   honesty, to your knowledge?                            7          MR. COPLE: Objection.
 8          MR. COPLE: Objection. Asked and                 8          THE WITNESS: No, it has not.
 9     answered. The record speaks for itself.              9          MR. COPLE: Counsel is testifying. Asked
10          THE WITNESS: Not that I know of.               10      and answered. The record speaks for itself.
11   BY MR. LITZENBURG:                                    11   BY MR. LITZENBURG:
12     Q. Is there a credentialing or training             12      Q. Do any of those EPA documents take into
13   authority for expertise in ghostwriting, to your      13   account the analysis or results of Dr. Parry's
14   knowledge?                                            14   study?
15          MR. COPLE: Objection. Asked and                15          MR. COPLE: Objection. Asked and
16     answered.                                           16      answered.
17          THE WITNESS: No.                               17          THE WITNESS: Not to my knowledge.
18          MR. COPLE: The record speaks for itself.       18   BY MR. LITZENBURG:
19   BY MR. LITZENBURG:                                    19      Q. There's a question if you talked to any
20     Q. Is there credentialing or training               20   of these people at Monsanto. Do you remember a
21   authority, to your knowledge, for expertise in the    21   question or two about that?
22   reporting requirements of 6(a)(2)(b)?                 22      A. I remember maybe 20.
23          MR. COPLE: Objection. And answered.            23      Q. Okay. I'll represent that these
24          THE WITNESS: No.                               24   gentlemen represent those folks at Monsanto, and
25          MR. COPLE: The record speaks for itself.       25   they would need to offer to make them available to



                                                                                                                 60
                          TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 62 of 67
                                                  CONFIDENTIAL

                                            Page 628                                                    Page 629
 1   you to speak.                                           1   third page of the packet, where it's Number 6,
 2           In light of those questions, have any of        2   Cancer, in the upper right-hand corner?
 3   Monsanto's attorneys offered to make any of their       3      A. The third page of it? One, two, three.
 4   executives available to you for a one-on-one chat?      4   Where do you see word? Cancer, right. We talked
 5           MR. COPLE: Objection.                           5   about this before. Okay. Got it.
 6           THE WITNESS: No, they have not.                 6      Q. And so this is only as of 2002; is that
 7           MR. COPLE: Calls for legal opinion.             7   correct?
 8   BY MR. LITZENBURG:                                      8      A. Right. This is a final -- final rule on
 9      Q. Just quickly, Exhibit 17 contains pages           9   increasing, increasing tolerances for glyphosate in
10   about how to ask for a label change, correct?          10   a number of foods, including corn and hay, alfalfa
11      A. Correct. Yeah.                                   11   hay, in light of the fact that genetically
12      Q. Is there anything in the record to               12   engineered versions are in the marketplace that have
13   suggest that Monsanto ever undertook the first step    13   higher residues.
14   to ask for a label change warning of cancer?           14      Q. There's an agency response here that
15           MR. COPLE: Objection. Asked and                15   says, "The commenters are referring to two
16      answered.                                           16   epidemiological studies published by Sweden. This
17           THE WITNESS: No, there's no evidence in        17   type of epidemiological evaluation does not
18      the record that Monsanto requested such a           18   establish a definitive link to cancer."
19      precautionary statement or warning to be            19          My question, Dr. Benbrook, is that phrase
20      incorporated into the label.                        20   "a definitive link to cancer," is that a
21   BY MR. LITZENBURG:                                     21   prerequisite anywhere to your knowledge for warning
22      Q. Okay. Would you turn to Exhibit 18,              22   to potential cancer effects?
23   which is another CFR packet?                           23          MR. COPLE: Objection. Calls for legal
24      A. Got it.                                          24      opinion.
25      Q. Okay. And if you'd turn with me to the           25          THE WITNESS: No, it's not.

                                            Page 630                                                    Page 631
 1   BY MR. LITZENBURG:                                      1   fair?
 2      Q. Okay. And is that a special term of art           2           MR. COPLE: Objection. The document
 3   for any sort of EPA requirements this year              3      speaks for itself.
 4   available, this "definitive link to cancer"?            4           THE WITNESS: Methodological flaws, no
 5           MR. COPLE: Objection. Calls for a legal         5      established basis for translating a positive
 6      opinion.                                             6      result in a genotoxic study to a quantitative
 7           THE WITNESS: No, it's not.                      7      estimate of human risk, difficulty interpreting
 8   BY MR. LITZENBURG:                                      8      the significance of the results. These are the
 9      Q. Turn to the prior page, under the                 9      type of things that are in the six points that
10   Genotoxicity section.                                  10      are laid out that we talked about before.
11      A. Okay.                                            11   BY MR. LITZENBURG:
12      Q. Number 2, I think.                               12      Q. Is it fair to say in that paragraph and
13      A. Okay. I see Number 2 Genotoxicity upper          13   preceding paragraph what they essentially said is
14   right, upper third column.                             14   EPA bases its opinion on the negative genotoxic
15      Q. Under Agency Response, in the third              15   studies and rejects the positive genotoxic studies?
16   paragraph, the EPA says, "positive responses have      16           MR. COPLE: Objection. Argumentative.
17   been reported," right?                                 17      Asked and answered. The document speaks for
18           MR. COPLE: Objection. The document             18      itself.
19      speaks for itself.                                  19           THE WITNESS: It's clear from the record
20           THE WITNESS: Yes. Correct.                     20      that EPA has placed much greater weight on the
21   BY MR. LITZENBURG:                                     21      industry-commissioned and submitted genotoxic
22      Q. But then the agency simply goes on,              22      studies done under the EPA Part 158 regs and
23   rather than to report those results, the agency goes   23      good laboratory practices as defined by the EPA,
24   on to generally criticize that entire group of         24      the vast majority of which are 20 or 30 years
25   results as having methodological flaws. Is that        25      old. And the EPA has, as a matter -- I would



                                                                                                                  61
                           TSG Reporting - Worldwide                877-702-9580
      Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 63 of 67
                                              CONFIDENTIAL

                                         Page 632                                                  Page 633
 1   say as a matter of agency policy, placed very       1      common-sense, low-cost, attainable changes in
 2   little weight on peer-reviewed, independent,        2      the label and the formulation and the PPE that
 3   academic genotoxic studies.                         3      would have in an abundance of caution reduced
 4         It would be easy to understand that in        4      exposures and, hence, reduced risks, whatever
 5   the late 1980s and perhaps into even the decade     5      they might ultimately turn out to be.
 6   of 2000, because these new assays were              6   BY MR. LITZENBURG:
 7   relatively new scientific methodologies, and        7      Q. Dr. Benbrook, to your knowledge is POEA
 8   scientists were working out the kinks and           8   any less toxic to American humans than it is to
 9   gaining experience with them and learning how to    9   European humans?
10   interpret them better.                             10           MR. COPLE: Objection. Argumentative.
11         But certainly by -- as I say in my           11      Lacks foundation.
12   report, by 2002, there had been an accumulation    12           THE WITNESS: No. It would be equally
13   of credible, high-quality published studies that   13      toxic to people all over the globe.
14   certainly should have tipped off Monsanto that     14   BY MR. LITZENBURG:
15   there are a potential of greater human health      15      Q. We discussed earlier today that the EPA
16   risks from exposure to its herbicides than it      16   as part of its process considers the available
17   had previously recognized then and certainly a     17   published scientific literature. Do you remember
18   higher level of risk that was embodied in the      18   that discussion?
19   then current EPA assessments of risk.              19      A. Yes.
20         And that's why I reached the opinion that    20      Q. And if multiple instances of said
21   from approximately early in the decade of 2000,    21   literature contained unattributed substantive input
22   additional steps should have been incorporated     22   by Monsanto, how would that affect that process?
23   in Roundup herbicide labels to: A, warn users      23           MR. COPLE: Objection. Vague. Asked and
24   of the potential risk of genotoxic damage and      24      answered. Lacks foundation.
25   possibly cancer; and also to incorporate           25           THE WITNESS: Well, it would taint it.

                                         Page 634                                                  Page 635
 1   It would bias the agency's review not only of       1     then repeated it in multiple venues. And
 2   professional and technical commentary on the        2     through their collective efforts over many
 3   basis of their reviews, but also the body of        3     years, they have created an impression from
 4   public commentary that the agency claims that       4     someone not knowing about all this and not
 5   they read the public literature and look at all     5     knowing about Monsanto's role in shaping the
 6   the published studies.                              6     scientific literature -- just a Google search on
 7        If you look, for example, at the               7     genotoxicity and glyphosate, you read the first
 8   published literature on the genotoxicity of         8     six papers that come up, the odds are that
 9   glyphosate, there isn't -- none of the studies      9     you're certainly going to read several that say
10   that were commissioned by or involved Monsanto     10     it's not a problem. And that's of grave concern
11   scientists or were published by academics with     11     to me.
12   portions ghostwritten by Monsanto, none of them    12   BY MR. LITZENBURG:
13   report any concern over evidence of genotoxicity   13     Q. Is it fair to say you have deep knowledge
14   and reach that conclusion after articulating all   14   and expertise in the FIFRA regulatory sphere?
15   of the methodological technical questions that     15           MR. COPLE: Objection. Argumentative.
16   have been raised or could be raised about the      16           THE WITNESS: Yes.
17   positive studies that are in the literature, and   17           MR. COPLE: Asked and answered.
18   accompanied with the depth of scientific           18   BY MR. LITZENBURG:
19   expertise that Monsanto has, can find ways to      19     Q. And are you familiar with the phrase
20   criticize any study and point out how any result   20   "unreasonable risk to man or the environment"?
21   to have -- to accept any single study result,      21           MR. COPLE: Objection. Asked and
22   there's always going to be unanswered questions    22     answered.
23   that arise out of the study.                       23           THE WITNESS: Yes.
24        Monsanto has perfected this art of            24   BY MR. LITZENBURG:
25   raising questions about published literature and   25     Q. If the pesticide presented an



                                                                                                             62
                         TSG Reporting - Worldwide              877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 64 of 67
                                                 CONFIDENTIAL

                                           Page 636                                                    Page 637
 1   unreasonable risk to man or the environment, is it     1   report.)" And I take that to mean the write-up of
 2   compliant with FIFRA?                                  2   background information, review of study, and the
 3      A. No.                                              3   conclusions that EPA reached on the various studies
 4          MR. COPLE: Objection. Asked and                 4   that are reviewed. That's what I take that to mean.
 5      answered.                                           5      Q. Thank you. I lied. Will you turn to
 6   BY MR. LITZENBURG:                                     6   Exhibit Number 7, which is a bigger issue paper from
 7      Q. Would you pull out -- I think this is the        7   two months ago.
 8   last one I'll look at -- Exhibit Number 15. It's a     8      A. Oh, it's the "Revised Glyphosate Issue
 9   1991 --                                                9   Paper," the big one, from December 12th, 2017.
10      A. In the EPA documents. Oh, boy, let's            10      Q. Right. And will you turn to Page 97 of
11   see. Yes, here we go. Got it. The second              11   the packet?
12   peer-reviewed glyphosate, Exhibit 15.                 12      A. Okay.
13      Q. Correct. And if you look at the                 13      Q. Under Malignant Lymphoma, and to pause
14   signature page --                                     14   for a minute, that's what is at issue in this case,
15      A. Yes.                                            15   right, lymphoma cancer?
16      Q. -- William Dykstra and Roger Gardner, are       16      A. Non-Hodgkin's lymphoma.
17   they signing this as concurring with the opinion or   17      Q. This reports that a statistically
18   accepting the results of this report?                 18   significant trend was observed in male CD1 mice for
19      A. No, they are not.                               19   lymphoma; is that correct?
20      Q. What do their signatures indicate?              20      A. Correct.
21      A. This is a very curious parenthetical            21      Q. It goes on to say, "For pairwise
22   statement. "Scientific Reviewers (Committee or        22   comparisons, the raw p-value for the highest dose
23   non-committee members responsible for data            23   tested was statistically significant; however, it
24   presentation" -- that's acknowledging the role --     24   was not statistically significant following
25   "signature indicates technical accuracy of panel      25   adjustment for multiple comparisons."

                                           Page 638                                                    Page 639
 1           Is that a routine adjustment that EPA          1           MR. COPLE: Objection. Argumentative.
 2   makes to all this data?                                2      Asked and answered. The document speaks for
 3           MR. COPLE: Objection. Lacks foundation.        3      itself.
 4           THE WITNESS: Well, it's -- it's not            4           THE WITNESS: I think that this is -- the
 5      uncommon for the -- in the statistical analysis     5      interpretation of this particular study gets a
 6      of a study, and, you know, I don't remember the     6      lot of attention in the lively debate in the
 7      details of Wood et al., 2009b, but a number of      7      scientific community about -- in response to the
 8      adjustments are made to try to eliminate bias or    8      IARC classification.
 9      statistical noise in the ultimate judgment on       9   BY MR. LITZENBURG:
10      the study.                                         10      Q. Okay.
11   BY MR. LITZENBURG:                                    11      A. It's one of the -- like the '93 -- 1983
12      Q. But before EPA's adjustments, which they        12   mouse study, it's -- different people read the data
13   don't elucidate here, correct?                        13   in different ways.
14           MR. COPLE: Objection. The document            14      Q. I want to make sure we've all got it
15      speaks for itself. Asked and answered.             15   straight here on the record. Your opinion as to
16           THE WITNESS: No, they don't. The              16   Monsanto's duties, responsibilities, et cetera, does
17      details of the statistical analysis and the way    17   not end in 2015, does it?
18      that they did the adjustment for multiple          18           MR. COPLE: Objection. Asked and
19      comparisons is not described here.                 19      answered. The record speaks for itself.
20   BY MR. LITZENBURG:                                    20           THE WITNESS: No, heavens no. It's
21      Q. So whatever EPA's adjustment for multiple       21      ongoing.
22   comparisons represents, before they made that         22   BY MR. LITZENBURG:
23   adjustment themselves, the data was statistically     23      Q. Okay. And if the defense attorneys make
24   significant for malignant lymphomas in male mice,     24   a representation to the court or to the jury that
25   right?                                                25   you only considered Monsanto's behavior through



                                                                                                                 63
                          TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 65 of 67
                                                  CONFIDENTIAL

                                            Page 640                                                   Page 641
 1   2015, that would not be correct?                        1   in this document?
 2      A. Absolutely not.                                   2           MR. COPLE: Objection. Vague. Asked and
 3          MR. COPLE: Objection. Asked and                  3      answered. The document speaks for itself.
 4      answered. The record speaks for itself.              4           THE WITNESS: Yes, I can explain that.
 5   BY MR. LITZENBURG:                                      5      This is a -- this is a standard paragraph that
 6      Q. I lied again. Pull up Exhibit Number 15,          6      EPA includes in this sort of document, which in
 7   if you would.                                           7      lay words, it's hedging their bet.
 8      A. That's the one we just had, right?                8           It's stating that they've reached a
 9      Q. Was it? Okay. Great.                              9      conclusion based on a body of evidence that they
10      A. Yeah, the second peer-reviewed                   10      have reviewed but that they recognize there are
11   glyphosate.                                            11      other circumstances where exposure to glyphosate
12      Q. It is. So if you'd go to Page 19, at the         12      might be oncogenetic that were not included in
13   bottom.                                                13      their analysis, and they're also acknowledging
14      A. The last page. Okay.                             14      that there may be a future epidemiological study
15      Q. And this is as of 1991, right?                   15      that contradicts -- the next rendition of the
16      A. Correct.                                         16      Agricultural Health Study, after the exposed
17      Q. Could you read the last paragraph on that        17      population is followed for another five years or
18   page to us and then explain it?                        18      ten years, the relationship between glyphosate
19      A. Sure. "It should be emphasized, however,         19      use and non-Hodgkin's lymphoma may turn out to
20   that designation of an agent in Group E is based on    20      be statistically significant.
21   the available evidence at the time of the evaluation   21           It's EPA's way to say -- to hedge their
22   and should not be interpreted as a definitive          22      bets and to acknowledge that the decision that
23   conclusion that the agent will not be a carcinogen     23      they've reached at this point is based on what
24   under any circumstances."                              24      they know, the data that is available to them,
25      Q. Could you explain what that means in 1991        25      and that they are aware that there are other

                                            Page 642                                                   Page 643
 1     circumstances, other exposed populations that         1    assessment between what Monsanto represents to
 2     are not covered or necessarily protected by the       2    the general public, to its users, communicates
 3     assessment that they have made of the data.           3    to people by and using their products through
 4   BY MR. LITZENBURG:                                      4    the label, communicates in many other ways
 5     Q. In your opinion, does it take into                 5    collateral information as we've spoken about,
 6   account and include generally accepted standard of      6    advertising, materials circulated to pest
 7   industry, rather than just your personal goals for      7    management officers at school districts.
 8   Monsanto?                                               8         The whole body of communications from
 9          MR. COPLE: Objection. Vague. Lacks               9    Monsanto that present to the outside public had
10     foundation. Asked and answered.                      10    remarkably clear-cut, unambiguous, rosy scenario
11          THE WITNESS: I'm sorry. Reask that.             11    about glyphosate is safe, glyphosate is
12   BY MR. LITZENBURG:                                     12    nontoxic, glyphosate herbicides are
13     Q. Yeah. Does your opinion take into                 13    biodegradable. These sorts of messages are
14   account a generally accepted standard of industry,     14    integral to essentially all public communication
15   versus your own personal goals for Monsanto's          15    about Roundup herbicides.
16   behavior?                                              16         And the fact that Monsanto had internal
17          MR. COPLE: Objection. Vague. Lacks              17    science and information and insights about its
18     foundation. Asked and answered.                      18    products that were inconsistent with those
19          THE WITNESS: My opinions in this case, I        19    messages is the major reason that my opinion is
20     want to be very clear about this, while I do         20    that the company, there was an egregious failure
21     think that the general industry norms and            21    to warn and a violation of really the pledge
22     expectations and the behavior of pesticide           22    that they have made to manufacture and sell the
23     registrants is important, the most compelling        23    safest products that they could.
24     factual information in this record that supports     24   BY MR. LITZENBURG:
25     my opinions is really an assessment -- based on      25    Q. And are you familiar as an expert in this



                                                                                                                 64
                           TSG Reporting - Worldwide                877-702-9580
       Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 66 of 67
                                                   CONFIDENTIAL

                                               Page 644                                                        Page 645
 1   area with an industry-derived general standard of      1     makes representations to the public about any of
 2   care?                                                  2     its products, whether they're new
 3           MR. COPLE: Objection. Lacks foundation.        3     representations or consistent with old ones, the
 4           THE WITNESS: There isn't any one single        4     expectation is that what they say about their
 5      document that lays that out.                        5     products is consistent with what their own
 6   BY MR. LITZENBURG:                                     6     internal understanding of the products is.
 7      Q. But you've considered the standard of            7          And as I've emphasized before, when a
 8   care in your opinion, rather -- again, rather than     8     senior scientist in Monsanto like
 9   imposing your own personal opinion?                                    makes a comment to his colleagues "Why
10      A. Yes.                                            10     are we continuing to sell a hazardous herbicide
11           MR. COPLE: Objection. Asked and               11     when we can manufacture a safer one?" that just
12      answered.                                          12     -- there's no interpretation or educated guess
13   BY MR. LITZENBURG:                                    13     or anything about that.
14      Q. And I think this is what you were just          14          It's an acknowledgment that they knew
15   saying a minute ago. Let me clarify, and I think      15     that because of this new genotoxicity data, the
16   this is my last question.                             16     new insights that they had gained about dermal
17           Is it fair to say that Monsanto, when it      17     absorption rates and many other aspects of the
18   chooses to make representations to the public about   18     toxicology database and the risk assessment,
19   the health and safety of its products, optional       19     that their products probably did pose some risks
20   representations, that it undertakes the additional    20     and that there were some steps that they could
21   duties of candor and truth by making those            21     take and, as                    says, "Why don't we
22   representations?                                      22     just do it?"
23           MR. COPLE: Objection. Argumentative.          23          MR. LITZENBURG: I think that's all I've
24      Vague. Lacks foundation. Asked and answered.       24     got for you for now, Dr. Benbrook. Thank you
25           THE WITNESS: Well, certainly if Monsanto      25     for your patience in the last few days.

                                               Page 646                                                        Page 647
 1                                                          1             DEPOSITION ERRATA SHEET
         MR. COPLE: No redirect for now. We're
 2                                                          2
     going to move to strike all testimony of this
 3                                                          3
     witness after 3:00 p.m. today as in excess and
 4                                                          4
     violation of the agreed hard stop.
 5       THE WITNESS: Are we done?                          5           DECLARATION UNDER PENALTY OF PERJURY
 6       THE VIDEOGRAPHER: The time is now 3:28.            6        I declare under penalty of perjury that I have read
 7   We are off the record.                                 7   the entire transcript of my Deposition taken in the
 8       MR. LITZENBURG: We'll have the witness             8   captioned matter or the same has been read to me, and the
 9   read and sign.                                         9   same is true and accurate, save and except for changes
10                                                         10   and/or corrections, if any, as indicated by me on the
11       (Deposition adjourned at 3:28 p.m.)               11   DEPOSITION ERRATA SHEET, hereof, with the understanding
12                                                         12   that I offer these changes as if still under oath.
13       (Signature reserved)                              13   Signed on the __ day of ____, 20__.
14                                                         14
15                                                         15
16              *****                                      16             _____________________________
17                                                         17               DR. CHARLES M. BENBROOK
18                                                         18
19                                                         19   Subscribed to and sworn before me this ___ day of _____,
20                                                         20   20__, in __________________.
21                                                         21
22                                                         22   ________________________
23                                                         23   Notary Public
24                                                         24   My commission expires: _____________, 20__
25                                                         25   Notary Public Registration No. _______




                                                                                                                           65
                           TSG Reporting - Worldwide                 877-702-9580
          Case 3:16-md-02741-VC Document 2791-4 Filed 02/21/19 Page 67 of 67
                                                             CONFIDENTIAL

                                                      Page 648                                                            Page 649
 1            DEPOSITION ERRATA SHEET                                1            DEPOSITION ERRATA SHEET
 2                                                                   2

 3   Page No.____ Line No.____ Change to:______________________      3   Page No.____ Line No.____ Change to:______________________
 4   __________________________________________________________      4   __________________________________________________________
 5   Reason for change: _______________________________________      5   Reason for change: _______________________________________
 6   Page No.____ Line No.____ Change to:______________________      6   Page No.____ Line No.____ Change to:______________________
 7   __________________________________________________________      7   __________________________________________________________
 8   Reason for change: _______________________________________      8   Reason for change: _______________________________________
 9   Page No.____ Line No.____ Change to:______________________      9   Page No.____ Line No.____ Change to:______________________
10   __________________________________________________________     10   __________________________________________________________
11   Reason for change: _______________________________________     11   Reason for change: _______________________________________
12   Page No.____ Line No.____ Change to:______________________     12   Page No.____ Line No.____ Change to:______________________
13   __________________________________________________________     13   __________________________________________________________
14   Reason for change: _______________________________________     14   Reason for change: _______________________________________
15   Page No.____ Line No.____ Change to:______________________     15   Page No.____ Line No.____ Change to:______________________
16   __________________________________________________________     16   __________________________________________________________
17   Reason for change: _______________________________________     17   Reason for change: _______________________________________
18   Page No.____ Line No.____ Change to:______________________     18   Page No.____ Line No.____ Change to:______________________
19   __________________________________________________________     19   __________________________________________________________
20   Reason for change: _______________________________________     20   Reason for change: _______________________________________
21   Page No.____ Line No.____ Change to:______________________     21   Page No.____ Line No.____ Change to:______________________
22   __________________________________________________________     22   __________________________________________________________
23   Reason for change: _______________________________________     23   Reason for change: _______________________________________
24   SIGNATURE:_______________________DATE:____________________     24   SIGNATURE:_______________________DATE:____________________
25            DR. CHARLES M. BENBROOK                               25            DR. CHARLES M. BENBROOK


                                                      Page 650
 1     COMMONWEALTH OF VIRGINIA AT LARGE, to wit:
 2           I, Rhonda D. Tuck, RPR, CRR, Notary Public in and
 3     for the Commonwealth of Virginia at Large, and whose
 4     commission expires on May 31, 2020, do certify that the
 5     aforementioned appeared before me, was sworn by me, and
 6     was thereupon examined by counsel; and that the foregoing
 7     is a true, correct, and full transcript of the testimony
 8     adduced.
 9           I further certify that I am neither related to nor
10     associated with any counsel or party to this proceeding,
11     nor otherwise interested in the event thereof.
12           Given under my hand and notarial seal at
13     Charlottesville, Virginia, this 12th day of February,
14     2018.
15
16
17
18            __________________________________
19               Rhonda D. Tuck, RPR, CRR
20           Notary Public Registration No. 224847
21            Commonwealth of Virginia at Large
22
23
24
25




                                                                                                                                      66
                                  TSG Reporting - Worldwide                     877-702-9580
